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                   IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                  )
                                          )
     v.                                   )      Criminal No. 18-292
                                          )
ROBERT BOWERS                             )


         MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION
       TO STRIKE THE DEATH PENALTY AS A SENTENCE OPTION
        ON THE GROUND THAT THE FEDERAL DEATH PENALTY
      AS ADMINISTERED IS AN UNCONSTITUTIONAL PUNISHMENT




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                                   INTRODUCTION

         Forty-three years ago, our nation undertook an experiment. The hypothesis

was that the governments of the states could execute people as punishment without

running afoul of the Constitution by ensuring that statutes were structured to

narrow eligibility for the death penalty and that juries deciding sentences were

given adequate information and guidance to avoid the arbitrary and capricious

imposition of death sentences. The expectation, and requirement for purposes of

the Constitution, was that only the worst of the worst would be sentenced to death.

Twelve years after the experiment began, the federal government decided to

participate.

         Like every experiment, there were rules. States had to decide a sentence for

each individual defendant whom they wanted to execute; death could not be an

automatic sentence.1 Jurors who decided sentences could not have unfettered

discretion to do so; they had to have guidance for their decisions.2 Defendants

facing the prospect of death were allowed to present any factor of their character or

the offense that could be a reason for a sentence less than death.3 At first juvenile




1   See Woodson v. North Carolina, 428 U.S. 280 (1976).
2See Gregg v. Georgia, 428 U.S. 153 (1976); Proffit v. Florida, 428 U.S. 242 (1976);
Jurek v. Texas, 428 U.S. 262 (1976).
3   See Lockett v. Ohio, 436 U.S. 586 (1978).
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offenders were part of the experiment,4 but then they were excluded.5 Similarly,

intellectually disabled people were included for almost the first 30 years, but then

were removed from the pool of subjects.6 States could only conduct the experiment

on people who committed homicide.7 Attorneys who defended people facing a death

sentence had to meet a certain standard of performance.8

         Now, with fifty years of data from states, 30 years of data from the federal

government, over 7,500 death sentences imposed, and 1,500 executions carried out,

we can see that the experiment has failed.9 The arbitrariness and caprice that were

rampant before the experiment began are just as present today. And for this

reason, it is time to end the experiment. For the reasons set forth herein, this

Court should find that the death penalty cannot be imposed in this case because it

is an unconstitutional punishment.




4   Stanford v. Kentucky, 492 U.S. 361 (1989).
5   Roper v. Simmons, 543 U.S. 551 (2005).
6   Atkins v. Virginia, 536 U.S. 304 (2002).
7   Kennedy v. Louisiana, 554 U.S. 407 (2008).
8See Strickland v. Washington, 466 U.S. 668 (1984); Williams v. Taylor,529 U.S.
362 (2000); Wiggins v. Smith, 539 U.S. 510 (2003).
9For death sentence and execution counts see Death Penalty Information Center,
available at https://deathpenaltyinfo.org/facts-and-research/sentencing-data/death-
sentences-in-the-united-states-from-1977-by-state-and-by-year and
https://deathpenaltyinfo.org/executions/execution-database (last visited Dec. 17,
2019).

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       More than half of the jurisdictions in the nation have already reached this

conclusion, and are no longer executing defendants. Others, though they have left

the punishment in their statutes, have not issued a death sentence in several years.

The majority of Americans are now opposed to executing people as punishment.

       A federal court exercising capital jurisdiction considered this same question

three years ago in United States v. Fell, 224 F.Supp.3d 327 (2016). After a week-

long hearing that includes testimony from several defense experts (much of which

the government did not contest), that court concluded that,

       The record of arbitrary imposition of the death penalty through the
       FDPA is clear. . . It has become clear that the adoption of the
       bifurcated jury trial by so many states and the federal government has
       not done enough to eliminate the arbitrary imposition of the death
       penalty. The court’s question [is h]as actual experience borne out the
       promise for a more reliable system of capital punishment in the Gregg
       decision? The evidence produced for the court answers the question in
       the negative. . . .

             The time has surely arrived to recognize that the reforms
       introduced by Gregg and subsequent decisions have largely failed to
       rememdy the problems identified in Furman.

Fell, 224 F.Supp.3d at 358. See Ex. A (complete record of hearing in United States

v. Fell).

       The road map for that litigation was laid out by Justice Breyer in his dissent

in Glossip v. Gross, __ U.S. __, 135 S.Ct. 2726, 2755-2780 (2015), in which Justice

Ginsburg joined. The case presented a challenge to the constitutionality of

Oklahoma’s lethal injection protocol, but Justice Breyer looked behind the question

of how states may execute people to ask, based on the record of the administration

of the death penalty in the United States since Gregg, whether they should be

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allowed to execute people. He concluded that “the death penalty, in and of itself,

now likely constitutes a legally prohibited ‘cruel and unusual punishmen[t],’” Id. at

2755-2780, and called for litigation to develop a record beyond the data he had

gathered.

      Justice Beyer drew his decision from “[a]lmost 40 years of studies, surveys,

and experience” that “strongly indicate”, that the delegation of the significant

responsibility to the States to develop procedures that would protect against those

constitutional problems, “has failed.” He discerned that the administration of the

modern, post-Furman death penalty involves “three fundamental constitutional

defects: (1) serious unreliability, (2) arbitrariness in application, and (3)

unconscionably long delays that undermine the death penalty's penological

purpose.” Glossip, 135 S.Ct. at 2755-56. By looking at the very small number of

counties that actively sought death sentences, he concluded that “most places

within the United States have abandoned [the death penalty’s] use.” Id.

      Barely two months after Justice Breyer issued his dissent in Glossip, the

Connecticut Supreme Court, relying extensively on the analysis of Justices Breyer

and Ginsburg, ruled that state’s death penalty was unconstitutional. The

Connecticut court found that capital punishment “is so out of step with our

contemporary standards of decency as to violate the state constitutional ban on

excessive and disproportionate punishment.” State v. Santiago, 318 Conn. 1, 45-46,




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122 A.3d 1 (Conn. 2015), reconsideration denied, 319 Conn. 912 (2015).10 The

Connecticut court cited the Glossip dissent for factual and legal propositions that

were critical to its ruling. For example, as of 2012 “less than 2 percent of the

nation's counties accounted for all of the death sentences imposed nationwide”;

“between 1973 and 1995, state and federal courts found errors in more than two

thirds of the capital cases that they reviewed”; and statistical analyses “have

demonstrated to a near certainty that innocent Americans have been and will

continue to be executed in the post-Furman era.” Santiago, 318 Conn. at 80, 93 n.6,

and 104. Most critically, the state’s high court found that the question of

constitutionality was for it to decide: “court[s], not legislature[s] ultimately must

determine whether capital punishment comports with evolving standards of

decency because [these] are quintessentially judicial matters . . . [that] concern the

infliction—indeed the unfair, cruel, and unusual infliction—of a serious punishment

[on] an individual. ” Id. at 138-39.

      In 2003, a federal court in Massachusetts struggled with the constitutionality

of the federal death penalty in United States v. Sampson. Though the judge denied

the defendant’s challenges to the Federal Death Penalty Act (“FDPA”) on a record

that predated Glossip, he explicitly noted his “concern[] about the potential rate of

error in federal capital cases generally and the risk of the execution of the innocent



10While the Connecticut court decided Santiago on state constitutional grounds, it
expressly ruled that “when construing the state constitutional freedom from cruel
and unusual punishment, we broadly adopt the framework that the federal courts
have used to evaluate eighth amendment challenges.” Santiago, at 45-46.

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particularly.” See Sampson, Cr. No. 01-10384-MLW, 2015 WL 6511247 *21 (D.

Mass., Oct. 28, 2015) (citing Glossip (Breyer, J., dissenting)). See id. at *20 (“the

FDPA, like state death penalty statutes, will inevitably result in the execution of

innocent people.”).

      It is this Court’s role and obligation to assure that the punishments imposed

pursuant to these proceedings comport with the law and the limits of the

Constitution. Though the Supreme Court affirmed the capital statutes it reviewed

in Gregg v. Georgia, it did so “on grounds which one may fairly call a priori rather

than evidence based.” Fell, 224 F.Supp.3d at at 357. Mr. Bowers cannot be

sentenced to death if the Federal Death Penalty Act has not delivered what Gregg

promised. Moreover, where the Supreme Court has recognized that the

requirements of the Eighth Amendment are not static or “fastened to the obsolete

but may acquire meaning as public opinion becomes enlightened by a humane

justice,” it is up to this Court to determine what punishment is constitutional today.

Weems v. United States, 217 U.S. 349, 378 (1910). See also Hall v. Florida, 572

U.S. 701, 707 (“[t]he Eighth Amendment's protection of dignity reflects the [n]ation

we have been, the [n]ation we are, and the [n]ation we aspire to be”); United States

v. Sampson, 275 F. Supp. 2d 49, 86 (D. Mass. 2003)(“It will… be incumbent on

courts in future cases to monitor the reactions of legislatures and juries to the

mounting evidence that death penalty statutes have resulted in death sentences

and executions of innocent individuals much more often than previously

understood.”); United States v. Fell, 217 F.Supp.2d 469, 477 (2002) (The Supreme



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Court has “ acknowledged an ongoing ‘obligation to re-examine capital-sentencing

procedures against evolving standards of procedural fairness in a civilized

society.’”)(quoting Gardner v. Florida, 430 U.S. 349, 357 (1977)); Santiago, 318

Conn. at 47 (“Because the legal standard is an evolving one, it is both necessary and

appropriate for us to consider the issue anew, in light of relevant recent

developments, when it is raised.”); People v. Seumanu, 61 Cal. 4th 1293, 1369

(2015) (quoting Trop v. Dulles, 356 U.S. 86 (1958) (“[D]octrine can evolve. This is

especially true when interpreting the Eighth Amendment, which was ratified in

1791. The [] Supreme Court has recognized that the notion of cruel and unusual

punishment is not a concept carved in 18th-century stone, instead explaining that

although ‘the words of the [Eighth] Amendment are not precise, . . . their scope is

not static. The Amendment must draw its meaning from the evolving standards of

decency that mark the progress of a maturing society.’”).

      For the reasons and the arguments set forth herein the defendant Robert

Bowers, moves this Court to examine the death penalty, which the government

seeks to impose on him pursuant to the Federal Death Penalty Act, under the lens

of the evolving Eighth Amendment standard. Mr. Bowers further moves this Court,

upon review of the evidence set forth herein under that standard to find that the

federal death penalty is a cruel and unusual punishment under the Eighth

Amendment that cannot be imposed in this case. In the alternative, Mr. Bowers

urges this Court to set this matter for an evidentiary hearing where expert

testimony may be provided.



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                                    ARGUMENT


I.    The General Fifth and Eighth Amendment Principles that the Supreme
      Court has Recognized Govern Mr. Bowers’s Challenge to the Death Penalty.

      The Due Process Clause of the Fifth Amendment prohibits the imposition of

punishment on the basis of “arbitrary distinction[s].” Chapman v. United States,

500 U.S. 453, 465 (1991). “In the capital punishment context, ‘arbitrariness’ has a

procedural component and a substantive component.” Sampson, 2015 WL 6511247,

at *14 . Procedurally, “[b]ecause of the uniqueness of the death penalty, Furman

…held that it could not be imposed under sentencing procedures that created a

substantial risk that it would be inflicted in an arbitrary and capricious manner.”

Gregg, 428 U.S. at 188. The high service rendered by this requirement is “to require

legislatures to write penal laws that are evenhanded, nonselective, and

nonarbitrary, and to require judges to see to it that general laws are not applied

sparsely, selectively, and spottily to unpopular groups.” Sampson, 2015 WL

6511247, at *14. Substantively, “a defendant's sentence may still be ‘arbitrary and

capricious’ if it is sought or imposed based on impermissible considerations of

immutable characteristics, such as race.” Id.

      The Eighth Amendment imposes additional restrictions on the infliction of

punishment. As summarized in the Eighth Amendment establishes the minimum

standards for what constitutes impermissibly cruel and unusual punishment.

Specifically, the United States Supreme Court has indicated that at least three

types of punishment may be deemed unconstitutionally cruel: (1) inherently



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barbaric punishments; (2) excessive and disproportionate punishments; and (3)

arbitrary or discriminatory punishments. 11

      A.     The Constitution prohibits inherently barbaric and torturous
             punishments.

      First, the Eighth Amendment categorically prohibits the imposition of

inherently barbaric punishments. Graham v. Florida, 560 U.S. 48, 59 (2010). This

prohibition is directed toward manifestly and unnecessarily cruel punishments,

such as torture and other wanton infliction of physical pain. See, e.g., Gregg v.

Georgia, 428 U.S. 153, 170–72 (1976) (opinion announcing judgment); In re

Kemmler, 136 U.S. 436, 447. (1890). In the context of capital punishment, the

Eighth Amendment also bars particular modes of execution that present a

substantial or objectively intolerable risk of inflicting severe pain. Baze v. Rees,

553 U.S. 35, 50, 52 (2008) (opinion announcing judgment).

      B.     The Eighth Amendment prohibits punishments that are excessive and
             disproportionate to the offense.

      Second, the Eighth Amendment mandates that punishment be proportioned

and graduated to the offense of conviction. See Graham, 560 U.S. at 59. In the

capital punishment context, the United States Supreme Court has held, for


11In addition, some members of the United States Supreme Court have suggested
that a punishment may be so unusual that it runs afoul of the Eighth Amendment
on that basis alone. See, e.g., Glossip, 135 S.Ct. at 2774 (Breyer and Ginsburg, JJ.,
dissenting)(executions could be so infrequently carried out that they “ ‘would cease
to be a credible deterrent or measurably to contribute to any other end of
punishment in the criminal justice system . . . when imposition of the penalty
reaches a certain degree of infrequency, it would be very doubtful that any existing
general need for retribution would be measurably satisfied’”)(quoting Furman v.
Georgia, 408 U.S. 238, 311 (1972) (White, J., concurring).

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example, that the death penalty is categorically excessive and disproportionate

when imposed on certain classes of offenders. See, e.g., Roper v. Simmons, 543 U.S.

551, 568(2005) (prohibiting execution of individuals who were under eighteen years

of age when they committed capital crimes); Atkins v. Virginia, 536 U.S. 304, 321

(2002) (execution of intellectually disabled individuals was held to be

unconstitutional). The Court also has concluded that capital punishment is never

warranted for non-homicide crimes against individuals. See, e.g., Kennedy v.

Louisiana, 554 U.S. 407, 446 (2008) (death penalty was held to be disproportionate

punishment for child rape); Enmund v. Florida, 458 U.S. 782, 797 (1982) (Eighth

Amendment does not permit execution of defendant who did not kill or intend to kill

but who played minor role in felony in course of which murder was committed by

others); Coker v. Georgia, 433 U.S. 584, 592 and n. 4 (1977) (plurality opinion)

(sentence of death for rape of adult woman was held to be grossly disproportionate

and excessive punishment).

      A court engages in a two-stage analysis in determining whether a challenged

punishment is unconstitutionally excessive and disproportionate. Enmund, 458

U.S. at 788–89. First, the court looks to “objective factors” to determine whether

the punishment at issue comports with contemporary standards of decency. Id. at

788. These objective indicia include “the historical development of the punishment

at issue,” legislative enactments, and the decisions of prosecutors and sentencing

juries. Id.; see also Roper, 543 U.S. at 563; Thompson v. Oklahoma, 487 U.S. 815,

821–22 (1988).



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      This objective evidence of contemporary social mores, however, does not

wholly determine the issue. “Although legislative measures adopted by the people's

chosen representatives provide one important means of ascertaining contemporary

values, it is evident that legislative judgments alone cannot be determinative of

Eighth Amendment standards since that Amendment was intended to safeguard

individuals from the abuse of legislative power.” Gregg, 428 U.S. at 174 n. 19

(opinion announcing judgment). Because the Eighth Amendment imposes “a

restraint [on] the exercise of legislative power”; Id. at 174, the United States

Supreme Court repeatedly has emphasized that courts must conduct a second stage

of analysis in which they bring their own independent judgments to bear, giving

careful consideration to the reasons why a civilized society may accept or reject a

given penalty. See, e.g., Hall v. Florida, __U.S. __, 134 S.Ct. 1986, 1993, 1999–2000

(2014); Atkins, 536 U.S. at 312; Thompson, 487 U.S. at 822–23. “Although the

judgments of legislatures, juries, and prosecutors weigh heavily in the balance, it is

for [the court] ultimately to judge whether the [constitution] permits imposition of

the death penalty. . . .” Enmund, 458 U.S. at 797. A court’s independent analysis

must be informed not only by judicial precedents, but also by its own understanding

of the rights secured by the constitution. Kennedy, 554 U.S. at 434. This analysis

necessarily encompasses the question of whether the penalty at issue promotes any

of the penal goals that courts and commentators have recognized as legitimate:

deterrence, retribution, incapacitation, and rehabilitation. E.g., Graham, 560 U.S.

at 71. A sentence materially lacking any legitimate penological justification would



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be nothing more than the “gratuitous infliction of suffering” and, by its very nature,

disproportionate. Gregg, 428 U.S. at 183 (opinion announcing judgment).12

      C.     Punishments that are arbitrary or discriminatory are cruel and
             unusual under the Eighth Amendment and therefore prohibited.

      Third, the Eighth Amendment prohibits punishments that are imposed in an

“arbitrary and unpredictable fashion . . . .” Kennedy, 554 U.S. at 436. The ultimate

punishment must be reserved for the very worst offenders, and may not be

“wantonly [or] . . . freakishly imposed.” Furman, 408 U.S. at 310 (Stewart, J.,

concurring). In Eddings v. Oklahoma, 455 U.S. 104, 112 (1982), the Court referred

to the other side of this approach, requiring “that capital punishment be imposed

fairly, and with reasonable consistency, or not at all.” More recently in Kennedy v.

Louisiana, the Court warned, “When the law punishes by death, it risks its own

sudden descent into brutality, transgressing the constitutional commitment to

decency and restraint.” 554 U.S. at 420. For that reason, the Court wrote,

“[c]apital punishment must ‘be limited to those offenders who commit “a narrow

category of the most serious crimes” and whose extreme culpability makes them ‘the



12 Some Justices have suggested that these considerations—whether a punishment
is excessive or disproportionate, whether it comports with contemporary standards
of decency and dignity, and whether it satisfies any legitimate penological goals—
represent three distinct elements or prongs of the Eighth Amendment analysis. See,
e.g., Furman v. Georgia, 408 U.S. 238, 330–32, 92 S.Ct. 2726, 33 L.Ed.2d 346 (1972)
(Marshall, J., concurring). However, as correctly pointed out in Santiago,
“[w]hether these considerations are treated as distinct elements or merely as
distinct components of a common element, however, is merely semantic and
ultimately immaterial, because it is clear that a sentence’s failure to satisfy any of
these requirements would render it unconstitutional under the eighth amendment.”
State v. Santiago, 318 Conn. at 22 n. 18.

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most deserving of execution.’” Id. In the context of capital punishment, the United

States Supreme Court has indicated that there are two dimensions to this rule.

      On the one hand, in Furman v. Georgia, 408 U.S. 238, 239–40 (1972), in

which the Court held, in a per curiam opinion, that capital punishment as then

applied violated the Eighth Amendment, and four years later in Gregg v. Georgia,

428 U.S. 153, in which the court held that Georgia’s revamped capital punishment

statute did not offend the United States constitution, Id. at 206–207 (opinion

announcing judgment); the Court established the principle that a capital sentencing

scheme must provide the sentencing authority sufficient guidance as to which

crimes and criminals are death worthy to ensure that the death penalty is not

imposed in an arbitrary or freakish manner. Id. at 192–95 (opinion announcing

judgment). “To pass constitutional muster, a capital sentencing scheme must

genuinely narrow the class of persons eligible for the death penalty and must

reasonably justify the imposition of a more severe sentence on the defendant

compared to others found guilty of murder.” Lowenfield v. Phelps, 484 U.S. 231,

244 (1988). “This means that if a [s]tate wishes to authorize capital punishment it

has a constitutional responsibility to tailor and apply its law in a manner that

avoids the arbitrary and capricious infliction of the death penalty. Part of a [s]tate’s

responsibility in this regard is to define the crimes for which death may be the

sentence in a way that obviates standardless [sentencing] discretion . . . . It must

channel the sentencer’s discretion by clear and objective standards that provide

specific and detailed guidance, and that make rationally reviewable the process for



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imposing a sentence of death.” Godfrey v. Georgia, 446 U.S. 420, 428 (1980)

(plurality opinion).

      It goes without saying that the Eighth Amendment is offended not only by

the random or arbitrary imposition of the death penalty, but also by the greater

evils of racial discrimination and other forms of pernicious bias in the selection of

who will be executed. See, e.g., Tuilaepa v. California, 512 U.S. 967, 973 (1994)

(guarding against bias or caprice in sentencing is “controlling objective” of court’s

review); see also Graham v. Collins, 506 U.S. 461, 484 (1993) (Thomas, J.,

concurring) (racial prejudice is “the paradigmatic capricious and irrational

sentencing factor”); Furman v. Georgia, 408 U.S. at 242 (Douglas, J., concurring)

(one aim of English Declaration of Rights of 1689, in which Eighth Amendment

language originated, was to forbid discriminatory penalties); Id. at 310 (Stewart, J.,

concurring) (“if any basis can be discerned for the selection of these few to be

sentenced to die, it is the constitutionally impermissible basis of race”). The Eighth

Amendment, then, requires that any capital sentencing scheme determine which

defendants will be eligible for the death penalty on the basis of legitimate, rational,

nondiscriminatory factors.

      On the other hand, the United States Supreme Court also has insisted that,

at the sentencing stage, juries must have unlimited discretion to assess “the

character and record of the individual offender and the circumstances of the

particular offense as a constitutionally indispensable part of the process of inflicting

the penalty of death.” Woodson v. North Carolina, 428 U.S. 280 (1976) (opinion



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announcing judgment). The Court in Woodson held that this sort of individualized

sentencing determination is necessary to arrive at a just and appropriate sentence

and to honor the Eighth Amendment’s “fundamental respect for humanity . . . .” Id.

The Court also has consistently indicated that the government has broad discretion

as to whom to prosecute and what charge to file. See, e.g., Hartman v. Moore, 547

U.S. 250, 263 (2006); McCleskey v. Kemp, 481 U.S. 279, 296–97 (1987); Wayte v.

United States, 470 U.S. 598, 607 (1985). “As currently construed, then, the federal

constitution simultaneously requires that states narrowly limit and carefully define

which offenders are eligible for capital punishment, while, paradoxically, also giving

prosecutors and juries, respectively, virtually unfettered discretion whether

actually to charge defendants with capital crimes and whether to sentence

convicted offenders to death.” Santiago, 318 Conn. at 25.

      Most of the challenges to the FDPA have been met with the response that the

Act is constitutional because it contains the safeguards articulated in Gregg. See,

e.g., United States v. Sampson, 2015 WL 6511247 * 18; United States v. Jacques,

2011 WL 1675417 * 3 (D.Vt. May 4, 2011). The constitutional problem with this

response is that it ignores the actual experience of utilizing these particular

safeguards.13 As articulated in Glossip, “the Court in effect delegated significant

responsibility to the States [and Congress] to develop procedures that would protect



13“Indeed, in the pursuit of our judicial mission, hardly a day passes without the
forceful reminder of Mr. Justice Holmes (The Common Law p. 1) that “The life of
the law has not been logic: it has been experience.” United States v. Butz, 517 F.
Supp. 1167, 1168 (S.D.N.Y. 1981)

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against those constitutional problems. Almost 40 years of studies, surveys, and

experience strongly indicate, however, that this effort has failed.” Id. at 2755, And

as was held in Santiago,

      [I]t has become apparent that the dual federal constitutional
      requirements applicable to all capital sentencing schemes—namely,
      that the jury be provided with objective standards to guide its
      sentence, on the one hand, and that it be accorded unfettered
      discretion to impose a sentence of less than death, on the other—are
      fundamentally in conflict and inevitably open the door to
      impermissible racial and ethnic biases.

318 Conn. at 14.

      The question is whether this individualized sentencing requirement
      inevitably allows in through the back door the same sorts of caprice
      and freakishness that the court sought to exclude in Furman, or,
      worse, whether individualized sentencing necessarily opens the door to
      racial and ethnic discrimination in capital sentencing. In other words,
      is it ever possible to eliminate arbitrary and discriminatory application
      of capital punishment through a more precise and restrictive definition
      of capital crimes if prosecutors always remain free not to seek the
      death penalty for a particular defendant, and juries not to impose it,
      for any reason whatsoever? We do not believe that it is.

Id. at 108-109.

      In support of this conclusion, the Santiago court aptly noted that “the United

States Supreme Court itself has expressed serious doubts as to whether its own

commandments can be reconciled.” Id. at 109. In Tuilaepa, the Court recognized

that “[t]he objectives of these two inquiries can be in some tension . . . .” Id. at 973.

Fourteen years later, in Kennedy, the Court again acknowledged that “[t]he tension

between general rules and case-specific circumstances has produced results not

altogether satisfactory.” Kennedy, 554 U.S. at 436. “Our response to this case law,”

the Court frankly conceded, “is still in search of a unifying principle . . . .” Id. at

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437. See also Turner v. Murray, 476 U.S. 28, 35 (1986) (plurality opinion)

(“[b]ecause of the range of discretion entrusted to a jury in a capital sentencing

hearing, there is a unique opportunity for racial prejudice to operate”).

      “In fact, in the four decades since the United States Supreme Court struck

down the death penalty (as then-applied) in Furman and then resuscitated it four

years later in Gregg, at least one-half dozen members of that court—jurists of all

jurisprudential stripes—have concluded that the demands of Furman, on the one

hand, and of Woodson and Lockett, on the other, are, ultimately, irreconcilable.”

Santiago, 318 Conn. at 109-110. In Furman itself, of the five concurring justices,

two (Justices Brennan and Marshall) took the position that capital punishment is

so inherently arbitrary as to constitute cruel and unusual punishment under all

circumstances, and a third (Justice Douglas) opined that any non-mandatory capital

sentencing scheme would be inherently subject to discrimination and hence

unconstitutional. See Furman, 408 U.S. at 255 (Douglas, J., concurring) (“we know

that the discretion of judges and juries in imposing the death penalty enables the

penalty to be selectively applied, feeding prejudices against the accused if he is poor

and despised, and lacking political clout, or if he is a member of a suspect or

unpopular minority, and saving those who by social position may be in a more

protected position”); Id. at 294 (Brennan, J., concurring) (“[n]o one has yet

suggested a rational basis that could differentiate . . . the few who die from the

many who go to prison”); Id. at 365 (Marshall, J., concurring) (“committing to the

untrammeled discretion of the jury the power to pronounce life or death in capital



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cases is . . . an open invitation to discrimination” [internal quotation marks

omitted]).

      Justice Marshall elaborated on this “fundamental defect” in the Court’s

Eighth Amendment jurisprudence in Godfrey, 446 U.S. at 420:

      [A]ppellate courts are incapable of guaranteeing the kind of objectivity
      and evenhandedness that the Court contemplated and hoped for in
      Gregg. The disgraceful distorting effects of racial discrimination and
      poverty continue to be painfully visible in the imposition of death
      sentences . . . . The task of eliminating arbitrariness in the infliction of
      capital punishment is proving to be one which our criminal justice
      system—and perhaps any criminal justice system—is unable to
      perform . . . .

            The . . . inability to administer . . . capital punishment . . . in an
      evenhanded fashion is . . . symptomatic of a deeper problem that is
      proving to be genuinely intractable . . . .

             [T]he task of selecting in some objective way those persons who
      should be condemned to die is one that remains beyond the capacities
      of the criminal justice system. For this reason, I remain hopeful that
      even if the Court is unwilling to accept the view that the death penalty
      is so barbaric that it is in all circumstances cruel and unusual
      punishment forbidden by the Eighth and Fourteenth [a]mendments, it
      may eventually conclude that the effort to eliminate arbitrariness in
      the infliction of that ultimate sanction is so plainly doomed to failure
      that it—and the death penalty—must be abandoned altogether.”


Id. at 439-42 (Citations omitted; footnotes omitted.) (Marshall, J., concurring in the

judgment).

      Both Justices Stevens and Blackmun have reached similar conclusions. See

Baze, 553 U.S. at 85 (Stevens, J., concurring in the judgment) (“[a] . . . significant

concern is the risk of discriminatory application of the death penalty”); Tuilaepa,

512 U.S. at 991–92 (Blackmun, J., dissenting) (“One of the greatest evils of leaving



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jurors with largely unguided discretion is the risk that this discretion will be

exercised on the basis of constitutionally impermissible considerations—primary

among them, race . . . . For far too many jurors, the most important ‘circumstances

of the crime’ are the race of the victim or the defendant.”) (Citations omitted).

      Justice Scalia, while drawing a different legal conclusion than his more

liberal brethren, has been no less persuaded by the premise that the United States

Supreme Court’s Furman and Woodson/Lockett lines of jurisprudence are

fundamentally incompatible: “To acknowledge that ‘there perhaps is an inherent

tension’ between this line of cases and the line stemming from Furman, McCleskey

v. Kemp, 481 U.S. at 363 (BLACKMUN, J., dissenting), is rather like saying that

there was perhaps an inherent tension between the Allies and the Axis Powers in

World War II. And to refer to the two lines as pursuing ‘twin objectives,’ Spaziano

v. Florida, 468 U.S. at 459 . . . is rather like referring to the twin objectives of good

and evil. They cannot be reconciled.” Walton v. Arizona, 497 U.S. 639, 664 (1990)

(Scalia, J., concurring in part and concurring in the judgment), overruled in part on

other grounds by Ring v. Arizona, 536 U.S. 584 (2002).

      And now, Justices Breyer and Ginsburg have added their voices to this

consensus, declaring that:

      Four decades ago, the Court believed it possible to interpret the Eighth
      Amendment in ways that would significantly limit the arbitrary
      application of the death sentence. See Gregg, 428 U.S. at 195, 96 S.Ct.
      2909 (joint opinion of Stewart, Powell, and Stevens, JJ.) (“[T]he
      concerns expressed in Furman that the penalty of death not be
      imposed in an arbitrary or capricious manner can be met”). But that no
      longer seems likely.



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Glossip, 135 S. Ct. at 2762 (Breyer and Ginsburg, JJ., dissenting).

      It is also clear, based on the analysis conducted in both the Glossip dissent

and in Santiago, that there are numerous other flaws in the current administration

of the death penalty. As demonstrated below, these flaws are not restricted to state

death penalty schemes and apply specifically to the FDPA, rendering any death

sentence under it unconstitutional.

II.   There is Now Almost Half a Century’s Worth of Studies, Surveys, and
      Experience that Demonstrates the Procedural Protections Included in
      the Federal Death Penalty Act have Failed to Achieve Their Intended
      Goal of Reliable, Rational, Consistent, Fair, Non-Arbitrary, and Non-
      Discriminatory Application of the Death Penalty.

      The Glossip dissent and the Santiago opinion provide a current roadmap of

the multiple problems with the administration of the death penalty nationwide. By

definition, these problems extend to the FDPA, which utilizes the same procedural

mechanisms that have produced such a morass in the state death penalty systems.

As Justices Breyer and Ginsburg point out, “[a]lmost 40 years of studies, surveys,

and experience strongly indicate… that [the death penalty] effort has failed.

Today's administration of the death penalty involves three fundamental

constitutional defects: (1) serious unreliability, (2) arbitrariness in application, and

(3) unconscionably long delays that undermine the death penalty’s penological

purpose. Perhaps as a result, (4) most places within the United States have

abandoned its use.” Glossip, 135 S.Ct. at 2755-56.

      If the government disputes the accuracy of the factual basis underlying this

argument, a hearing is requested at which counsel will prove their assertions.



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      A.     The death penalty cannot be reliably applied, and therefore it is cruel
             and unusual under the Eighth Amendment.

      The Court has specified that the finality of death creates a “qualitative

difference” between the death penalty and other punishments (including life in

prison). Woodson, 428 U.S. at 305 (plurality opinion). That “qualitative difference”

creates “a corresponding difference in the need for reliability in the determination

that death is the appropriate punishment in a specific case.” Id. “There is

increasing evidence, however, that the death penalty as now applied lacks that

requisite reliability.” Glossip, 135 S.Ct. at 2756 (Breyer and Ginsburg, JJ.,

dissenting). “Unlike 40 years ago, we now have plausible evidence of unreliability

that (perhaps due to DNA evidence) is stronger than the evidence we had before. In

sum, there is significantly more research-based evidence today indicating that

courts sentence to death individuals who may well be actually innocent or whose

convictions (in the law’s view) do not warrant the death penalty’s application.” Id.

at 2759. See also, Kansas v. Marsh, 548 U.S. 163, 207–211 (2006) (Souter, J.,

dissenting) (DNA exonerations constitute “a new body of fact” when considering the

constitutionality of capital punishment); Santiago, 318 Conn. at 106 (“In concluding

that the death penalty is unconstitutional… we recognize that the legal and moral

legitimacy of any future executions would be undermined by the ever present risk

that an innocent person will be wrongly executed.”).

      This new research-based evidence has several different components. First,

“despite the difficulty of investigating the circumstances surrounding an execution

for a crime that took place long ago, researchers have found convincing evidence

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that, in the past three decades, innocent people have been executed.” Id. at 2756. 14

See also Santiago, 318 Conn. at 104 (“Statistical analyses have demonstrated to

near certainty that innocent Americans have been and will continue to be executed

in the post-Furman era.”). In Santiago, the Connecticut Supreme Court observed

that

       all punishment is tainted by the possibility of error. Capital
       punishment, however, is especially problematic. When we impose
       capital punishment on a convicted murderer, there cannot be any room
       for error since the murderer can never be brought back to life
       afterward if error is discovered at some later date. If there remains a
       substantial risk of error, as demonstrated by advances in scientific
       testing in cases [in which] a person has been sentenced beyond a
       reasonable doubt in a fair trial, then we have good reason on
       retributivist grounds to reject capital punishment in favor of an
       alternative sanction.


14 Citing Liebman, Fatal Injustice; Carlos DeLuna’s Execution Shows That a Faster,
Cheaper Death Penalty is a Dangerous Idea, L.A. Times, June 1, 2012, p. A19
(describing results of a 4–year investigation, later published as The Wrong Carlos:
Anatomy of a Wrongful Execution (2014), that led its authors to conclude that
Carlos DeLuna, sentenced to death and executed in 1989, six years after his arrest
in Texas for stabbing a single mother to death in a convenience store, was innocent);
Grann, Trial By Fire: Did Texas Execute An Innocent Man? The New Yorker, Sept.
7, 2009, p. 42 (describing evidence that Cameron Todd Willingham was convicted,
and ultimately executed in 2004, for the apparently motiveless murder of his three
children as the result of invalid scientific analysis of the scene of the house fire that
killed his children). See also, e.g., Press Release: Gov. Ritter Grants Posthumous
Pardon in Case Dating Back to 1930s, Jan. 7, 2011, p. 1 (Colorado Governor granted
full and unconditional posthumous pardon to Joe Arridy, a man with an IQ of 46
who was executed in 1936, because, according to the Governor, “an overwhelming
body of evidence indicates the 23–year–old Arridy was innocent, including false and
coerced confessions, the likelihood that Arridy was not in Pueblo at the time of the
killing, and an admission of guilt by someone else”); Rob Warden, Wilkie Collins’s
The Dead Alive: The Novel, the Case, and Wrongful Convictions 157–158 (2005) (in
1987, Nebraska Governor Bob Kerrey pardoned William Jackson Marion, who had
been executed a century earlier for the murder of John Cameron, a man who later
turned up alive; the alleged victim, Cameron, had gone to Mexico to avoid a shotgun
wedding).

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Id. at 105-06.

      Second, “the evidence that the death penalty has been wrongly imposed

(whether or not it was carried out), is striking.” Glossip, 135 S.Ct. at 2756 (Breyer

and Ginsburg, JJ., dissenting) (emphasis in original). When the Court decided in

2002 that the Constitution prohibits executing intellectually disabled persons, the

Supreme Court wrote that “we cannot ignore the fact that in recent years a

disturbing number of inmates on death row have been exonerated.” Atkins, 536

U.S. at 320 n. 25 (noting approximately 60 death row exonerations). Thirteen years

later, when Justice Breyer returned to this issue in his dissent in Glossip, the

number of exonerations in capital cases had risen to 115 or even 154, depending on

how “exoneration” is defined. In the one year before Glossip, six people who had

been sentenced to death more than 30 years earlier (one almost 40 years earlier)

were exonerated based on actual innocence. See Glossip, 135 S.Ct. at 2756.15

      Third, as Glossip noted, the incidence of exonerations is far more frequent

among capital convictions than non-capital ones. Justice Breyer found that

“Researchers have calculated that courts (or State Governors) are 130 times more

likely to exonerate a defendant where a death sentence is at issue [and] nine times

more likely to exonerate where a capital murder, rather than a noncapital murder,



15Citing National Registry of Exonerations, Exonerations in the United States,
1989–2012, pp. 6–7 (2012), and Death Penalty Information Center (DPIC),
Innocence: List of Those Freed from Death Row (now “Innocence Database,”
available at https://deathpenaltyinfo.org/policy-issues/innocence-database (last
visited Dec. 14, 2019). After Glossip was decided on June 29, 2015, two more
exonerations were added to DPIC’s List of Those Freed From Death Row.

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is at issue.” Glossip, 135 S.Ct. at 2757.16 The higher rate of wrongful convictions in

capital cases may be attributable to the fact that “the crimes at issue in capital

cases are typically horrendous murders, and thus accompanied by intense

community pressure on police, prosecutors, and jurors to secure a conviction. This

pressure creates a greater likelihood of convicting the wrong person.” Id.17

         The pressure on – and zeal from – prosecutors to obtain a capital conviction

and death sentence is compounded by a built-in component of capital prosecutions,

the practice of “death-qualifying” juries. Justice Breyer observed that the process

“‘skews juries toward guilt and death.’” Id. at 2758.18 The federal court in Fell,

following an evidentiary hearing, reached far more troubling conclusions.

         The court heard testimony from Dr. Craig Haney, a social psychologist from

the University of California at Santa Cruz. Ex. A at 23-268. Noting the Supreme




16   Citing Exonerations 2012 Report 15–16, and nn. 24 & 26.
17Citing Gross, Jacoby, Matheson, Montgomery, & Patil, Exonerations in the
United States 1989 Through 2003, 95 J. Crim. L. & C. 523, 531–533 (2005); Gross &
O’Brien, Frequency and Predictors of False Conviction: Why We Know So Little,
and New Data on Capital Cases, 5 J. Empirical L. Studies 927, 956–957 (2008)
(noting that, in comparing those who were exonerated from death row to other
capital defendants who were not so exonerated, the initial police investigations
tended to be shorter for those exonerated); see also B. Garrett, Convicting the
Innocent: Where Criminal Prosecutions Go Wrong (2011) (discussing other common
causes of wrongful convictions generally including false confessions, mistaken
eyewitness testimony, untruthful jailhouse informants, and ineffective defense
counsel).
18Quoting Rozelle, The Principled Executioner: Capital Juries’ Bias and the
Benefits of True Bifurcation, 38 Ariz. S.L.J. 769, 772–793, 807 (2006) (summarizing
research and concluding that “[f]or over fifty years, empirical investigation has
demonstrated that death qualification skews juries toward guilt and death”).

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Court’s skepticism of the social science on jury selection bias effect in Witherspoon

v. Illinois, 391 U.S. 510 (1968) and Lockhart v. McCree, 476 U.S. 162 (1986), the

Court found that “Since at least 1980, Dr. Haney was worked to fill in the gap in the

[social science] record. With respect to the compositional bias of the death-qualified

jury, it can no longer be seriously questioned that panel who have announced their

openness to a death penalty verdict and have been selected on that basis are more

likely to convict than jurors who more closely mirror the full range of values in our

society.” Fell, 224 F.Supp.3d at 333. Dr. Haney testified that among the reasons

that death qualification results in capital juries that are biased in favor of the

prosecution are that it excludes minorities; selects jurors who are more likely to

impose the death penalty than other jurors; and promotes death sentences because

of the psychological effect of the questions asked and answers given. Id. at 332.

The judge found as matter of fact that “death qualified juries have a disposition

towards conviction which is significantly greater than the attitude of juries who

have not passed through the filter of death qualification.” Id. at 335.

      The Court also heard testimony regarding the Capital Jury Project (“CJP”).

The CJP is a data-set of almost 1200 interviews over 15 years with people who sat

on capital juries that was funded by the National Science Foundation. Fell, 224

F.Supp.3d at 335. Dr. Wanda Foglia, a law professor who conducts social science

research in the area of criminology, testified to three primary findings from the

CJP: (1) the process of death-qualification in voir dire produces juries biased in

favor of imposing death; (2) the majority of capital jurors decide the punishment



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before completing the culpability stage and never engage in the weighing of

mitigating and aggravating factors to decide sentence; (3) jurors are consistently

unable to understand and apply the instructions from each phase of a capital trial.

Id. at 335-36; Ex. A at 643-875. Specifically, Dr. Foglia testified that:

      Half of the jurors interviewed had decided the sentence before they
       determined the defendant was guilty;

      Depending on offense, 46% to 72% of jurors believed that death was the only
       appropriate sentence;

      Half of jurors did not understand they were required to consider mitigating
       evidence, two-thirds did not understand that mitigating factors did not need
       to be found unanimously, and one-third to one-half did not understand the
       respective burdens of proof for mitigating and aggravating factors;

      From 33% to 44% of jurors believed that death was mandatory upon proof of
       ceratin aggravating factors;

      A substantial number of jurors did not believe that people sentenced to life
       without parole would not be released.

Id. at 336-37.

       Following Dr. Foglia, Dr. Scott Sundby, a law professor who had been active

with the CJP, testified that “it is beyond human present ability to formulate a

capital punishment scheme which would get [] the type of non-arbitrary, non-

capricious decisions that the Supreme Court has said we must have after Furman.”

Id. at 337; Ex. A at 884. Professor Sundby explained that

       Based on hundreds of hours of juror interviews, he came to appreciate
       that the penalty phase determination “is . . . at the bottom, inevitably .
       . . a moral, spiritual, religious value judgment. It is not like the guilt
       phase judgment . . . . The ultimate question in the capital punishment
       context . . . is does this defendant deserve to live or die. And there is
       absolutely no way to make that decision other than looking at your
       own values.” In contrast to the guilt phase (or all other criminal cases)

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       in which the jury is making a fact-based decision, the penalty phase
       decision depends upon the jurors’ subjective moral values. Because the
       determination is not fact-based, it is inherently unpredictable and
       ungovernable by legal standards.

Id. at 337 (citations omitted). See Ex. A at 885. Based on the CJP testimony and

evidence, the court in Fell found that the social science had “converged on a

common conclusion that the process by which jurors are selected does not measure

up to the standards of detached objectivity required by Gregg” and it “supported the

position [] that jury selection since Gregg is not the solution to inherent jury bias,

but rather part of the problem.” Id. at 338.

       Looking at all of the testimony and evidence about capital juries and the

selection process, the court in Fell made this finding:

       [T]he procedures for conducting trials mandated by the Gregg decision
       have not cured systemic shortcomings in jury selection and
       deliberations. The death qualification process continues to weight jury
       panels in favor of convicrion and in favor of the death penalty through
       the exclusion of a large portion of the community which holds views
       opposed to the death penalty. When surveyed, jurors who actually
       served in capital cases had great difficulty in following courts’
       instructions. It is an inadequate response to presume that juries
       follow our instructions when the evidence is to the contrary. The
       evidence introduced at the hearing demonstrates that despite efforts to
       create a more just death penalty regime, the FDPA – like the very
       similar state death penalty statutes enacted after Furman – remains
       inherently unreliable as it seeks to identify those cases in which death
       is the just outcome.

Id. at 339-40.




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         Another demonstrated source of erroneous convictions and death sentences is

flawed forensic evidence, including from the FBI.19 In 1997, the DOJ learned that

that the FBI crime lab had engaged in massive flawed forensic work, including the

“use of scientifically unsupportable analysis and overstated testimony by [13] FBI

Lab examiners in criminal prosecutions.” See, United States Department of Justice,

Office of the Inspector General, An Assessment of the 1996 Department of Justice

Task Force Review of the FBI Laboratory at 1 (July 2014) (“2014 OIG Report”).20 A

Criminal Division Task Force was appointed to identify, review, and follow-up on

more than 7,500 cases linked to 13 problematic FBI examiners. Those examiners’

work factored into 64 capital convictions and death sentences. See also FBI,

National Press Releases, FBI Testimony on Microscopic Hair Analysis Contained

Errors in at Least 90 Percent of Cases in Ongoing Review, Apr. 20, 2015 (review

finds FBI provided flawed forensic hair analysis testimony provided in 33 of 35

death sentence cases (94 percent), and nine of the defendants had already been




19“In general, both the prosecution and the defense rely more extensively on experts
in death penalty cases than in other federal criminal cases.” Judicial Conference of
the United States, Committee on Defender Services, Subcommittee on Federal
Death Penalty Cases, Federal Death Penalty Cases: Recommendations Concerning
The Cost And Quality of Defense Representation (May 1998) at 14.
20   Available at https://oig.justice.gov/reports/2014/e1404.pdf (last visited Dec. 14,
2019).

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executed and five died of other causes awaiting execution before errors were

discovered.).21

         At least three inmates were executed before their cases were identified for

further review– for one of them, it literally cost him his life. An independent

scientist later determined that the FBI lab analysis that led to the 1997 execution of

Benjamin H. Boyle in Texas was scientifically unsupportable and the testimony

incorrect. See OIG 2014 Report at 51. Because the DOJ and the FBI did not

immediately alert state authorities that Mr. Boyle’s convictions might be called into

question, prosecutors did not delay the execution. The OIG reports that “but for”

that tainted testimony, “Boyle would not have been convicted of the capital offense

that rendered him eligible for the death penalty.” Id. at 52, 66-67, 86 (emphasis

added). Two other capital defendants, Michael Lockhart and Gerald Stano, were

executed before their cases were identified for Task Force Review.

         There was little to no public knowledge of this colossal failure until a series of

articles published in the Washington Post in April 2012 generated a public outcry.22

The account was indeed scathing:



21   Available at https://www.fbi.gov/news/pressrel/press-releases/fbi-testimony-on-
microscopic-hair-analysis-contained-errors-in-at-least-90-percent-of-cases-in-
ongoing-review (last visited Dec. 20, 2019).
22See Spencer S. Hsu, Convicted defendants left uninformed of forensic flaws found
by Justice Dept., The Washington Post (Apr. 16, 2012), available at
https://www.washingtonpost.com/local/crime/convicted-defendants-left-uninformed-
of-forensicflaws-found-by-justice-dept/2012/04/16/gIQAWTcgMT_story.html;
Spencer S. Hsu, DOJ review of flawed FBI forensics processes lacked transparency,
The Washington Post (Apr. 17, 2012), available at
https://www.washingtonpost.com/local/crime/dojreview-of-flawed-fbi-forensics-
                                             29
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        The documents and interviews tell a story of how the Justice
        Department’s promise to protect the rights of defendants became in
        large part an exercise in damage control that left some prisoners
        locked away or in the dark for years longer than necessary. The Justice
        Department continues to decline to release the names of defendants in
        the affected cases. . . . .

        The Justice Department’s decision to allow prosecutors to decide what
        to disclose to defendants was criticized at the time and allowed most of
        the process to remain secret. But by cloaking cases in anonymity,
        failing to ensure that defendants were notified of troubles with their
        cases and neglecting to publicly report problems or recommend
        solutions, the task force obscured problems from further study.

Hsu, DOJ review of flawed FBI forensics processes lacked transparency, supra,

n.22.

        The full extent of the failures not only by the FBI, but also by the DOJ in not

notifying defendants and the defense bar once it became aware that active capital

convictions were jeopardized and leaving that process in the hands of prosecutors,

was not known until July 2014, when the first report reviewing the Task Force’s

conduct was published. The report concluded that the Task Force and the FBI “did

not take sufficient steps to ensure that the capital cases were the Task Force’s top

priority. . . . [w]e found evidence that the independent scientists’ reports were

forwarded to capital defendants in only two cases. The department should have

handled all death penalty cases with greater priority and urgency.” OIG 2014

Report, at i-ii. 23 The lesson from this critical failure of the FBI and the DOJ is


processes-lacked-transparency/2012/04/17/gIQAFegIPT_story.html (last visited Dec.
20, 2019).
23In response to the OIG’s 2014 Assessment, disturbingly, the DOJ expressed
disagreement with the OIG’s conclusion that it was a mistake to delegate to
prosecutors the sole “responsibility for making appropriate disclosures to
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apparent – people have been executed based on evidence now known to be

hopelessly unreliable.

      As a consequence of these and other factors, “researchers estimate that about

4% of those sentenced to death are actually innocent.” Id.24 In other words,

approximately 1 in 25 capital defendants in the United States are sentenced to

death for crimes they did not commit. Given this rate of error and the sheer

number of exonerations in capital cases, which is steadily increasing, there is ample

basis to conclude, as Judge Wolf did recently in United States v. Sampson, 2015 WL

6511247, at *20, that “the FDPA, like state death penalty statutes, will inevitably

result in the execution of innocent people.”



defendants or defense counsel” when confronted with the fact that an independent
scientist had concluded that evidence in their own cases was tainted. Department
Response to OIG Report, July 9, 2014 at 4, available at 2014 OIG Report at 131.
24 Citing Gross, O’Brien, Hsu, & Kennedy, Rate of False Conviction of Criminal
Defendants Who Are Sentenced to Death, 111 Proceeding of the National Academy
of Sciences 7230 (2014) (full-scale study of all death sentences from 1973 through
2004 estimating that 4.1% of those sentenced to death are actually innocent);
Risinger, Innocents Convicted: An Empirically Justified Factual Wrongful
Conviction Rate, 97 J. Crim. L. & C. 761 (2007) (examination of DNA exonerations
in death penalty cases for murder-rapes between 1982 and 1989 suggesting an
analogous rate of between 3.3% and 5%).

      Additional studies cited in the Santiago opinion on this same point include:
H. Bedau & M. Radelet, Miscarriages of Justice in Potentially Capital Cases, 40
Stan. L.Rev. 21, 36 (1987) (citing high rate of error in death penalty cases); D.
Benson et al., Executing the Innocent, 3 Ala. C.R. & C.L. L.Rev., no. 2, 2013 at 3
(“We know . . . that [the] intolerable event [of executing an innocent person] takes
place with some regularity in . . . death penalty jurisdictions” [emphasis omitted] );
U. Bentele, Does the Death Penalty, by Risking Execution of the Innocent, Violate
Substantive Due Process?, 40 Hous. L.Rev. 1359, 1365 (2004) (“[s]ince capital
punishment was given a renewed seal of approval in 1976, more than [100] people
have been sentenced to death [and have been] subsequently found to be innocent”).

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      Notwithstanding the federal death penalty system’s greater funding for

capital defense and prosecutors and judges who are purportedly apolitical because

their positions are not elected, any notion that the problem of wrongful capital

convictions and sentences is confined to the state systems, and that the federal

capital punishment system is somehow immune from such problems, does not bear

out. The Massachusetts district court in Sampson rejected the government’s

argument that “similar errors and injustices could not occur in the federal courts.”

      The government’s confidence that the FDPA will never lead to the
      execution of innocent individuals is not shared by the only federal
      judge to have presided over an FDPA prosecution in Massachusetts.
      Judge Ponsor conducted the trial of Kristen Gilbert, a nurse convicted
      of murdering four of her patients and attempting to murder three
      others. She was sentenced to life in prison in 2001. Judge Ponsor later
      wrote regarding the Gilbert trial that:

             The experience left me with one unavoidable conclusion: that a
             legal regime relying on the death penalty will inevitably execute
             innocent people—not too often, one hopes, but undoubtedly
             sometimes. * * * * * *. . . I have a hard time imagining anything
             as complicated as a capital trial being repeated very often, even
             by the best system, without an innocent person eventually being
             executed.

      A–90, A–95, Michael Ponsor, “Life, Death and Uncertainty,” Boston
      Globe, July 8, 2001, at D2.

      Commonsense, the experience to date in this case, and evidence from
      other cases combine to persuade this court that Judge Ponsor’s
      prediction is prophetic. Federal judges, like state judges, are human
      and, therefore, fallible. Indeed, many federal judges have previously
      been state judges. Jurors in federal cases are essentially the same
      citizens who serve as jurors in state cases. In addition, many federal
      cases, including the instant case, result from investigations conducted
      primarily, if not exclusively, by state and local law enforcement agents.




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Sampson, 275 F. Supp. 2d at 78. See also W.J. Clinton, My Reasons for the

Pardons, N.Y. Times, February 18, 2001 (explaining commutation of death sentence

for David Ronald Chandler, citing Attorney General Reno’s serious concerns about

whether Mr. Chandler was actually innocent of the crime for which he had been

prosecuted and condemned to death and noting that “the defendant’s principal

accuser later changed his testimony, casting doubt on the defendant’s guilt.”).

      Far more disturbing than convictions, which may be overturned even years

later (though at what cost to the exonoree’s life?), is the substantial likelihood that

innocent people have been executed. See n. 14, supra. Just as the presence of one

juror on the panel who would automatically vote for the death penalty is “one too

many,” Morgan v. Illinois, 504 U.S. 719, 734, n. 8 (1922), the wrongful conviction –

much less execution – of even one person is “one too many.” It is axiomatic that

“the execution of a legally and factually innocent person would be a constitutionally

intolerable event.” Herrera v. Collins, 506 U.S. 390, 419 (1993) (O’Connor, J.,

concurring).25 Indeed, “[t]he execution of a person who can show [that] he is

innocent comes perilously close to simple murder.” Santiago, 318 Conn. at 104

(internal quotation marks omitted)

      If the capital punishment systems in the nation have convicted and sentenced

to death innocent people, and there is no evidence suggesting it will not recur, that




25“In Herrera, a majority of the Justices agreed that the execution of an innocent
person would violate the Constitution.” Sampson, 275 F. Supp. 2d at 76.

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by itself ought to settle the discussion over whether our systems can reliably impose

a death sentence.

       While many of these same concerns are present in any criminal case, two

considerations magnify their importance in capital cases. First, as pointed out

above, these reliability adulterators are more likely to present themselves in capital

cases which are “typically horrendous murders, and thus accompanied by intense

community pressure on police, prosecutors, and jurors to seek a conviction.”

Glossip, 135 S. Ct. at 2757-58 (Breyer, J., dissenting).

       The second differentiating feature is obvious – the finality of the punishment.

This qualitative difference between death and any other punishment resides at the

core of the Eighth Amendment jurisprudence of capital punishment. Justice

Stewart’s observation in Woodson, 428 U.S. at 305-06, that “the penalty of death is

qualitatively different from a sentence of imprisonment” has been repeatedly

acknowledged in the ensuing years by the Court. See, e.g., Gregg, 428 U.S. at 187

(“the death penalty is unique in its severity and irrevocability.”); Ford v.

Wainwright, 477 U.S. 399, 411 (1986) (“this especial concern is a natural

consequence of the knowledge that execution is the most irremediable and

unfathomable of penalties.”); Roper, 543 U.S. at 568 (“Because the death penalty is

the most severe punishment, the Eighth Amendment applies to it with special

force.”).

       Finally, the definition of ‘exoneration’ is expanded to include instances in

which courts failed to follow legally required procedures, the numbers increase by



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10 or more. Between 1973 and 1995, courts identified prejudicial errors in 68% of

the capital cases before them. Gelman, Liebman, West, & Kiss, A Broken System:

The Persistent Patterns of Reversals of Death Sentences in the United States, 1 J.

Empirical L. Studies 209, 217 (2004). State courts on direct and post-conviction

review overturned 47% of the sentences they reviewed. Id. at 232. Federal courts,

reviewing capital cases in habeas corpus proceedings, found error in 40% of those

cases. Id.” Glossip, 135 S. Ct. at 27582759 (Breyer, J., dissenting). See also

Santiago, 218 Conn. at 104 (Gelman study, demonstrating “extremely high error

rates”, was relevant to the Court’s conclusion that the death penalty was

unconstitutional).

      Moreover, as explained at greater length infra, the eventual outcome of cases

reversed indicates that they were not worthy of death sentences, which makes their

initial outcome arbitrary. A 2011 report by the Death Penalty Information Center

(“DPIC”), Struck by Lightning: The Continuing Arbitrariness of the Death Penalty

Thirty-Five Years After Its Re-instatement in 1976 (Washington, D.C. 2011)

(“DPIC, Struck by Lightning,” Ex. B), noted that “[n]ationally, the most

comprehensive study of death penalty appeals found that two-thirds of death

sentences were overturned, and upon reconsideration over 80% received an outcome

of less than death. In all of these re-sentencings, the judgment went from ‘worst of

the worst’ to something less severe—the difference between life and death.” DPIC,




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Struck by Lightning, at 11 (emphasis added).26 The Report quotes then Illinois Gov.

Pat Quinn, who, upon signing the bill abolishing that state’s death penalty in 2011,

said,

        I have concluded that our system of imposing the death penalty is
        inherently flawed. The evidence presented to me by former prosecutors
        and judges with decades of experience in the criminal justice system
        has convinced me that it is impossible to devise a system that is
        consistent, that is free of discrimination on the basis of race, geography
        or economic circumstance, and that always gets it right.

DPIC, Struck by Lightning, at 3.

        The federal system a better but still unacceptable rate of constitutional error

in capital cases. In Sampson, the court identified 17 out of 73 defendants whose

cases had been reversed. Sampson, 2015 WL 6511247, at *19 (D. Mass., Oct. 28,

2015).27 The vast majority of these reversals came after 2003: David Paul

Hammer, Cr. No. 4:96-239 (M.D. Pa.) (Brady violation); David Lee Jackson, No. 05-

CR-51 (E.D. Tex.) (Brady violation); John Johnson, Cr. No. 2:04-17 (E.D. La.)(trial




26A case in point in the federal system is Angela Johnson. In 2005, Ms. Johnson
was convicted of participating in the execution-style killing of two government
informants, and three innocent bystanders, including a mother and her two young
children, in furtherance of a large scale drug operation. In 2012, following her
unsuccessful direct appeal, her death sentence was set aside in 2255 proceedings
because of ineffective assistance of counsel. See Johnson v. United States, 860
F.Supp.2d 663 (N.D. Iowa 2012). The Department of Justice originally demanded a
penalty retrial, but on December 17, 2014, the government filed a notice
withdrawing its intent to seek the death penalty.
27Citing Death Penalty Information Center, Federal Death Row Prisoners,
available at https://deathpenaltyinfo.org/state-and-federal-info/federal-death-penalty/list-of-
federal-death-row-prisoners (last visited Dec. 14, 2019).




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error, including improper argument by the government); Ronell Wilson, Cr. No.

1:04-1016 (E.D.N.Y.) (trial error, including improper argument by the government);

Angela Johnson, Cr. No. 01-3046 (N.D. Iowa) (ineffective assistance of counsel);

Darryl Johnson, Cr. No. 96-379 (N.D. Ill.) (trial error); Richard Stitt, Cr. No. 98-47

(E.D. Va.) (ineffective assistance of counsel); George Lecco and Valerie Friend, Cr.

No. 2:05-107 (S.D.W.V.) (as to both, juror misconduct); Gary Sampson, Cr. No. 01-

cr-10384 (D. Mass.) (juror misconduct).28

      Significantly, two of these cases were overturned upon the revelation of

federal investigatory and prosecutorial misconduct. First, in 2013 it came to light

that the death sentence of David Lee Jackson in 2007 in the Eastern District of

Texas was tainted by a Brady violation. At the § 2255 stage, Jackson raised an

Atkins claim. In connection with the discovery for that claim, it was revealed that

the government did not disclose at the first trial evidence from the Bureau of

Prisons that Mr. Jackson had been diagnosed by a BOP psychiatrist with paranoid

schizophrenia, nor that he underwent a change in psychotropic medication. In a

court filing, the government confessed to the Brady violation, admitting both that

the information had been withheld, and that it “was relevant to multiple issues in

the sentencing phase,” including “allowing counsel to more effectively cross-examine



28For summaries of these cases, see DPIC, Federal Death Row Prisoners.
Additionally, Paul Hardy had been sentenced to death in 1996, and his sentence
was overturned by the Fifth Circuit in 1999. Prior to his resentencing, on November
24, 2010, the district court held that Hardy suffered from an intellectual disability,
and thus Atkins prohibited his execution, and ordered he be sentenced to life in
prison. See United States v. Hardy, 762 F. Supp. 2d 849, 905 (E.D. La. 2010).

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certain of the government’s penalty-phase witnesses” as well as constituting

“relevant mitigating evidence.” Jackson v. United States, No. 1:09-cv-1039-RC,

Govt’s Resp. Pet’r Supplement to Pet. For Collateral Relief, D.E. 171 at 4 (E.D. Tx.

Mar. 22, 2013). On March 25, 2013 the district court accepted the agreement of the

parties to settle the case and vacated the judgment of death. See Id. D.E. 172.

      Second, in United States v. Hammer, 404 F. Supp. 2d 676, 801 (M.D. Pa.

2005), the district court granted a § 2255 petition to vacate a death sentence in an

FDPA case on the ground that the United States Attorney’s Office violated its

Brady obligations in failing to turn over 33 FBI 302 statements that summarized

interviews with prison inmates. See also United States v. Hammer, 564 F.3d 628,

631 (3d Cir. 2009) (summarizing procedural history). Mr. Hammer had been

sentenced to death for the killing (by strangulation) of another inmate, Andrew

Marti. In particular, the government had argued that the fact that Mr. Hammer

braided his sheets into ropes supported the “substantial planning and

premeditation” aggravating factor. The jury agreed, recommending a sentence of

death in 1998. See Hammer, 404 F. Supp. 2d at 690, 799.

      On September 29, 2005, the 29th day of an evidentiary hearing on Mr.

Hammer’s Third Amended § 2255 Petition, the government for the first time

revealed the 33 FBI 302’s that it had had in its possession since the beginning of the

case, which among other things contained statements that Mr. Hammer was known

to braid sheets into ropes for consensual sexual bondage. See id. The district court

found that the suppressed 302’s were both exculpatory and material, because a



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juror reasonably could have found that the braiding sheets into ropes was evidence

of his preparation for sexual activity, not the murder of Mr. Marti. See id. at 798-

99. On July 17, 2014, after a resentencing trial before Judge Slomsky, Mr.

Hammer received a sentence of life imprisonment without possibility of parole. See

Cr. No. 4:96-0239, D.E. 1770 (M.D. Pa. July 17, 2014).

      In other circuits, appellate courts reviewing federal death penalty cases have

also found a variety of errors at the trial level. See, e.g., United States v. Aquart,

913 F.3d 1 (2018) (error by prosecutor in summation for criticizing defense theory,

saying lawyers did not believe it); United States v. Troya, 733 F.3d 1125, 1136-38

(11th Cir. 2013) (error in excluding defense expert’s testimony on future non-

dangerousness, which should have been admitted as both mitigation and rebuttal);

United States v. Hager, 731 F.3d 167, 206 (4th Cir. 2013) (district court’s and

prosecutor’s use of present tense to describe defendant’s supposed lack of remorse,

in jury instructions and summation, was error); United States v. Runyon, 707 F.3d

475, 492-99 (4th Cir. 2013) (finding error in introduction at sentencing of videotape

of an interrogation of the defendant in which police confronted him with the

evidence and facts of the crime and urged him to confess and show remorse by

making references to his religion and ethnicity, and defendant, for the most part,

kept silent.); United States v. Ebron, 683 F.3d 105, 153 (5th Cir. 2012) (erroneous

finding of substantial-planning aggravating factor); United States v. Bernard, 299

F.3d 467, 484-487 (5th Cir. 2002) (jury’s invalid finding of pecuniary-gain

aggravating factor (based on insufficient evidence) was error.); United States v.



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Montgomery, 635 F.3d 1074, 1091-92 (8th Cir. 2011)(summation remarks criticizing

the decision to have defendant’s children testify in mitigation were improper);

United States v. Lighty, 616 F.3d 321, 363 (4th Cir. 2010)(finding or assuming

district court erred in excluding mitigating evidence); United States v. Purkey, 428

F.3d 738, 757759 (8th Cir. 2005)(error in preventing defense psychologist from

opining that defendant suffered from fetal alcohol syndrome and in refusing to

allow cross examination of government expert); United States v. Stitt, 250 F.3d 878,

898-899(4th Cir. 2001)(erroneous admission of victim-impact evidence in rebuttal);

United States v. Chanthadara, 230 F.3d 1237, 1264-1268 (10th Cir. 2000)(two

errors — faulty instruction on pecuniary gain and six jurors’ exposure to newspaper

headline conveying that district judge had referred to defense theory as a

“smokescreen” — were prejudicial enough to require new sentencing hearing.);

United States v. Barnette, 211 F.3d 803, 825 (4th Cir. 2000)(erroneous exclusion of

surebuttal testimony by defense mental-health expert was not harmless); United

States v. Webster, 162 F.3d 308, 326 (5th Cir. 1998)(erroneous instruction on

“substantial planning” aggravator); United States v. Causey, 185 F.3d 407, 423 (5th

Cir. 1999)(reversing two codefendants’ convictions on one of three capital counts

(because of lack of evidence on an essential element); United States v. McCullah, 76

F.3d 1087, 1102 (10th Cir. 1996) (erroneous admission at trial of defendant’s

coerced statements to government informant was not harmless as to sentence).

      The fact that constitutional error is discovered in so many federal capital

cases, sometimes through assiduous investigation, sometimes through little more



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than happenstance, compels the conclusion that the federal capital sentencing

system is incapable of identifying and remedying every instance of serious

constitutional error. See Sampson, 275 F. Supp. 2d at 79 n.12 (collecting cases in

which one or more Supreme Court Justices perceived there was harmful error in a

capital case, but execution occurred anyway).

      Given the many sources of inaccuracy and error, whether from investigators,

prosecutors, jurors, witnesses, or even the defendant’s own counsel, it is simply

unrealistic to believe that the federal death penalty system is capable of identifying

and remedying them with the constitutionally requisite accuracy and reliability.

The lack of reliability in a procedure with a demonstrated, nonnegligible and

potentially non-remediable risk of condemnation of factually and legally innocent

individuals cannot be harmonized with a 21st Century Eighth Amendment. See

Hall, 134 S.Ct. at 1992 (“[t]he Eighth Amendment’s protection of dignity reflects the

[n]ation we have been, the [n]ation we are, and the [n]ation we aspire to be”).

      B.     The Supreme Court recognized in the seminal decision Furman v.
             Georgia that arbitrary punishments are cruel within the meaning of
             the Eighth Amendment.

             1.    Arbitrariness, by the inability to administer capital punishment
                   in a manner that produces reliable, consistent results has
                   plagued the death penalty since the era that led to Furman.

      “The arbitrary imposition of punishment is the antithesis of the rule of law.”

Glossip, 135 S.Ct. at 2759 (Breyer and Ginsburg, JJ., dissenting). For that reason,




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Justice Potter Stewart (who supplied critical votes for the holdings in Furman and

Gregg ) found the death penalty unconstitutional as administered in 1972:

      These death sentences are cruel and unusual in the same way that
      being struck by lightning is cruel and unusual. For, of all the people
      convicted of [death eligible crimes], many just as reprehensible as
      these, the[se] petitioners are among a capriciously selected random
      handful upon which the sentence of death has in fact been imposed.”

Furman, 408 U.S. at 309–310 (concurring opinion). See also id. at 310 (“[T]he

Eighth and Fourteenth Amendments cannot tolerate the infliction of a sentence of

death under legal systems that permit this unique penalty to be so wantonly and so

freakishly imposed”); Id. at 313 (White, J., concurring) (“[T]he death penalty is

exacted with great infrequency even for the most atrocious crimes and . . . there is

no meaningful basis for distinguishing the few cases in which it is imposed from the

many cases in which it is not”).

      When the death penalty was reinstated in 1976, the Court acknowledged that

the death penalty is (and would be) unconstitutional if “inflicted in an arbitrary and

capricious manner.” Gregg, 428 U.S. at 188 (joint opinion of Stewart, Powell, and

Stevens, JJ.). See also id. at 189 (“[W]here discretion is afforded a sentencing body

on a matter so grave as the determination of whether a human life should be taken

or spared, that discretion must be suitably directed and limited so as to minimize

the risk of wholly arbitrary and capricious action”); Godfrey v. Georgia, 446 U.S. at

428 (plurality opinion) (similar).

      The Court consequently has sought to make the application of the death

penalty less arbitrary by restricting its use to those whom Justice Souter called



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“‘the worst of the worst.’” Kansas v. Marsh, 548 U.S. at 206 (dissenting opinion); see

also Roper, 543 U.S. at 568 (“Capital punishment must be limited to those offenders

who commit a narrow category of the most serious crimes and whose extreme

culpability makes them the most deserving of execution”).

      However, “[d]espite the Gregg Court’s hope for fair administration of the

death penalty, 40 years of further experience make it increasingly clear that the

death penalty is imposed arbitrarily, i.e., without the ‘reasonable consistency’

legally necessary to reconcile its use with the Constitution’s commands.” Glossip,

135 S.Ct. at 2760 (Breyer and Ginsburg, JJ., dissenting) (quoting Eddings, 455 U.S.

at 112, (1982)). “Thorough studies of death penalty sentences support this

conclusion. . . . Such studies indicate that the factors that most clearly ought to

affect application of the death penalty—namely, comparative egregiousness of the

crime—often do not. Other studies show that circumstances that ought not to affect

application of the death penalty, such as race, gender, or geography, often do.” Id.

(emphasis in original). “Thus, whether one looks at research indicating that

irrelevant or improper factors—such as race, gender, local geography, and

resources—do significantly determine who receives the death penalty, or whether

one looks at research indicating that proper factors—such as “egregiousness”—do

not determine who receives the death penalty, the legal conclusion must be the

same: The research strongly suggests that the death penalty is imposed

arbitrarily.” Id. at 2762. “The studies bear out my own view, reached after

considering thousands of death penalty cases and last-minute petitions over the



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course of more than 20 years. I see discrepancies for which I can find no rational

explanations.” Id. at 2763. In short, “the constitutionality of capital punishment

rests on its limited application to the worst of the worst . . . [a]nd this extensive

body of evidence suggests that it is not so limited.” Id. See also, Santiago, 318

Conn. at 106-07 (“[Another] reason that our state’s capital punishment system fails

to achieve its retributive goals is that the selection of which offenders live and

which offenders die appears to be inescapably tainted by caprice and bias. . . . To

the extent that the ultimate punishment is imposed on an offender on the basis of

impermissible considerations such as his, or his victim’s, race, ethnicity, or socio-

economic status, rather than the severity of his crime, his execution does not restore

but, rather, tarnishes the moral order.”).

      As will be seen, each of the factors identified in Glossip and Santiago as

determinative of the issue of arbitrariness has relevance to the constitutionality of

the Federal Death Penalty Act as administered.

             2.     Over 30 years of administering the federal death penalty has
                    demonstrated that it operates in an arbitrary, capricious,
                    irrational and discriminatory manner.

                    a.     The federal death penalty has proven to be a failed
                           experiment.

      A “modern” federal death penalty has been in effect for more than 25 years.29

There are presently 62 men and 1 woman under an active federal sentence of



29 On November 18, 1988 Congress enacted a federal death penalty as part of the
AntiDrug Abuse Amendments (“ADAA”), authorizing capital punishment for
murders occurring in the context of drug trafficking. 21 U.S.C. § 848(e). The reach
of the federal death penalty was later expanded when, on September 13, 1994,
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death.30 Some of them have been there for more than 20 years. Over the past

quarter of a century, in hundreds of federal capital trials around the country, the

federal death penalty has revealed itself to be arbitrary, capricious, irrational,

discriminatory in impact and, in the final analysis, fundamentally incapable of

answering in a rational and predictable way the profound question of who should

live and who should die. This Court should strike it down.

         To summarize what is to follow:

        Only a tiny handful of those federal defendants who could face the federal
         death penalty ever do.

        The theoretically national federal death penalty is, in reality, a regional
         death penalty, heavily pursued in the South and virtually ignored in the rest
         of the nation.

        From its earliest days to the present, the FDPA has consistently and
         disproportionately targeted members of minority groups.

        Of the few defendants actually targeted for death, nearly half (234/498) have
         been permitted to enter plea agreements that take death off the table.

        Of the cases that proceed to trial, two-thirds of defendants are spared the
         death penalty by juries or judges.

President Clinton signed into law the Federal Death Penalty Act of 1994 (“FDPA”),
18 U.S.C. § 3591 et seq. In March, 2006, the procedural provisions of the ADAA, 21
U.S.C. §§ 848(g), were repealed.
30These statistics are compiled and maintained by the Federal Death Penalty
Resource Counsel Project. Established in early 1992 by the Administrative Office of
the United States Courts, Defender Services Division (now the Defender Services
Office), for the benefit of court-appointed CJA panel attorneys, federal defenders,
and the judiciary, the Federal Death Penalty Resource Counsel Project (FDPRCP) is
comprised of highly experienced capital defense attorneys who are assigned to assist
the federal courts, federal defenders, and appointed counsel in connection with
matters relating to the defense function in federal capital cases at the trial level.




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      There has been a sharp drop in the number of cases authorized by the
       Attorney General for capital prosecution, a sharp drop in the number of
       capital trials, and an even sharper drop in the numbers of death verdicts
       returned by juries.

      Approximately one-third of federal death sentences have been set aside on
       direct appeal or in proceedings brought pursuant to 28 U.S.C. § 2255.

      Despite the fact that federal death-row inmates have only one round of direct
       appeal and one round of collateral review, there are federal death row
       inmates who have been there for more than 20 years.

      There has been a presidential clemency grant to one federal death row
       inmate because of concerns he was innocent.

      In the past 27 years there have been just three federal executions, the most
       recent of which took place more than 12 years ago, a circumstance stripping
       the FDPA of any valid penological purpose.

                    b.    The federal death penalty is imposed and carried out in
                          an arbitrary and capricious manner that is akin to being
                          struck by lightning: Revisiting the constitutional premise
                          of Furman v. Georgia in the context of the federal death
                          penalty.

       As indicated above, in 1972, when the Supreme Court in Furman, citing the

arbitrary and capricious imposition of capital punishment across the land, struck

down all existing death-penalty schemes as incompatible with the guarantees of the

Eighth and Fourteenth Amendments to the United States Constitution, the random

and capricious imposition of the penalty was best captured in the comparison drawn

in Furman by Justice Stewart between receiving a sentence of death and being

struck by lightning:

       These death sentences are cruel and unusual in the same way that
       being struck by lightning is cruel and unusual. For, of all the people
       convicted of rapes and murders, . . . many just as reprehensible as
       these, the petitioners are among a capriciously selected handful upon

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      whom the sentence of death has in fact been imposed. My concurring
      Brothers have demonstrated that, if any basis can be discerned for the
      selection of these few to be sentenced to die, it is the constitutionally
      impermissible basis of race . . . I simply conclude that the Eighth and
      Fourteenth Amendments cannot tolerate the infliction of a sentence of
      death under legal systems that permit this unique penalty to be so
      wantonly and so freakishly imposed.

Furman, 408 U.S. at 309-10 (Opinion of Stewart, J., concurring; citations and

footnotes omitted). In Zant v. Stephens, 462 U.S. 862 (1983), the Court stated:

      A fair statement of the consensus expressed by the Court in Furman is
      that “where discretion is afforded a sentencing body on a matter so
      grave as the determination of whether a human life should be taken or
      spared, that discretion must be suitably directed and limited so as to
      minimize the risk of wholly arbitrary and capricious action.”

      Members of the Furman Court also found that the death penalty was fraught

with invidious and irrational selectivity, “feeding prejudices against the accused if

he is poor and despised, and lacking political clout, or if he is a member of a suspect

or unpopular minority . . . .” Furman, 408 U.S. at 255 (Douglas, J., concurring).

Justice White, who concurred in the result, highlighted the infrequent utilization of

the death penalty: “That conclusion, as I have said, is that the death penalty is

exacted with great infrequency even for the most atrocious crimes and that there is

no meaningful basis for distinguishing the few cases in which it is imposed from the

many cases in which it is not.” 408 U.S. at 313 (White, J., concurring). Justice

White further concluded: ““[C]ommon sense and experience tell us that seldom-

enforced laws become ineffective measures for controlling human conduct and that

the death penalty, unless imposed with sufficient frequency, will make little

contribution to deterring those crimes for which it may be exacted.” Id. at 312. In



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fact, the infrequency with which defendants were targeted for capital punishment

was noted by each of the five concurring Justices in the Furman majority. See

Furman, 408 U.S. at 248 n. 11 (Douglas, J., concurring); id. at 291-95 (Brennan, J.,

concurring); id. at 309-10 (Stewart, J., concurring); id. at 312 (White, J.,

concurring); and, id. at 354 n. 124 362-63 (Marshall, J., concurring).

      In 1972, Justice Brennan, positing a nation of 200 million people that carries

out 50 executions per year, noted that “when government inflicts a severe

punishment no more than 50 times a year, the inference is strong that the

punishment is not being regularly and fairly applied,” Furman, 408 U.S. at 294,

and, “When the punishment of death is inflicted in a trivial number of the cases in

which it is legally available, the conclusion is virtually inescapable that it is being

inflicted arbitrarily. Indeed, it smacks of little more than a lottery system.” Id. We

are now a nation of 320 million people. The last time this country carried out 50 or

more executions was 2009. In the 31 years since the return of the federal death

penalty, out of a universe of more than 4,300 potential federal capital cases, there

have been 86 federal death verdicts. Declaration of Kevin McNally, Ex. H at 3-4.

Just three federal prisoners have been executed. Id.31 The FDPA suffers from the



31See also, Eric A. Tirschwell and Theodore Hertzberg, Politics and Prosecution: a
Historical Perspective on Shifting Federal Standards for Pursuing the Death
Penalty in Non-Death Penalty States, 12 U. PA. J. CONST. L. 57 (2009)(hereinafter
“Politics and Prosecution”). The lead author of this article, a former United States
Attorney in the Eastern District of New York, summarizes the statistical situation
as of 2001:
       Prison population figures recently published by the Bureau of Justice
       Statistics suggest that out of the more than 2.3 million people
       incarcerated in the United States, about 3,297 of them (0.1%) are
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same vice as the systems condemned in Furman in that only a handful of federal

defendants who are potentially eligible for capital punishment are ever targeted.

And those who are targeted are rarely sentenced to death and even more rarely are

they executed.

      In 2014, the federal court for the Central District of California struck down

the California death penalty on the basis, in part, that it was so rarely carried out.

See, Jones v. Chappell, 31 F.Supp.3d 1050 (C.D. Cal. 2014). The court concluded

that in California, “the execution of a death sentence is so infrequent, and the

delays preceding it so extraordinary, that the death penalty is deprived of any

deterrent or retributive effect it might once have had. Such an outcome is

antithetical to any civilized notion of just punishment.” Id. at 1063.32 One year


      awaiting execution. Of those 3,297, only fifty-five (1.7%) are on
      federal death row. Equally remarkable is the tiny number of federal
      executions compared to “stateside” executions. Since 1977, 1,173
      people have been executed in the United States. Of those individuals,
      only three (0.3%) were federal convicts. . . . As one commentator has
      noted, “the score of prisoners on federal death row are in some
      respects little more than a footnote.”

Id. at 59 (quoting John Brigham, Unusual Punishment: The Federal Death Penalty
in the United States, 16 WASH. U. J.L. & POL’Y 195, 209 (2004)).

       Since 2001, these numbers have remained relatively the same. According to
the Bureau of Prisons, “at year end 2014, the United States held an estimated
1,561,500 prisoners in state and federal correctional facilities.” BOP, Prisoners in
2014, available at http://www.bjs.gov/content /pub/pdf/p14.pdf. According to DPIC,
as of October 30, 2015, there were 3002 inmates awaiting execution (0.2 %). Of
those 3002, only 61 (2 %) are on federal death row. Id. Since 1976, 1419 people have
been executed. Of those individuals, still only three (0.2 %) were federal convicts. Id.
32This case subsequently was overturned on procedural grounds. See Jones v.
Davis, 806 F.3d 538, 541 (9th Cir. 2015) (finding that theory of claim on which
district court granted relief was new rule of law that could not be applied
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later the Connecticut Supreme Court struck down that state’s death penalty in

Santiago for the very same reason – “aside from the inevitable delays, the sheer

rarity with which death sentences are imposed and carried out in Connecticut—

and, indeed, the entire northeastern United States—suggests that any conceivable

deterrent value will be far less than in a state like Texas, for example, which carries

out executions on a regular basis. 318 Conn. at 94, 139-140 (holding that capital

punishment, as currently applied, violates the constitution of Connecticut because

of “Connecticut’s long, troubled history with capital punishment: the steady

replacement by more progressive forms of punishment; the increasing inability to

achieve legitimate penological purposes; the freakishness with which the sentence

of death is imposed; the rarity with which it is carried out; and the [influence of]

racial, ethnic, and socioeconomic [factors].”).33


retroactively on federal habeas review); But see id. at 553 (“Many agree with
Petitioner that California’s capital punishment system is dysfunctional and that the
delay between sentencing and execution in California is extraordinary.”).

        However, the very next year the California Supreme Court invited further
litigation of this claim in future habeas corpus proceedings in People v. Seumanu,
61 Cal. 4th 1293, 1368, 355 P.3d 384, 438 (2015). The state court observed that
“although we have consistently, and recently, rejected the Eighth Amendment/delay
claim, doctrine can evolve” and “the recently decided Jones . . . provides an
opportunity to reconsider whether our prior position on this issue remains valid and
supportable.” Id. See also Santiago, 318 Conn. at 99-100 (“[Another] reason the
death penalty has lost its retributive mooring in Connecticut is that the lengthy if
not interminable delays in carrying out capital sentences do not just undermine the
death penalty’s deterrent effect; they also spoil its capacity for satisfying
retribution.”).
33   See also, Politics and Prosecution at 59 (“Since the creation of the American
republic more than two centuries ago, the federal government has executed 340
people, whereas the State of Texas has executed more than that many in the past
fifteen years.”). Indeed, just since 1976, Texas has executed 567 inmates. See
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      Judge Calabresi of the Court of Appeals for the Second Circuit, in considering

the federal capital prosecution of Donald Fell in Vermont, observed that

      What is going on here is that the existence of certain local values
      makes the imposition of the federal death penalty in states that do not
      have the death penalty truly uncommon. It is in that sense
      significantly more “unusual” than was the execution of 16- and 17-
      year-olds or the execution of the mentally retarded, before the
      Supreme Court found those practices to be “cruel and unusual” in
      Roper. . . and Atkins. In all of these categories, values that made a
      death sentence unusual were at work. In cases involving juvenile and
      mentally retarded defendants, the values were apparently related to
      the culpability of the offender. See, e.g., Atkins, 536 U.S. at 306 . . . .
      In cases from states without the death penalty, the constitutionally
      salient values are not just the “local” values, like the existence of
      substantial generalized opposition to capital punishment, but much
      more fundamentally the value and endurance of federalism itself-the
      recognition that we are part of a country, of a polity, that has to live
      with both Texan values and Northeastern values.

United States v. Fell, 571 F.3d 264, 289-290 (2d Cir. 2009) (Calabresi, J., dissenting

from the denial of rehearing en banc).

      In Santiago, the Connecticut state Supreme Court noted the conclusion of

then-Judge Alex Kozinski of the Court of Appeals for the Ninth Circuit that put the

problem most plainly: “‘Rather than go through the competing considerations, let’s

cut to the meat of the coconut. The death penalty, as we now administer it, has no

deterrent value because it is imposed so infrequently and so freakishly. To get



Death Penalty Information Center, available at https://deathpenaltyinfo.org/state-
and-federal-info/state-by-state/texas (last visited Dec. 14, 2019). “On the other
hand, the two multi-district federal circuits in which capital punishment is least
prevalent are the First and Second Circuits, both of which are located in the
northeast. The seven states that make up those two circuits—Connecticut, Maine,
Massachusetts, New Hampshire, New York, Rhode Island, and Vermont—have
collectively executed one person since 1976.” Politics and Prosecution at 87.

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executed in America these days you have to be not only a truly nasty person, but

also very, very unlucky . . . .’” Santiago, 318 Conn. at 95 (quoting, A. Kozinski & S.

Gallagher, Death: The Ultimate Run–On Sentence, 46 Case W. Res. L.Rev. 1, 25

(1995)).

      This argument – that the federal death penalty should be struck down

because it is so infrequently sought or imposed – cannot be effectively addressed by

more frequent use of it. As Justice Brennan stated in Furman,

      The States claim, however, that this rarity is evidence not of
      arbitrariness, but of informed selectivity.

             Informed selectivity, of course, is a value not to be denigrated.
      Yet, presumably the States could make precisely the same claim if
      there were 10 executions per year, or five, or even if there were but
      one. That there may be as many as 50 per year does not strengthen
      the claim. When the rate of infliction is at that low level, it is highly
      implausible that only the worst criminals who commit the worst crimes
      are selected for this punishment. No one has yet suggested a rational
      basis that could differentiate in these terms the few who die from the
      many who go to prison. Crimes and criminals simply do not admit of a
      distinction that can be drawn so finely as to explain, on that ground,
      the execution of such a tiny sample of those eligible. Certainly the
      laws that provide for this punishment do not attempt to draw that
      distinction; all cases to which the laws apply are necessarily “extreme.”

408 U.S. at 293-94 (Brennan, J., concurring). When Furman was decided, as noted

in the opinion, 15-20% of convicted murderers and rapists were actually sentenced

to death in those jurisdictions with the death penalty. Furman, 408 U.S. at 386 n.

11 (Burger, C.J., dissenting) (citing four sources to support the statistic). See also

id. at 435 n. 19 (Powell, J., dissenting) (citing similar statistics). Justice Stewart,

for his part, utilized Chief Justice Burger’s statistical analysis to lend further




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support to his ultimate conclusion that the death penalty was, indeed, in an Eighth

Amendment sense, “unusual.”

      Among the conclusions in Furman, was that arbitrariness and caprice are

inevitable side-effects of the very rare imposition of death sentences. Justice White,

who had reviewed hundreds of state and federal death-penalty cases in 10 years on

the Court, stated it thusly, “the death penalty is exacted with great infrequency

even for the most atrocious crimes and [] there is no meaningful basis for

distinguishing the few cases in which it is imposed from the many cases in which it

is not.” 408 U.S. at 313 (White, J., concurring). Accord Gregg, 428 U.S. at 182 n. 26

(reiterating the conclusion of Furman that in the years leading up that decision

“less than 20% of those convicted of murder were sentenced to death in those States

that authorized capital punishment.”); Walton v. Arizona, 497 U.S. 639, 658 (1990)

(Scalia, J. concurring) (the key opinions in Furman “focused on the infrequent and

seeming randomness with which, under the discretionary state systems, the death

penalty was imposed.”), overruled on other grounds, Ring v. Arizona, 536 U.S. 584

(2002). See also Woodson, 428 U.S. at 295 n.31. Thirty-eight years after Furman,

Judge Gregory of the Court of Appeals for the Fourth Circuit, came to the same

conclusion in his dissent in a federal death penalty case: “When the government

selects a few offenders from such a large pool for execution, it cannot further its

legitimate penological interests; instead it merely inflicts gratuitous pain and

suffering.” United States v. Caro, 597 F.3d 608, 636 (4th Cir. 2010) (Gregory, Cir.J.,

dissenting).



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      After more than 25 years of experience with a post-Gregg federal death

penalty, it is a simple truth that the federal death penalty is sought and imposed

far more rarely than in the cases of the five petitioners examined in Furman. Being

sentenced to death in the federal system is truly akin to being struck by lightning.34

Indeed, as explained infra, there is no meaningful basis that can be discerned for

distinguishing those cases – even among the most extreme35 – where death is

imposed from those cases in which it is not.




34See G. Ben Cohen. & Robert J. Smith, The Racial Geography of the Federal Death
Penalty, 85 Washington Law Rev. 425, 431 (2010) (“The infrequency of the federal
death penalty – with 67 federal death sentences in the face of over 150,000 murders
– makes death by lightning-strike look positively routine. Indeed, a federal death
sentence is akin to winning (or in this instance losing) the lottery.”) (noting that
there were 424 deaths by lightning in the years 1999–2008.) In August 2006
National Geographic published a chart setting out the odds of dying by various
means. For example, there is a 1 in 5 chance of dying from heart disease, and a 1 in
84 chance of dying in a car accident. Far down the list is the chance of dying by
lethal injection, 1 in 62,468. The next item on the list reported the odds of being
killed by lightning as 1 in 79,746. Id. at p. 21.
35 In the District of Colorado, Timothy McVeigh was sentenced to death and
executed for utilizing a truck bomb to blow up the Murrah Federal Building in
Oklahoma City, killing 168 people and injuring hundreds. In the Southern District
of New York, two men associated with Usama bin Laden and al-Qaeda were spared
the death penalty after being convicted of simultaneous terrorist attacks, utilizing
truck bombs, that destroyed two American embassies in East Africa, killing 224 –
including 12 Americans – and injuring thousands. Zacharias Moussaoui was spared
the death penalty in the Eastern District of Virginia despite a jury finding that he
was responsible for the thousands of deaths that occurred as a result of the
September 11, 2001 terrorist attacks. Eric Rudolph – the Olympics and abortion-
clinic bomber – entered a guilty plea to a life sentence, as did Theodore Kaczynski,
the Unabomber, as did Jared Loughner whose mass-shooting murder victims
included a child and a federal judge. In Boston, in 2015, Dzhokhar Tsarnaev was
sentenced to death for the bombing of the Boston Marathon where fewer people
were killed than in other terrorism cases.

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      The Death Penalty Information Center 2011 report, Struck by Lightning,

collects the data and presents arguments that the scheme of capital punishment

that is practiced in our courts is unconstitutional based on the arbitrariness theory

of Furman. The report examines the facts of several extremely aggravated federal

death penalty cases in which the death penalty was not sought or imposed (e.g.,

Eric Rudolph, Steven Flemmi, Oscar Veal, Joseph Massino, Vincent Basciano,

Theodore Kaczynski, Zacharias Moussaoui, and Terry Nichols) and rightly points

out that “[e]ven in cases evoking national fear, a death sentence is not a predictable

result.” Ex. B, DPIC, Struck by Lightning at 17.

      As will be further demonstrated below, this is why capital punishment as

carried out in the federal system violates the constitution.

                    c.    The numbers on how the federal death penalty is actually
                          sought demonstrate arbitrariness in its rarity.

      The following numbers account for the way the federal death penalty has

been sought and imposed since its post-Gregg reinstitution in 1988.

TABLE 1: THE STATUS AND DISPOSITION OF ALL POTENTIAL FEDERAL
CAPITAL CASES FROM 1988 TO 2015

 Total Potential Cases                                                          4,379

 Total defendants authorized for capital prosecution                              530

 Defendants pending trial                                                          29

 Capital trial avoided by negotiated plea, government withdrawing                213
 death notice with no plea, judge barring death penalty

 Charges dismissed before trial on grounds of actual innocence                      3




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 Defendant died or found incompetent before trial                                       5

 Government withdrew request for death or discontinued capital                         34
 prosecution due to plea bargain at trial
 Acquitted of capital charges                                                          14

 Trial resulting in life sentence                                                      155

 Trial resulting in death sentence                                                     *86

 Died before execution                                                                  1

 Executions                                                                             3

 Clemency                                                                               2

 Federal Death Row, Active Death Sentence                                              63

*Counting 4 defendants tried and sentenced to death twice

See Ex. H. See also “Current Statistics re: Use of Federal Death Penalty”, available

at https://fdprc.capdefnet.org/doj-activity/statistics/current-statistics-re-use-of-

federal-death-penalty-february-2017 (last visited Dec. 14, 2019).

      These numbers indicate that the Department of Justice has authorized

United States Attorneys’ offices to seek a death sentences in barely 12% of the cases

that could be prosecuted capitally. In Furman, the five justices in the majority

found that where the death penalty was imposed on 20% of people convicted of

capital offenses across the nation – almost twice the rate at which the federal

government even seeks death – that infrequency virtually assured an application of

the death penalty that was unconstitutionally arbitrary and capricious. The

proportion of federal death sentences presents an even more stark disparity. Juries

impose death in less than 2% of capital killings, not even 1/10th the rate that raised


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constitutional concerns in Furman.36 The number of death sentences also indicates

that juries believe that death is the appropriate sentence in 2/3 of those cases where

the federal government believes death is appropriate (those it tries to a conviction

and sentencing hearing).37 However, as noted infra, there are staggering national

disparities between “death-zone” states like Texas, Missouri, and Virginia, which

account for half of all federal death sentences, and Pennsylvania and Ohio, which

each have one. Two-thirds – 66% – of those who stand trial for their life in the Fifth

Circuit are sentenced to death. In the Third Circuit the figure is 11%.38

      Looking at executions, the rate is virtually nil. Of the 4,379 cases that were

eligible for federal capital prosecution, three have had death sentences carried out.

That means executions occur in less than 1/1000th of federally death eligible cases,

or 0.06% compared to the 20% rate that caused concern in Furman.39


36It also bears noting that in 5% of capital prosecutions the jury did not even find
the defendant guilty of a capital charge.
37 In fact, the numbers indicate that the federal government, itself, believes that a
death sentence is appropriate for only half of the defendants for whom capital
prosecution is authorized. (530 authorizations with 29 cases pending trial; 213
trials averted by plea, 3 death notices withdrawn over concerns for innocence, and
34 pleas accepted during trials).
38 As also explained, infra, this disparity tracks the nation’s history of slavery,
with the steepest execution rates coming in states formerly in the confederacy.
39Three federal executions were scheduled to have been carried out on December 9,
11, and 13, the week before this motion is filed. Two more were to have been
carried out in January 2020. These were stayed because the execution protocol
pursuant to which the executions were to have been conducted violated the FDPA
which requires the federal government to use the facilities of the state wherein a
federal defendant is convicted and sentenced to carry out executions, or, if that state
does not have the death penalty, some other state ordered by the judge presiding at
the trial. See Petitioner’s motion to declare the FDPA unconstitutional for violating
                                          57
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      The unavoidable conclusion from these numbers is that, according to the

analysis that the Supreme Court found persuasive in Furman, the federal death

penalty is sought and imposed in an arbitrary and capricious manner. Cf. Roper,

543 U.S. at 567 (execution of juveniles violates the Eighth Amendment, in part

because of “the infrequency of its use even where it remains on the books”); Atkins,

536 U.S. at 316 (execution of mentally retarded offenders violates the Eighth

Amendment, in part because “even in those states that allow the execution of

mentally retarded offenders, the practice is uncommon”). See also Thompson, 487

U.S. at 822 n. 7 (“[C]ontemporary standards, as reflected by the actions of

legislatures and juries, provide an important measure of whether the death penalty

is ‘cruel and unusual’ [in part because] whether an action is ‘unusual’ depends, in

common usage, upon the frequency of its occurrence or the magnitude of its

acceptance.”).

      That the federal death penalty is sought, imposed, and carried out in an

arbitrary and capricious manner makes it, by the Furman analysis,

unconstitutionally “unusual.” Whether the most accurate analogy is being struck

by lightning or participating in, and losing, a deadly lottery, the federal death

penalty does not operate in a rational, constitutional manner. On this basis, the

Court should strike it down.

                    d.     The absence of a principled basis for distinguishing
                           between cases where the federal death penalty is imposed

the anti-commandeering doctrine (filed simultaneously with this motion). However,
even if all five of those executions had been carried out as scheduled, this would still
result in a rate of .2% – 2/1000ths.

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                           from cases where it is not imposed renders the federal
                           death penalty unconstitutional.

      As set forth above, the Supreme Court has ruled that the Constitution does

not tolerate death sentences that are imposed in a manner that is arbitrary or

capricious. The Court set forth the same rule in the inverse in Eddings v.

Oklahoma, 455 U.S. 104, 112 (1982), where it held “that capital punishment be

imposed fairly, and with reasonable consistency, or not at all.” The Court returned

to that principle in Kennedy v. Louisiana, where it warned that, “When the law

punishes by death, it risks its own sudden descent into brutality, transgressing the

constitutional commitment to decency and restraint,” and, therefore, “capital

punishment must ‘be limited to those offenders who commit “a narrow category of

the most serious crimes” and whose extreme culpability makes them ‘the most

deserving of execution.’” Kennedy, 554 U.S. at 420. In practice, the federal death

penalty has failed to meet that Constitutional standard. It operates in an arbitrary

and irrational manner that was explained in detail in the Glossip dissent and in the

Connecticut Supreme Court’s decision in Santiago.

      Close inspection of the operation of the federal death penalty reveals that the

manner in which federal juries (and in three cases, federal judges) have imposed or

declined to impose the federal death penalty or, indeed, which cases the government

allows to plead out to life terms or less and which it takes to trial, is devoid of any

consistency or predictability. The Federal Death Penalty Resource Counsel

Project has collected the verdict sheets reflecting findings in aggravation and

mitigation in the penalty-phases of virtually all completed federal death penalty

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prosecutions posted and posted them on its website.40 Those 225 verdict sheets

bring into stark relief the hopelessly irremediable problem of arbitrariness and

caprice that marks the administration of the federal death penalty system. One is

at a loss to discern any rhyme, reason, or predictability as to who is sentenced to

death and who is spared or who is not even made to face a jury on a life-or-death

decision.

         This argument cannot be dismissed or refuted by the reality of the difficulty

that is inherent in comparing cases. A review of summaries of the cases41 and the

verdict sheets disposes of that argument, which at most addresses process and not

the substance of the conclusion reached. What follows is a sampling of the range of

outcomes in federal capital cases:

        United States v. Joseph Sablan and William Guerrero (CDCA). Two inmates
         murdered a federal corrections officer at USP/Atwater in 2008. Both had
         prior murder convictions and were serving life sentences. One defendant had
         murdered a prison guard previously while serving a sentence in Guam. In
         2015 both death notices were withdrawn and both defendants entered guilty
         pleas to life sentences.

        United States v. Anthony Battle (NDGA). In 1994 a federal inmate serving a
         life sentence for the murder of his wife on an army base killed a federal
         corrections officer at USP/Atlanta with a hammer. Tried, convicted,
         sentenced to death. Remains on death row 21 years later.

        United States v. Roy C. Green (CDCA). In 1997 defendant stabbed one
         federal corrections officer to death and seriously wounded a second. Three

40The verdict sheets are more than 2500 total pages. For the sake of convenience,
they are not made an exhibit to this motion, but can be viewed here,
https://fdprc.capdefnet.org/verdict-forms.
41A summary of all authorized federal capital cases, and how each case was
disposed of is included as Exihibt J. Kevin McNally’s declaration also references
this exhibit.

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    other officers were also seriously injured. Mr. Green has been declared
    incompetent and has never stood trial for this crime.

   United States v. Naeem Williams (DHI). From December 13, 2004, to July 16,
    2005, the defendant, a member of the military, engaged with his wife in
    numerous acts of abuse and torture of their five year-old special needs child,
    leading to her death from multiple injuries. On May 23, 2014, despite
    findings in aggravation that the defendant committed the offense in an
    especially heinous, cruel, or depraved manner that involved torture or serious
    physical abuse, that the victim was particularly vulnerable, and that the
    defendant obstructed justice, the jury was unable to agree on a penalty
    verdict and the defendant was sentenced to life imprisonment.

   United States v. John McCluskey (DNM). In 2010, McCluskey, serving a life
    sentence in Arizona for attempted murder, escaped and then carjacked a
    vehicle at gunpoint to get him to New Mexico, where he carjacked a second
    vehicle at gunpoint and eventually executed the two occupants- a newly
    retired vacationing couple in their 60s-and burned their bodies. He then
    travelled to the South where he committed an armed robbery. The
    aggravating factors in that case included two prior convictions for robbery
    and numerous instances of in-custody misconduct, including an assault on an
    investigative officer in the courtroom. Despite overwhelming aggravation, on
    December 11, 2013, the jury in that case hung 9-3 in favor of death, and
    McCluskey was sentenced to life imprisonment.

   United States v. Larry Lujan (DNM). Lujan was convicted of what the Tenth
    Circuit described as a “a gruesome [crime] in which Lujan (and his cohorts)
    severely beat [the victim] over a significant period of time, sexually assaulted
    [him], and engaged in other acts to terrify and isolate [the victim].” United
    States v. Lujan, 603 F.3d 850, 852 (10th Cir. 2010). In addition, at the penalty
    phase, the government convinced the jury beyond a reasonable doubt that
    Lujan had committed two additional murders which the Tenth Circuit
    described as “equally gruesome.” Id. at 853. These additional murders
    included the facts that after Lujan slit the throats of the two victims, he
    “poured gasoline over the victims’ bodies, including the apparently still-
    breathing Alfredo, and set them on fire. . . . The victims’ eleven-year-old
    daughter discovered the bodies the next afternoon.” Id. Based on these
    murders and other evidence the jury specifically found that Lujan would be a
    danger in the future. On October 5, 2011, after the jury was unable to reach a
    unanimous verdict, Larry Lujan received a life sentence.

   United States v. Dzohkhar Tsarnev (DMA), bombing of Boston Marathon,
    murder of a police officer, total of 4 killed, dozens injured. Tried, convicted,
    sentenced to death.

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   United States v. Timothy McVeigh (DCO). The Oklahoma City bombing case.
    168 dead. Hundreds injured. Tried, convicted, sentenced to death, executed.

   United States v. Terry Nichols (DCO). McVeigh’s co-defendant. Tried,
    convicted, sentenced to life.

   United States v. Khalfan Mohamed and Daoud Rashed al`-Owhali, (SDNY).
    Two defendants associated with Usama bin Laden and al Qaeda convicted in
    simultaneous terrorist truck-bombings in 1998 of two American embassies in
    East Africa. 224 killed, including 12 Americans; thousands injured. Tried,
    convicted, sentenced to life.

   United States v. Eric Rudolph (NAL). The Olympic and abortion-clinic
    bomber. Victims included a police officer. Arrested after five-year manhunt.
    Described by Attorney General Ashcroft as “America’s most notorious
    fugitive.” Negotiated guilty plea for life sentence.

   United States v. Zacharias Moussaou, (EDPA). Defendant convicted of
    causing thousands of deaths in the September 11, 2001 attacks on the United
    States. Sentenced to life by jury.

   United States v. Theodore Kaczynski (EDPA). The Unabomber. Three
    murders by mailbombs. Plea agreement. Sentenced to life.

   United States v. Jared Loughner (DAZ). Mass shooting at public event
    resulting in 6 deaths including a child and the Chief Judge of the United
    States District Court for Arizona; 13 others shot and wounded including
    Congresswoman Gabriel Gifford. Plea agreement. Sentenced to life.

   United States v. Antonio Johnson (WVA). Defendant indicted for a murder at
    USP/Lee where he was serving a virtual life sentence when he stabbed
    another inmate to death. On March 21, 2012 – after DOJ approval of a life
    plea – Antonio Johnson entered a guilty plea.

   United States v. Basciano (EDNY). Mafia crime boss serving life sentence for
    RICO murder accused of another Mafia hit murder. On June 1, 2011, after
    deliberating for less than 2 hours, a unanimous jury rejected the death
    penalty and sentenced Basciano to life imprisonment.

   United States v. Duong (NDGA). Mr. Duong was previously sentenced to
    death in California state court for 4 murders that occurred in a nightclub in
    1999. Federal prosecutors in the Northern District of California indicted Mr.
    Duong in a 29-count, multi-defendant racketeering indictment, alleging 3

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    capital homicides (arising out of a string of robberies), and an additional 5
    RICO murders. On December 15, 2010, a federal jury sentenced Anh The
    Duong to life in prison.

   United States v. Edgar Diaz and Emile Fort (NDGA). Attorney General
    approved 40-year plea agreements for both defendants, in a case involving
    seven gang-related murders, including (in Mr. Fort’s case) the murder of an
    innocent child.

   United States v. Joseph Minerd (WDPA). Arson/pipebomb murder of
    pregnant girlfriend, her fetus and three-year old daughter. Tried, convicted,
    sentenced to life.

   United States v. Coleman Johnson (WVA.). Pipe-bomb used to kill pregnant
    girlfriend and their unborn child to avoid child support. Tried, convicted,
    sentenced to life.

   United States v. Christopher Dean (DVT). Defendant sends pipebomb
    through the mails killing victim and disfiguring victim’s mother. Plea
    agreement. Sentenced to life.

   United States v. Billy Cooper (DMZ). Car-jacking double homicide. Tried,
    convicted, sentenced to life.

   United States v. Christopher Vialva and Brandon Bernard (WDTX). Car-
    jacking double homicide. Tried, convicted, sentenced to death.

   United States v. Gary Sampson (DMA). Two murders during separate car-
    jackings. Plead guilty, sentenced to death by jury. Later set aside. Pending
    re-trial.
   United States v. David Paul Hammer (MDPA). Prison inmate guilty of
    strangling to death cellmate at USP/Allenwood. Sentenced to death.
    Sentence later vacated. Sentenced to life on re-trial.

   United States v. Michael O’Driscoll (MDPA). Prison inmate guilty of
    stabbing to death fellow inmate at USP/Allenwood. Same judge, same
    courtroom, same defense attorneys as Hammer. Sentenced to life.

   United States v. Storey (DKS). Prison inmate with Aryan Brotherhood ties
    kills fellow prisoner at USP/Leavenworth. Plea agreement. Sentenced to
    less than life sentence.




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   United States v. Douglas Black and Steven Riddle (DCO). Inmates at
    USP/Florence attack two suspected “snitches,” one killed one injured. Plea
    agreements. Substantially less than life sentences.

   United States v. William Sablan and Rudy Sablan (DCO). Two cousins
    housed at USP/Florence kill their cellmate, eviscerate his body, hang his
    entrails around the cell, and, on videotape, display the victim’s heart and
    liver to responding officers. Defendants tried separately. Life verdicts in
    each case.

   United States v. Barry Mills, et al. (CDCA). A RICO mega-indictment
    targeting 40 members of the Aryan Brotherhood prison gang and charging 17
    murders. Initially 27 defendants were death-eligible and 14 defendants were
    actually authorized for capital prosecutions. After two lengthy trials, juries
    spared the first four defendants facing the death penalty – the alleged
    leaders of the gang – and the government has withdrawn its efforts to seek
    death as to the remaining authorized capital defendants.

   United States v. Fu Xin Chen, Jai Wu Chen and You Zhong Peng (EDNY).
    Chinese gang members who kidnap, rape and murder victims held for
    ransom. Fu Xin Chen and Jai Wu Chen enter plea agreements. Attorney
    General withdraws death authorization shortly before Peng trial. Peng
    convicted after trial. All three sentenced to life.

   United States v. Louis Jones (NDTX). Decorated Gulf War veteran with no
    prior record abducts, rapes and kills young woman soldier. Tried, convicted,
    sentenced to death, executed.

   United States v. Chevy Kehoe and Daniel Lee (WDAK). Triple murder of two
    adults and small child in connection with activities of white supremacist
    organization. Tried and convicted together. Kehoe – considered more
    culpable – sentenced to life. Lee sentenced to death by the same jury.

   United States v. Jacques (DVT). Defendant with prior convictions for sexual
    assaults kidnaps, rapes and murders 12-year-old niece. Case authorized for
    federal capital punishment. Allowed to plead guilty to life sentence.

   United States v. Gurmeet Singh Dhinsa (EDNY). Millionaire Sikh
    businessman hires killers of two employees cooperating with authorities in
    criminal investigation of defendant. Tried, convicted, sentenced to life.

   United States v. Trinity Ingle and Jeffrey Paul (WDAR). Murder of elderly
    retired National Parks employee. Victim shot while bound and gagged. At


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       separate trials, Ingle is convicted and sentenced to life; Paul is convicted and
       sentenced to death.

      United States v. Kristen Gilbert (DMA). VA nurse murders four patients and
       attempts to murder three more. Tried, convicted, sentenced to life.

      United States v. LaFawn Bobbitt and Rashi Jones (EDPA). Fatal shooting of
       bank teller during robbery. Security guard also shot and blinded. Tried,
       convicted, sentenced to life.

      United States v. Bille Allen and Norris Holder (WDMO). Fatal shooting of
       bank teller during robbery. Tried, convicted, and both defendants sentenced
       to death.

Where a killing occurs in the context of drug-dealing, the disparities are even more

striking.

      United States v. Alexis Candelario (DPR). Defendant with 13 prior murder
       convictions released from prison engineers and participates in massacre at
       rival drugdealer’s drinking establishment where eight people and unborn
       fetus are killed, 20 wounded. Tried, convicted, sentenced to life.

      United States v. Azibo Aquart (DCT). Three drug-related murders. Tried,
       convicted, sentenced to death.

      United States v. Azikiwi Aquart (DCT). Same three drug-related murders
       committed with his brother Azibo. Pled guilty to all three murders with no
       cooperation agreement, sentenced to life.

      United States v. Corey Johnson, James Roane, and Richard Tipton (EDPA).
       Eleven drug-related murders. Tried, convicted, sentenced to death.

      United States v. Dean Anthony Beckford (EDPA). Six drug-related murders.
       Tried, convicted, sentenced to life.

      United States v. Clarence Heatley and John Cuff (SDNY). Fourteen drug-
       related murders. Plea agreement. Sentenced to life.

      United States v. Alan Quinones and Diego Rodriguez (SDNY). Torture
       murder of suspected informant. Tried, convicted, sentenced to life.

      United States v. Elijah Williams and Michael Williams (SDNY). Execution-
       style triple murder by father and son. Tried, convicted, sentenced to life.

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   United States v. Thomas Pitera (EDNY). Nine drug-related murders in
    organized crime and large-scale drug trafficking context. Victims tortured
    and bodies dismembered. Tried, convicted, sentenced to life.

   United States v. German Sinisterra and Arboleda Ortiz (WDMO). One drug-
    related murder and one attempted murder. Tried, convicted, sentenced to
    death.

   United States v. John Bass (EDMI). Four drug-related murders. Tried,
    convicted, sentenced to life.

   United States v. Kevin Grey and Rodney Moore (DDC). Thirty-one drug-
    related murders. Tried, convicted, sentenced to life.

   United States v. Daryl Johnson (NDIL). Allegedly directed two murders as a
    leader in a drug-dealing gang-one victim was a confidential government
    witness against Johnson-and was alleged to have directed four more. Tried,
    convicted, sentenced to death. Death sentence overturned. While retrial was
    pending, death notice withdrawn.

   United States v. Peter Rollock (SDNY). Eight drug-related murders,
    including some ordered by defendant while incarcerated. Plea agreement.
    Sentenced to life.

   United States v. Tommy Edelin (DDC). Fourteen drug-related murders.
    Tried, convicted, sentenced to life.

   United States v. Reynaldo Villarreal and Baldemar Villarreal (EDTX).
    Drugrelated murder of law enforcement officer. Tried, convicted, sentenced
    to life.

   United States v. Shahem Johnson and Raheem Johnson (EDPA). Brothers
    tried for five drug-related murders. Tried, convicted, sentenced to life.

   United States v. Juan Raul Garza (SDTX). Three drug-related murders.
    Tried, convicted, sentenced to death, executed.

   United States v. Claude Dennis (EDPA). Six drug-related murders. Tried,
    convicted, sentenced to life.

   United States v. Emile Dixon (EDNY).Two drug-related murders, including
    machine-gunning death of suspected informant. Tried, convicted, sentenced
    to life.
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      United States v. Anthony Jones (D MD). Six drug-related murders. Tried,
       convicted, sentenced to life.

      United States v. Walter Diaz and Tyrone Walker (NDNY). Two defendants
       kill a drug-dealer and flee to New York City where, in a failed effort to steal a
       car, they shoot and kill a woman in lower Manhattan. Later in same day the
       defendants fired at, but missed, a retired school teacher in Coney Island in a
       failed armed robbery. Defendant Walker was also found by the jury to have
       beaten to death an elderly man during a burglary when Walker was 19 years-
       old. Both defendants tried, convicted, sentenced to life.

       These are only selected cases from the entire pool of potential and authorized

federal capital cases. The argument that the outcomes of the cases are arbitrary

based on their inexplicable variation is only reinforced by the cumulative effect of

reviewing the summaries of authorized cases compiled by the Federal Death

Penalty Resource Counsel Project and the verdict sheets on the Project website.

After reviewing this data, presented through Mr. McNally’s testimony, the court in

Fell concluded that

       there are no identifiable, objective criteria which distinguish one
       multiple homicide which resulted in the death penalty from the great
       majority which did not. . . .The more carefully one reviews the chart
       and the underlying case summaries, the more arbitrary the
       distinctions become. . . . [T] decision to impose death is subjective,
       multi-factorial, unreproducible, and for these reasons, irremediably
       arbitrary.”

Fell, 224 F.Supp.3d at 341.

       Where all of these cases were authorized by the Attorney General of the

United States for capital prosecution, each should be (or should have been) by

definition the “worst of the worst” in the federal system. That would mean that for

every crime on the list a prosecutor ought to be able to argue convincingly in


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summation, “If this case doesn’t call for the death penalty, what case does?” And

yet, in case after case – indeed, in the overwhelming majority of such cases – juries

(and in three instances judges) returned life verdicts. Even more so, the

government accepted plea agreements and life sentences.

      It is true that a person one cannot read these accounts of the myriad ways in

which men and women have delivered mortal harm to one another without

concluding that all of the cases are, on the facts, horrible and left the victims and

survivors with grievous pain. Yet, the individuals have participated in federal

juries have found only a minority of the cases that reached a sentencing hearing

worthy of a death sentence; the majority of juries were not unanimously persuaded

so. Though the reasons why some were selected to die and others were not cannot

be assuredly ascertained, as the following discussion illustrates, race, region, and

gender were critical drivers in the outcomes.

      Such factors can only be discerned in after-the-fact comparative analysis.

But where the system does not provide for that, the system does not recognize the

effect of those factors and so is unable to respond to their pernicious effect. Many

Courts of Appeal reviewing federal death sentences have held fast to the Supreme

Court’s decision in Pulley v. Harris, 465 U.S. 37 (1984), and ruled that

proportionality review is not a constitutionally necessary component of the Federal

Death Penalty Act. See, e.g., United States v. Mitchell, 502 F.3d 931, 981 (9th Cir.

2007); United States v. Higgs, 353 F.3d 281, 320–21 (4th Cir.2003); United States v.

Jones, 132 F.3d 232, 240-241 (5th Cir. 1998). But see Miller v. Alabama, 132 S. Ct.


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2455, 2463 (2012) (“The concept of proportionality is central to the Eighth

Amendment” and must be viewed “less through a historical prism than according to

‘the evolving standards of decency that mark the progress of a maturing society.’”).

They have not heeded Justice Stevens observation in his dissent from denial of

certiorari in Walker v. Georgia, 129 S.Ct. 453 (2008), that the state had sharply

curtailed the scope of its statutory proportionality review of death sentences, and

“[t]he likely result of such truncated review . . . is the arbitrary or discriminatory

imposition of death sentences in contravention of the Eighth Amendment.” Id. at

457.

       As Justices Breyer and Ginsburg pointed out in Glossip, “since this Court

held that comparative proportionality review is not constitutionally required . . ., it

seems unlikely that appeals can prevent the arbitrariness I have described.” If such

proportionality review is not required, then what federal capital defendants in

particular, are left with are the conflicting procedural mechanisms that Gregg

approved of 43 years ago that clearly have failed to cure the problem of

arbitrariness. A capital defense attorney in a state with a long history of the death

penalty observed that

       Almost forty years have passed since Furman, and nobody seriously
       argues that the Court’s decision to regulate procedure has solved the
       constitutional problem of arbitrariness. In fact, evidence indicates that
       the application of the death penalty is just as arbitrary today as it was
       when the Court decided Furman. If Furman inspired positive changes
       in its immediate wake, those changes have been all but eviscerated in
       the past two decades.




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B. Sarma, Furman’s Resurrection: Proportionality Review and the Supreme Court’s

Second Chance to Fulfill Furman’s Promise, 2009 Cardozo L.REV. DE NOVO 238

(2009, at 242.

      For all of these reasons, this Court should, with language modified only as

needed to address the federal system, reach the same conclusion that the

Connecticut Supreme Court did in Santiago:

      After thoroughly reviewing the operation of [the federal] capital
      sentencing scheme over the past [twenty-five years], we are persuaded
      that these critiques are well founded and that the opportunity for the
      exercise of unfettered discretion at key decision points in the process
      has meant that the ultimate punishment has not been reserved for the
      worst of the worst offenders. There is no doubt that our death row has
      counted among its residents the perpetrators of some of the most
      heinous crimes in [national] history. It is equally clear, however, that
      the process of selecting offenders for execution has been both under
      inclusive and over inclusive. Many who commit truly horrific crimes
      are spared, whereas certain defendants whose crimes are, by all
      objective measures, less brutal are condemned to death . . . .To the
      extent that the population of death row has been chosen on grounds
      other than the atrocity of the offenders’ crimes, this would undermine
      all confidence that capital punishment, as applied, is morally
      proportionate and serves a legitimate retributive function in [the
      federal system].

Santiago, 318 Conn. at 114-15.

                   e.    The Federal Death Penalty is unevenly applied on a
                         regional basis and suffers from intractable problems of
                         racial discrimination in the targeting of minority and
                         male defendants and a demonstrated race/gender-of-
                         victim effect.

                         1.      Introduction

      Since the federal government returned to a national effort to impose and

carry out death sentences, its attempt has been marked by patterns of uneven and



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apparently discriminatory application. The federal death penalty has been utilized

almost exclusively by United States Attorneys’ offices in the South from the very

beginning. Hence, as should be expected, the overwhelming majority of federal

death verdicts that have been returned have been in those traditional “death-belt”

jurisdictions. This arbitrary regional utilization of capital prosecutions was

compounded by the invidious factor of race as the federal death penalty was

deployed to target minority groups disproportionately, particularly African-

Americans and Hispanics.

      By 1994 – less than a decade after the “modern” resurrection of the federal

death penalty – plain and undeniable racial disparities were apparent in the Justice

Department’s prosecution of federal capital cases. In response, the House

Subcommittee on Civil and Constitutional Rights initiated an investigation, which

concluded that “[r]ace continues to plague the application of the death penalty in

the United States. On the state level, racial disparities are most obvious in the

predominant selection of cases involving white victims. On the federal level, cases

selected have almost exclusively involved minority defendants.” Racial Disparities

in Federal Death Penalty Prosecutions 1988-1994, Staff Report by the

Subcommittee on Civil and Constitutional Rights, Committee on the Judiciary,

103rd Congress, 2nd Session, March 1994 (emphasis added).42 That report found that

as of 1994, after six years of the federal death penalty having been reinstituted, 33

of the 37 defendants – 87% – authorized for capital punishment under the 21 U.S.C.


42Available   at https://www.ncjrs.gov/pdffiles1/153840.pdf (last visited Dec. 14, 2018).

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§ 848(e) (Anti-Drug Abuse Act, or ADAA) scheme were Black or Hispanic. Id. As of

October of this year, with the Attorney General having authorized the government

to seek the death penalty 530 against defendants, 68% have been Black or Hispanic

(50% and 18%, respectively), 27% have been white, and 5% have been

Asian/Indian/Pacific Islander/Native American/Filipino/Middle Eastern. Thus 73%,

of the defendants approved for a capital prosecution by the Attorney Generals to

date are people of color.

      The United States government has repeatedly been made aware of this

glaring disparity. At the time Congress enacted the § 848(e), the agency formerly

known as the General Accounting Office (now the Government Accountability Office

or GAO) was directed to undertake a study of the potential influence of race on the

death penalty. 21 U.S.C. § 848(o)(2) (Repealed). The GAO undertook such a study

in 1990 and reported,

      Our synthesis of the 28 studies shows a pattern of evidence indicating
      racial disparities in the charging, sentencing and imposition of the
      death penalty after the Furman decision.

      In 82 percent of the studies, race-of-victim was found to influence the
      likelihood of being charged with capital murder or receiving the death
      penalty, i.e. those who murdered whites were found to be more likely
      to be sentenced to death than those who murdered blacks. This
      finding was remarkably consistent across data sets, states, data
      collection methods and analytic techniques. The finding held for high,
      medium, and low quality studies.




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United States General Accounting Office, Report to Senate and House Committee

On The Judiciary, Death Penalty Sentencing: Research Indicates Pattern of Racial

Disparities (Feb. 1990) at 5.43

      Nine years later, and five years after the report by the Subcommittee on Civil

and Constitutional Rights, Professor Rory Little, who served on Attorney General

Reno’s Capital Case Review Committee, noted in a law review article that serious

questions about regional and racial disparities had not been ameliorated by the

administrative process within the Justice Department. Rory K. Little, The Federal

Death Penalty: History and Some Thoughts About the Department of Justice's Role,

26 FORDHAM URB. L.J. 347, 450-90 (1999). See also, Rory K. Little, What Federal

Prosecutors Really Think: The Puzzle of Statistical Race Disparity Versus Specific

Guilt, and the Specter of Timothy McVeigh, 53 DEPAUL L. Rev. 1591, 1613-14

(2004) (“Statistical race disparity does not prove purposeful racial discrimination in

federal capital prosecutions. Nevertheless, it is a persistent and disturbing fact.

Lingering doubts remain that it occurs due to subconscious or attenuated systemic

biases impossible to isolate or detect, but which are harmful nevertheless.”).

      The record is clear that the government has been on notice from the very

beginning of the modern federal death penalty that the disparate patterns of its

application indicate severe and likely intractable problems.




43Available at https://www.gao.gov/assets/220/212180.pdf (last visited Dec. 14,
2019).

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                          2.    Twelve years after the reinstitution of the federal
                                death penalty, a DOJ study found intolerable racial
                                and regional disparities in its authorization and
                                imposition.

      In the final six months of his presidency, Bill Clinton (who had made a

special trip to Arkansas during his presidential campaign to oversee the execution

of an intellectually disabled person44) was asked at a press conference about a Texas

execution that received extensive press coverage. The reporter asked the then-

President whether he believed it was time “for the American people to stop and

reassess where we stand on implementation of the death penalty.” He responded,

      The issues at the federal level relate more to the disturbing racial
      composition of those who have been convicted and the apparent fact
      that almost all the convictions are coming out of just a handful of
      states, which raises the question of whether, even though there is a
      uniform law across the country, what your prosecution may turn solely
      on where you committed the crime.

(Transcript of the President Clinton’s 6/28/2000 press conference, available at

http://www.presidency.ucsb.edu/ws/index.php?pid=1666 (Last visited Dec. 14, 2019).

President Clinton also noted that there was a review underway of both those issues.

      On September 12, 2000, the Department of Justice released that

comprehensive study. It laid out in detail how the federal death penalty had been




44 See “The Time that Bill Clinton and I Killed a Man,” The Atlantic, May 28, 2015,
available at https://www.theatlantic.com/politics/archive/2015/05/the-time-bill-
clinton-and-i-killed-a-man/460869/ (last visited Dec. 14, 2019); “Death for the
mentally disabled,” The Economist, Mar. 28, 2014, available at
https://www.economist.com/united-states/2014/03/08/death-for-the-mentally-
disabled (last visited Dec. 14, 2019).

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administered for the 12 years from its reinstitution up to that year.45 The essence

of the 2000 study’s findings was that the federal death penalty had been

disproportionately sought against minority-group defendants and irrationally

sought on a regional basis. The study reported that federal death row housed 13

Black men, four White men, one Hispanic man, and one “other.” Reflecting the

nation’s application of the death penalty the United States had obtained 12 of the

19 death sentences in the South. Four sentences were imposed in Virginia and and

four were imposed in Texas. When the study was issued, no more than a single

death sentence had been obtained in any other jurisdiction.46

      The report looked behind the sentence results at which defendants actually

faced the federal death penalty. It found that 71 (44.7%) of the 159 cases that had

been authorized for capital prosecution by the Attorney General were Black

defendants, 44 (27.7%) were white, 32 (20.1%) were Hispanic, and another 12 were

identified as “other” (7.5%). See DOJ Study, Table 1A. Thus, as of the summer of


45See United States Department of Justice, “The Federal Death Penalty System: A
Statistical Survey (1988-2000),” (“DOJ Study”) available at
https://www.justice.gov/sites/default/files/dag/legacy/2000/09/13/_dp_survey_final.pd
f (last visited Dec. 14, 2018). The Department filed a supplemental report on June
6, 2001 after the change in administration. See, “The Federal Death Penalty
System: Supplementary Data, Analysis and Revised Protocols for Capital Case
Review (June 2001),” available at
https://www.justice.gov/archive/dag/pubdoc/deathpenaltystudy.htm (last visited
Dec. 14, 2019). Additionally, on June 7, 2007, DOJ transmitted statistics and more
recent findings on the administration of the federal death penalty to Senator
Feingold in the course of oversight hearings,
http://www.deathpenaltyinfo.org/DOJResponses6-07.pdf.
46In the almost two intervening decades, there has been no substantial change in
the regional percentages of federal death sentences imposed.

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2000, more than 70% – almost 3/4ths – of the defendants targeted for the federal

death penalty were people of color.

         In addition to the racial disparity in federal death-penalty prosecutions, the

study also found a regional disparity in the enforcement of the federal death

penalty. The DOJ Study revealed the following disproportions:

        From 1995 onward, of the 94 separate federal districts in the federal system,
         only 49 had ever submitted a case recommending capital prosecution. (DOJ
         Study at 14.)47

        Twenty-two federal districts had never submitted a case for review at all.48
         (DOJ Study at T-59.)

        Twenty-one federal districts, although submitting one or more cases for
         review, had never sought permission to seek the death penalty in any case.49

47As of December 2019, 22 of the 94 federal districts had never had an authorized
capital case. Ex. H at 7. This includes entire districts in California, Alabama,
Minnesota, the Eastern and Western Districts of Washington, Nebraska,
Oklahoma, and the Eastern and Western Districts of Wisconsin, South Dakota,
Utah, Wyoming and Montana.
48 The potential universe of federal capital prosecutions is vast. Virtually any
murder committed in the course of a federal firearms violation is a potential federal
death penalty case. 18 U.S.C. § 924(j). In United States v. Chanthadara, 230 F.3d
1237 (10th Cir. 2000), where the government proceeded on a Hobbs Act theory of
federal prosecution, the defendant was sentenced to death for a murder committed
in the course of the robbery of a restaurant, an unfortunately garden variety type of
criminal behavior. That sentence of death was vacated on appeal on other grounds
(and the defendant later sentenced to life imprisonment), but the potential number
of cases that could be prosecuted on this theory is staggering. Any murder
committed while engaged in a narcotics conspiracy involving more than 50 grams of
crack cocaine or 5 kilograms of heroin remains a potential federal capital case. 21
U.S.C. § 848(e).
49The importance of the recommendation that accompanies a submission cannot be
understated. The Attorney General followed the recommendation of the local
United States Attorney in 91% of cases where the local office did not want to
prosecute the case as a death penalty case. DOJ Study at 43. Conversely, the
Attorney General followed the local United States attorney’s office recommendation
in 83% of cases where death-penalty authorization was requested. Id. These
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Id.

      Following up to the question put to President Clinton leading up to the

release of the report, the White House, through the Justice Department, reported

that then-Attorney General Janet Reno was “‘sorely troubled’ by stark racial

disparities in the federal death penalty and ordered United States attorneys to help

explain why capital punishment is not applied uniformly across ethnic groups.” M.

Lacey and R. Bonner, “Reno Troubled by Death Penalty Statistics,” N.Y. Times,

September 13, 2000. The Attorney General reportedly wanted “a broader

analysis.”50 Then-Deputy Attorney General Eric Holder, the highest-ranking

African-American at the Justice Department at the time, said,

      “I can’t help but be personally and professionally disturbed by the
      numbers that we discuss today. [] To be sure, many factors contributed
      to the disproportionate representation of racial and ethnic minorities
      throughout the federal death penalty process. Nevertheless, no one
      reading this report can help but be disturbed, troubled, by this
      disparity.”

Id. 51 The White House deputy press secretary responded to the report by saying,

“‘At first glance, those numbers are troubling. We need to know what’s behind the


figures are based on the 575 defendants whose cases were reviewed by the Attorney
General from 1995-2000. In the “pre-protocol” period – November 1988 through
January 27, 1995 – the only cases reviewed were those where the local United
States Attorney affirmatively had requested capital-authorization. The approval
rate for those cases was 90%. DOJ Study at 10.
50 In United States v. Bass, 266 F.3d 532 (6th Cir. 2001), reversed, 532 U.S. 1035
(2002) (per curium), the Sixth Circuit quoted at length from the public statements
of Attorney General Reno and Deputy Attorney General Holder in response to the
release of the DOJ Study. Bass, 266 F.3d at 538.
51As indicated in the Politics and Prosecution article, “during his confirmation
hearing, Holder said that the Department of Justice’s 2000 report on the death
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numbers.’”52 The next year, after a change in administrations, Attorney General

nominee John Ashcroft commented that evidence of racial disparity in the federal

death penalty “troubled [him] deeply.” See United States v. Bass, 266 F.3d at 538

n.1.

       Professor Little, who served on the Department of Justice Capital Case

Review Committee, wrote in 2004 that “[s]tatistical race disparity. . . is a persistent

and disturbing fact.” Little, What Federal Prosecutors Really Think, supra at 1613-

14 (emphasis added). He suggested two specific reforms to address the problem.

First, “we should restrict capital punishment to ‘high-end’ cases with defined,

extremely aggravating, factors. This could be done statutorily or as a matter of

prosecutorial policy. But it would necessitate removing certain vague or too easily

manipulated statutory ‘aggravating’ factors that are commonly used today, such as

‘heinous or atrocious,’ ‘committed for pecuniary gain,’ or ‘committed in conjunction

with another felony.’” Id. at 1611. The verdict forms on the Federal Death Penalty

Resource Counsel Project (“FDPRC”) website clearly demonstrates that this

suggested reform never gained traction at the DOJ.




penalty ‘raised some very disturbing questions about not only the racial identity of
people who were in the death system—in the federal death system, but also the
geographic distribution of those people.”” Politics and Prosecution at 96 (quoting
Confirmation Hearing on the Nomination of Eric H. Holder to be Attorney General
of the United States: Hearing Before the S. Comm. on the Judiciary, 111th Cong. 67
(2009)).
52 Considering the impact of the study, Judge Sand in United States v. bin Laden,
126 F. Supp.2d 256, 258 (S.D.N.Y. 2000) found the statistical evidence “indeed
troubling,” but ultimately rejected a challenge to that capital prosecution.

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      Second, noting emerging “anecdotal information [that] suggests that the

current administration under Attorney General John Ashcroft may be lowering the

standard of aggravation for approval of federal capital prosecutions,” Professor

Little recommended that “strict enforcement of the ‘substantial federal interest’

requirement for federal capital prosecutions” and that Ashcroft’s amendment to the

protocols that allowed the availability of the death penalty itself to fulfill the federal

interest requirement be abolished. “Most murder cases,” Professor Little wrote,

“should remain at the state level, and the simple fact that a state has chosen not to

enact a death penalty should not be sufficient without a more identifiable ‘federal’

interest to drive a case into the federal system.” 53 Id. at 1606 n. 17, 1613. Accord

John Gleeson, Supervising Federal Capital Punishment: Why the Attorney General

Should Defer When U.S. Attorneys Recommend Against the Death Penalty, 89 Va.

L.Rev. 1697, 1716 (2003) (“In a federal system that rightly accords great deference

to states’ prerogatives, the federalization of the death penalty should be limited to

cases in which there is a heightened and demonstrable federal interest, one that

justifies the imposition of a capital prosecution on communities that refuse to

permit them in their own courts.”).




53 As pointed out by Little, under Attorney General Janet Reno, the DOJ Capital
Case Protocols provided that “the fact that the maximum Federal penalty is death
is insufficient, standing alone, to show a more substantial interest [than a state's] in
federal prosecution.” Id. at 1613 n. 95. This provision was repealed in 2001 under
Attorney General Ashcroft. The current DOJ Death Penalty Protocol does not
contain the abolished provision.

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      The government’s prosecution of Mr. Bowers embodies the appropriateness of

these recommendations. Mr. Bowers is susceptible to capital prosecution in the

Pennsylvania courts. Moreover, as manifested in the public statements of victim

congregations in this case, there are strong local and community interest that are

appropriately addressed by the state courts. 54

      The government has been on notice of the problems that plague its

administration of the federal death penalty and mechanisms to address those

problems through its enactment. Yet inexplicably, it has not taken the measures

that it could, while other problems seem to be intractable. Without any reforms,

much less efforts at reform, federal officials have effectively chosen to abide their

“troubled” and “disturbed” state over these arbitrary and invidious practices. The

effect is that a “non-existent problem” has gotten worse. See Kevin McNally, Race

and the Federal Death Penalty: A Nonexistent Problem Gets Worse, 53 DEPAUL L.

REV. 1615 (2004).

                           3.    The regional disparity in pursuit and imposition of
                                 federal death sentences is a persistent invidious
                                 condition that traces to the confederacy.

      The “modern” federal death penalty has come into shape largely in the

southern-dominated tradition of the death penalty in the United States. Two-thirds

of federal death verdicts have come out of the traditional “death belt” states.


54The thin federal jurisdictional premise of the capital counts in this case is that
Mr. Bowers obstructed by force the congregants at the Tree of Life synagogue in the
enjoyment of the free exercise of their religious beliefs.” ECF 44 at 3, 5. This is
patently a distinctly local homicide case, subject to Pennsylvania’s own capital
homicide statutes.

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Additionally, these states sentence federal defendants to death at a significantly

higher rate – proportion of cases brought where a death sentence is imposed – than

elsewhere in the country.

TABLE II: 1988-2015
STATES WITH MORE THAN ONE FEDERAL DEATH VERDICT

      State       Authorized   Defendants       Death          Rate

                    Cases         Tried        Sentences

 Texas                36            23            16           70 %

 Missouri             40            22            10            45%

 Virginia             57            42             8            19%

 Louisiana            14             5             4            80%

 North                10             4             3            75%

 Carolina

 Georgia               9             6             3            50%

 Oklahoma              6             6             3            50%

 Maryland             26            12             2            17%

 Pennsylvania         24            13             2            15%

 Arkansas              7             5             2            40%

 California           44            12             2            17%

 Florida              16            10             2            20%

 Illinois             14             6             2            30%

 Iowa                  4             2             2           100%



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 Massachusetts         5              3            2           66%

 New York              48            24            1            4%

 South                 5              5            4           80%
 Carolina

 West Virginia         10             2            2           66%

Source: Ex H at 42-44

      In its decision in the Santiago case the Connecticut Supreme Court, noting

the regional caprice of the death-penalty on a nation-wide basis, examined the

death-penalty sentencing rates of the 13 states that made up the Confederacy.

That court concluded that those states were responsible for 75% of the executions

carried out in the United States since 1976. Santiago, 318 Conn. at 81.55 In terms

of federal death verdicts and the confederacy (the number of federal executions –

three – are not enough to reach a meaningful conclusion, nonetheless two out of the

three were cases from Texas) shows that 38 of 81 federal death verdicts have come

out of the states that formed the confederacy, more than 62% of all federal capital

verdicts. Just two of those former confederate states – Texas and Virginia – account

for 20 federal death verdicts, 30% of the total.

      When one examines the numbers on a circuit basis, as outlined in the

McNally Declaration, Ex. H, the results reflect the same regional bias. Stated

plainly, if we have a national death penalty it should not matter where you are



55The states of the Confederacy were: Alabama, Arkansas, Florida, Georgia,
Kentucky, Louisiana, Mississippi, North Carolina, South Carolina, Tennessee,
Texas, and Virginia.

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tried in terms of the likelihood of receiving a death sentence but that very much is

the reality.

TABLE III: 1988-2015
DEATH SENTENCING RATES BY CIRCUIT

     CIRCUIT      DEFENDANTS        SENTENCED          PER CENT

                      TRIED           TO DEATH

 First                   12                2               17%

 Second                  31               056              10%

 Third                   17               257              12%

 Fourth                  70               16               20%

 Fifth                   29               15               66%

 Sixth                   19                3               16%

 Seventh                 9                 3               33%

 Eighth                  31               15               48%

 Ninth                   22                4               18%

 Tenth                   18                5               28%



56 Two death verdicts have been delivered in the Second Circuit, but both were
overturned. See United States v. Wilson, No. 1:04-cr-01016-NGG-1 (E.D.N.Y), D.E.
1536 (vacating death sentences and sentencing to life without parole); United States
v. Aquart, No. 3:06-cr-00160-SRU (D.CT.), D.E. 1268 (mandate of 2d Cir. Vacating
death sentence).
57 Neither death sentence in the Third Circuit is final. One was overturned in
§2255 proceedings and the defendant was resentenced to life without parole. See
United States v. Hammer, No. 4:96-cr-00239-JHS (M.D.P.A), D.E. 1782. The other
is pending on direct appeal in the Third Circuit. See United States v. Savage, No.
14-9003 (3d Cir.), Order (Aug. 8, 2019) (setting oral argument for Jan. 7, 2020).

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 Eleventh                 20                 6               30%

 DC                       4                  0               0%

Source: Ex. H at 8-13.

      Historically, the death penalty has been a largely Southern phenomenon.

That remains the case today. As of December 12, 2019, 1,419 executions have been

carried out in the United States in the post-Gregg era. Death Penalty Information

Center “Facts About The Death Penalty,” available at

https://files.deathpenaltyinfo.org/documents/pdf/FactSheet.f1576162137.pdf (last

visited Dec. 14, 2018) Of these, 1,237 – 87% – have been carried out by southern

states. Id. Texas, Oklahoma, and Virginia by themselves account for 792

executions. Id.. 58

      It flows logically from that understanding of the historical and regional

predominance in the modern era of capital punishment in the United States that

federal jurisdictions in states with an established culture of state killing reflect that

culture, consciously or not, in in their capital prosecutions. Similarly, it flows

logically that federal juries accustomed to seeing death sentences routinely

returned in their own communities would do the same.




58A recent study conducted by the DPIC concluded that “[t]he South has carried out
82% of the executions, the Northeast, less than 1%”, and that more than half of this
nation’s post-Furman executions came as a result of cases prosecuted in two per
cent of the nation’s counties. See “The 2% Death Penalty: How a Minority of
Counties Produce Most Death Cases at Enormous costs to All” (Death Penalty
Information Center 2013); Ex. G.

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      Regional bias, however, is antithetical to a penalty that is intended (and

expected) to be sought and imposed using consistent national standards. The

Attorney General’s Capital Case Protocol, published as part of the United States

Attorneys Manual, promotes national consistency as a goal in deciding whether to

authorize a capital prosecution in a given case. 59 See, e.g., § 9-10.030 - Purposes of

the Capital Case Review Process (“Each such decision must be based upon the facts

and law applicable to the case and be set within a framework of consistent and

even-handed national application of Federal capital sentencing laws.”); § 9-10.140 -

Standards for Determination (“The standards governing the determination to be

reached in cases under this Chapter include fairness, national consistency,

adherence to statutory requirements, and law-enforcement objectives.”).

      The below table, prepared by the 2255 Project illustrates that the DOJ has

utterly and indisputably failed to achieve its own stated standards.




59Available at http://www.justice.gov/usam/usam-9-10000-capital-crimes (last
visited Dec. 14, 2019).

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STATES WHERE FEDERAL DEATH VERDICTS HAVE BEEN RETURNED60




60   Available at https://2255.capdefnet.org/General-Statistics/Federal-Death-Row-
Population-State-Circuit (last visited Dec. 14, 2019).

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      In spite of written standards of national consistency, the federal death

penalty plainly remains a Southern phenomenon. No state outside the south has

returned more than two federal death sentences. Southern federal districts align

with their state counterparts and dominate seeking and receiving authorization to

prosecute cases capitally and convincing juries to return death verdicts. Thus, “[o]f

the 86 federal death sentences imposed by juries since 1988, 56 [65 %] have come

from the traditional ‘death belt’ states, the states that have historically executed

the most people.” Ex. H at 7

      After having received testimony and evidence in the hearing in Fell, the court

found that “The imposition of the death penalty depends greatly upon geography. . .

. [T]he death penalty continues to be imposed in an arbitrary manner. The state in

which a crime occurs is the strongest predictor of whether a death sentence will

result. Whether the murder victim is white is also a significant predictor. These

findings are true of cases brought under the FDPA as they are for state death

sentences.” Fell, 224 F.Supp.3d at 345.

      In 2010, the Washington Law Review published a study of this issue. The

authors examined the DOJ policy and the irreconcilable outcome.

      Geographic disparities . . . persist. To promote uniformity, United
      States Attorneys submit all death-eligible federal cases to the United
      States Attorney General for death-authorization. Yet the geography of
      the federal death penalty is anything but uniform. Six of the ninety-
      four federal judicial districts account for one-third of death-
      authorizations. More than half of all death-authorizations come from
      fourteen federal districts. Seven federal districts are responsible for
      approximately 40% of the individuals on federal death row. Two-thirds
      of districts have not sentenced anyone to death. Nearly one-third of



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      federal districts have not sought a death sentence. Fewer than 20% of
      federal districts have sentenced more than one person to death.

G. Ben Cohen. & Robert J. Smith, The Racial Geography of the Federal Death

Penalty, 85 WASHINGTON LAW REV. 425, 429-430 (2010). As of 2015 23% of the

94 federal districts have never had an authorized federal capital case. Ex. H at 7.

      The truth cannot be denied: there has been no significant change in the

federal death penalty since the 2000 DOJ Study; it remains a distinctly and

overwhelmingly disproportionately Southern phenomenon. Judging by the

numbers, as the court did in Furman, the inapposite notion of geographical location

appears to be as determinative in who receives federal death sentence as the crime

committed. This is the essence of arbitrariness and caprice. As then-President

Clinton remarked, “[W]hat your prosecution is may turn solely on where you

committed the crime.”61 See also Glossip, 135 S. Ct. at 2761 (Breyer and Ginsburg,

JJ., dissenting)(“ Geography also plays an important role in determining who is

sentenced to death.”); Santiago, 318 Conn. at 85 (“In the case of capital punishment,

the regional disparities are both instructive in their character and striking in their

magnitude.”).




61 It also appears that trying to “fix” one part of the geography problem may give
rise to others. See B. Weiser and W. Glaberson, Ashcroft Pushed Executions in
More Cases in New York, N.Y. Times, 2/6/03 (Reporting on efforts by the Attorney
General to require federal prosecutors in New York and Connecticut to seek death
more often;); B. Weiser and W. Glaberson, Decisions on Death Cases Raise
Questions of Race, N.Y. Times, 2/14/03 (Pointing out that the 12 defendants as to
whom Attorney General Ashcroft overruled a New York area federal prosecutor’s
decision not to seek the death penalty were all black or Hispanic).

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      To administer the death penalty based on an arbitrary ground is

unconstitutional under both the Eighth Amendment and the due process and equal

protection guarantees of the Fifth Amendment. See Bush v. Gore, 531 U.S. 98, 106

(2000) (equal protection and due process violations found where “the standards for

accepting or rejecting contested ballots might vary not only from county to county

but indeed within a single county from one recount team to another. This is not a

process with sufficient guarantees of equal treatment.”); see also United States v.

Bin Laden, 126 F. Supp. 2d 256, 263 (S.D.N.Y. 2000) (Eighth Amendment would be

violated if the federal government had decided to seek the death penalty on the

basis of geographic considerations). See also United States v. Buckendahl, 251 F.3d

753, 764-65 (8th Cir. 2001) (“Regrettably, there is as much regional disparity in

sentencing now as there was prior to the creation and enactment of the Sentencing

Commission and Guidelines. The origin of that disparity, however, has shifted from

the judiciary to politically appointed prosecutors.”). Accord, United States v.

Jacques, 2011 WL 3881033 * 4 (D. Vt. Sept. 2, 2011); United States v. Johnson, 900

F.Supp.2d 949, 962-963 (N.D. Iowa 2012).

      The Eighth Amendment and Fourteenth Amendment’s due process and equal

protection clauses prohibit allowing or disallowing the death penalty based solely on

the arbitrary factor of geography, or on the equally arbitrary and related geographic

factor that a particular state does not endorse the death penalty. See Politics and

Prosecution at 57, 87 (the lead author, a former United States Attorney who

“participated in committee meetings advising the U.S. Attorney on the disposition



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of capital cases” admits that beginning with Attorney General Ashcroft’s

administration and his modification of the death penalty Protocol, non-death

penalty states such as Vermont were “seemingly targeted by the Department of

Justice.”)62

                          4.     The continuing and unabated practice of targeting
                                 males and minorities for the federal death penalty,
                                 the long-documented “white-victim effect,” and the
                                 emergence of a “white female victim effect” further
                                 demonstrate the arbitrary and irrational operation
                                 of the federal death penalty.63

       Through the lens of more than 30 years of administering the federal death

penalty, one can see clearly that the past 19 years have simply cemented, not

improved, the patterns of race and region that “disturbed” and “troubled”

government officials after the first 12 years. It seems indisputable that these

problems are intractable and embedded in the DNA of capital punishment in the

United States, among the states and in the federal system.


62The authors point to Ashcroft’s change in the Protocol, the firing of local United
States Attorneys who disagreed with DOJ’s death penalty policies, and the
experience in Vermont, Massachusetts, New York, and Puerto Rico as stark
evidence of this geographic targeting. With respect to Puerto Rico, the authors note:
Puerto Rico’s deep-seated opposition to capital punishment is reflected in its
Constitution, which declares bluntly that “[t]he death penalty shall not exist.”
Nonetheless, Puerto Rico has been a virtual repository for the Department of
Justice’s capital prosecution efforts and once had the greatest number of pending
death penalty cases in the entire federal system. Id. at 95.
63 The victims in this case are white, as is Mr. Fell. Mr. Fell has standing to raise
the present argument. See McCleskey v. Kemp, 481 U.S. 481 U.S. 279, 291 n. 8
(1987)(“It would violate the Equal Protection Clause for a State to base enforcement
of its criminal laws on “an unjustifiable standard such as race, religion, or other
arbitrary classification . . . . Because McCleskey raises such a claim, he has
standing.”); Sampson, 275 F. Supp.2d at 69, 87.

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      These below tables illustrate the present state of affairs:

TABLE IV: 1988-2019
THE RACE OF THE 530 FEDERAL DEFENDANTS AUTHROIZED FOR CAPITAL
PROSECUTION

 AFRICAN-AMERICAN                    263                    50%

 CAUCASIAN                           142                    27%

 HISPANIC/ LATINO                    98                     18%


 OTHER                               27                     5%



The numbers reflect that 73% of the defendants selected for capital prosecutions

were people of color; half of the defendants are African-American. The state of

affairs has devolved. In 2000, the DOJ Study found that 70% of authorized

defendants were minorities.

      The next chart illustrates the effect that the disproportionate targeting of

people of color for the federal capital prosecutions has had on the composition of the

federal death row. It is as would be expected.




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RACIAL COMPOSITION OF FEDERAL DEATH ROW (Oct. 2019) 64




64Taken from the Federal Capital Habeas Project website, available at
https://2255.capdefnet.org/General-Statistics/Federal-Death-Row-Population-By-
Race (last visited Dec. 14, 2019). The Federal Capital Habeas Project (the “§ 2255
Project”) was created in early 2006 by the Office of Defender Services of the
Administrative Office of the United States Courts. The § 2255 Project was
established to assist federal courts with appointment of counsel in federal death
penalty habeas proceedings pursuant to 28 U.S.C. § 2255 and aims to ensure that
all individuals sentenced to death in federal court who have completed their direct
appeals receive post-conviction representation consistent with the highest
standards of the legal profession.

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Thus, as of October 2019, 57% percent of those presently on federal death row are

people of color. This is an unacceptable perpetuation of the history of racialized

punishment that this country purports to have moved beyond. In 2019, these

figures should be a source of unbearable concern to the Department of Justice.

                          (a)    The law on race and the death penalty.

      The year before the federal death penalty was reenacted, the Supreme Court

considered the effect of race in capital sentencing. See McCleskey v. Kemp, 481

U.S. 279 (1987). In McCleskey, a rigorous statistical study of Georgia’s capital

sentencing practices found that killers of whites, regardless of their own race, were

more likely to be sentenced to death than killers of African-Americans. One of the

major statistical models relied on by McCleskey showed that “defendants charged

with killing white victims (whatever their own race) were 4.3 times as likely to

receive a death sentence as defendants charged with killing blacks.” 481 U.S. at

287. The Court held that it did not violate the Eighth Amendment to be sentenced

to death by a system where race was a demonstrated factor. Rather, a defendant

could only prevail upon a claim by showing that race influenced his own trial.

      In dissent, Justices Brennan, Marshall, Blackmun and Stevens hypothesized

a conversation between an African-American defendant charged with capital

murder and his attorney where the client asks what the chances were that he would

be sentenced to death. McCleskey, 481 U.S. at 321. Relying on the statistical

analysis presented to the Court in McCleskey, the four dissenters posited that




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defense counsel would have to level with the client and tell him that his race would

play an important role – perhaps a determinative one – in whether he lived or died:

       First, counsel would have to tell [the client] that few of the details of
       the crime or of [his] past criminal conduct were more important than
       the fact that his victim was white. Furthermore, counsel would feel
       bound to tell [him] that defendants charged with killing white victims
       in Georgia are 4.3 times as likely to be sentenced to death as
       defendants charged with killing blacks. In addition, frankness would
       compel the disclosure that it was more likely than not that the race of
       [his] victim would determine whether he received a death sentence. . . .
       The story could be told in a variety of ways, but [the client] could not
       fail to grasp its essential narrative line: there was a significant chance
       that race would play a prominent role in determining if he lived or died

McCleskey, 481 U.S. at 321 (opinion of Brennan, Marshall, Blackmun and Stevens,

J.J., dissenting).65

       Just before the turn of the 20th century, the Court observed in Yick Wo v.

Hopkins, 118 U.S. 356 (1886), that application of seemingly neutral laws “with an

evil eye and an unequal hand, so as practically to make unjust and illegal

discrimination between persons in similar circumstances” amounts to a denial of

equal protection. Id. at 373-74. It is an undeniable fact of United States history

that capital punishment and race have always been inextricably intertwined. That

interplay will assuredly remain active until racism is gone. See, e.g., C. J.

Ogletree (Ed.) and A. Sarat, From Lynch Mobs to the Killing State: Race and the

Death Penalty in America (New York University Press 2006); R. K. Little, What



65After his retirement from the bench, Justice Powell wrote that he regretted both
voting with the majority, and authoring the Court’s 5-4 opinion upholding the
death-penalty in McCleskey. See Jeffries, Justice Lewis F. Powell, Jr. (1994) at pp.
451-52.

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Federal Prosecutors Really Think: The Puzzle of Statistical Race Disparity Versus

Specific Guilt, and the Specter of Timothy McVeigh, 53 DEPAUL L. REV. 1591

(2004); K. McNally, Race and the Federal Death Penalty: A Nonexistent Problem

Gets Worse, 53 DEPAUL L. REV. 1615 (2004); C. J. Ogeltree, Black Man’s Burden:

Race, and the Death Penalty in America, 81 OREGON L.REV. 15 (2002); G. L.

Pierce, M. L. Radlet, Race, Region, and Death Sentencing in Illinois, 81 OREGON

L.REV. 39 (2002); S. Bright, Discrimination, Death and Denial: The Tolerance of

Racial Discrimination in the Infliction of the Death Penalty, 35 SANTA CLARA

L.REV. 433 (1995); D. Baldus, Reflections on the ‘Inevitability’ of Racial

Discrimination in Capital Sentencing and the ‘Impossibility’ of its Prevention,

Detection and Correction, 51 WASH. & LEE L.REV. 359 (1994); Bienen, Weiner,

Denno, Allison and Mills, The Reimposition of Capital Punishment in New Jersey:

The Role of Prosecutorial Discretion, 41 RUTGERS L.REV. 27, 100-57 (1988).

      In the Santiago decision in Connecticut, the state supreme court examined

the issue of race and the death penalty and came to this conclusion:

      [D]ata from three authoritative governmental sources . . . all suggest
      that the death penalty in Connecticut continues to be imposed
      disproportionately based on the race and ethnicity of the offender and
      the victim. The alleged disparities are significant and hold across
      hundreds of cases. We are not aware of any study or report to have
      reached a contrary conclusion.

Santiago, 318 Conn. at 151. A study of death verdicts returned in Philadelphia

illustrates the insidious and fatal nature of relationship between race and the death

penalty. The study concluded that convicted murderers with stereotypical African-

American features (flat noses, large lips, kinky hair) and dark skin were more likely

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to receive the death penalty for killing a white person than lighter-skinned African-

American defendants with more Caucasian features. J. Eberhardt, P.G. Davies, V.

J. Purdie-Vaughns, S.L. Johnson, Looking Deathworthy: Perceived Sterotypicality

of Black Defendants Predicts Capital-Sentencing Outcomes, 17 PSYCHOLOGICAL

SCIENCE 383 (Spring 2006).66 As Justices Breyer and Ginsburg observed in

Glossip, “racial and gender biases may, unfortunately, reflect deeply rooted

community biases (conscious or unconscious), which, despite their legal irrelevance,

may affect a jury's evaluation of mitigating evidence.” Glossip v. Gross, 135 S.Ct at

2763.

        At least one jurisdiction, upon recognizing the effect of race on its capital

punishment scheme, has found it unconstitutional. In State v. Gregory, 192

Wash.2d 1 (Wash. 2018), the Washington Supreme Court reviewed data on the



66See also Justin D. Levinson, Robert J. Smith & Danielle M. Young, Devaluing
Death: an Empirical Study of Implicit Racial Bias on Jury-Eligible Citizens in Six
Death Penalty States, 89 NEW YORK UNIVERSITY LAW REVIEW 513 (2014)
(study conducted on 445 jury-eligible citizens in six leading death penalty states
found that “jury-eligible citizens harbored two different kinds of the implicit racial
biases we tested: implicit racial stereotypes about Blacks and Whites generally, as
well as implicit associations between race and the value of life,” and that “death-
qualified jurors— those who expressed a willingness to consider imposing both a life
sentence and a death sentence—harbored stronger implicit and self-reported
(explicit) racial biases than excluded jurors.”); Mona Lynch and Craig Haney,
Mapping the Racial Bias of the White Male Capital Juror: Jury Composition and
the “Empathic Divide’’, 45 LAW & SOCIETY REVIEW 69, 91 (2011)(“[T]he white
male jurors in this study judged a black defendant whom they tended to view as
driven by the defendant’s own depraved predispositions, and as someone whose
criminal behavior they were reluctant to interpret as the product of the defendant’s
dysfunctional and psychologically damaging background.”).




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influence of race in that state’s administration of capital punishment that indicated

that capital cases “involving Black defendants were between 3.5 and 4.6 times as

likely to result in a death sentence as proceedings involving non-Black defendant.”

Gregory, 192 Wash. 2d at 19. The court found that “It is now apparent that

Washington’s death penalty is administered in an arbitrary and racially biased

manner.” Id. at 18–19 (2018). In light of that finding, the court held that “[t]he

arbitrary and race based imposition of the death penalty cannot withstand the

evolving standards of decency that mark the progress of a maturing society.” Id. at

23 (internal quotations and citations omitted). The opinion also noted that if

Washington’s death penalty had been imposed in an arbitrary and racially biased

manner, then “it logically follows that the death penalty fails to serve penological

goals.” Id. at 24.

      Mr. Bowers showing in this motion is sufficient to establish a prima facie case

of arbitrariness and invidious discrimination in the application of the federal death

penalty. See Sampson, 275 F. Supp. 2d at 89 (“If the sentences of similarly situated

defendants based on these three factors [the race of the defendant, the race of the

victim, and the geographic location of the prosecution] were so great as to make the

imposition of the death penalty arbitrary and capricious, the Eighth Amendment

would be violated. The first two factors, the race of the defendant and the race of

the victim, also implicate the Fifth Amendment's guarantee of equal protection of

the law.”) It defies logic and evidence to suggest that some factor other than racism

can explain the arbitrarily racially disproportionate manner in which the federal



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death penalty has been administered in terms those who are prosecuted and

sentenced. See Batson v. Kentucky, 476 U.S. 79, 93-94 (1986). There is “a clear

pattern, unexplainable on grounds other than race.” Arlington Heights v.

Metropolitan Housing Dev. Corp., 429 U.S. 252, 266 (1977).

      It is axiomatic that in our nation’s legal structure, “the core of the Fourteenth

Amendment is the prevention of meaningful and unjustified official distinctions

based on race.” Hunter v. Erickson, 393 U.S. 385, 391 (1969). As a federal

prosecution, the protections of the Due Process Clause of the Fifth Amendment,

which has long been held to embody a guarantee of equal protection, Bolling v.

Sharpe, 347 U.S. 497, 499 (1954), govern the proceedings. See Weinberger v.

Wisenfeld, 420 U.S. 636, 638 n.2 (1975) (“[Our] approach to Fifth Amendment equal

protection claims has . . . been precisely the same as to equal protection claims

under the Fourteenth Amendment.”) Racial discrimination in criminal proceedings

“strikes at the fundamental values of our judicial system and our society as a

whole.” Rose v. Mitchell, 443 U.S. 545, 556 (1979). This is the reason that the

Supreme Court “has consistently recognized [the strong policy] of combating racial

discrimination.” Id. at 558. The federal death penalty’s arbitrary racially

discriminatory administration directly violates that strong policy and the Fifth

Amendment equal protections in which it is rooted. For these reasons, Mr. Bowers

has standing pursuant to the Eighth Amendment and Fifth Amendment Due

Process Clause not to be prosecuted in a capital punishment system that is

unconstitutionally arbitrary.



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       The Eighth Amendment’s prohibition of the arbitrary use of the death

penalty imposes constitutional limitations on capital punishment that do not apply

to lesser punishments. See, e.g.,Woodson v. North Carolina, 428 U.S. 280 (1976)

and Roberts v. Louisiana, 428 U.S. 325 (1976) (mandatory death sentences – but not

other mandatory sentences – are unconstitutional); Lockett v. Ohio, 438 U.S. 586

(1978) (sentencer must be free to give “independent mitigating weight” to any fact

about the defendant or the offense, in a capital case); Bullington v. Missouri, 451

U.S. 430 (1981) (imposition of a death sentence after reversal of a sentence of life

imprisonment is unconstitutional, although there is no similar per se ban on

harsher sentencing on retrials of other criminal cases); Turner v. Murray, 476 U.S.

28 (1986) (capital defendants in interracial murders – but not non-capital murder

defendants – are automatically entitled to have potential jurors questioned about

the effects of possible racial biases).

       Furthermore, Furman was clear and explicit in its condemnation of

arbitrariness in the form of racial discrimination. All of the justices concurred on

that point. See Furman, 408 U.S. at 157, 255 (Douglas, J.) (the capital statutes at

issue were “pregnant with discrimination,” and thus ran directly counter to “the

desire for equality . . . reflected in the ban against `cruel and unusual punishments`

contained in the Eighth Amendment.”); Id. at 310 (Stewart,J., concurring in

judgment) (“if any basis can be discerned for the selection of these few sentenced to

die, it is the constitutionally impermissible basis of race.”); See id. at 364-65

(Marshall, J., concurring) (“capital punishment is imposed discriminatorily against



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certain identifiable classes of people. . . . Indeed, a look at the bare statistics

regarding executions is enough to [make] immediately apparent that Negroes were

executed far more often than whites in proportion to their percentage of the

population.”); Id. at 389 n.12 (Burger, C.J. dissenting) (“If a statute that authorizes

the discretionary imposition of a particular penalty for a particular crime is used

primarily against defendants of a certain race, and if the pattern of use can be fairly

explained only by reference to the race of the defendants, the Equal Protection

Clause of the Fourteenth Amendment forbids continued enforcement of that statute

in its existing form.”); Id. at 449-50 (Powell, J., dissenting). The Court has adhered

to that interpretation in subsequent cases. See, e.g., Zant v. Stephens, 462 U.S. at

885 (Furman would be violated if a state based its capital sentencing on “factors

that are constitutionally impermissible or totally irrelevant to the sentencing

process, such as . . . the race . . . of the defendant.”).

       These two points – that the Eighth Amendment arbitrariness prohibition

imposes unique restrictions on the use of the death penalty and arbitrariness based

on race violates the Constitution – are the crux of this argument: The Cruel and

Unusual Punishments Clause of the Eighth Amendment imposes a constitutional

prohibition against racial discrimination in the use of the death penalty that is at

least as strict as the general proscription of racial and gender discrimination in the

(implicit) equal protection clause of the Fifth Amendment. Accord Graham v.

Collins, 506 U.S. 461, 484 (1993) (Thomas, J., concurring) (racial prejudice or bias

in the context of capital punishment “is the paradigmatic capricious and irrational



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sentencing factor.”). Where the death penalty is administered in a manner that is

demonstrably racially disparate and there is no acceptable explanation for that

disparity, it contravenes the constitutional concerns that underlay Furman’s

striking down of capital punishment.

                          (b)    The effect of gender of defendant, and of race and
                                 gender of victim in the application of the FDPA.

      It cannot be disputed that the Constitution would not abide a capital

punishment scheme that explicitly provided, through aggravating factors, that the

death penalty is more appropriate where the defendant is a male, or where the

victim is white. So, then, where a the procedure of selecting offenders to be put to

death – through authorizing a capital prosecution, composing a jury, and

submitting the question of sentence to the jury – consistently obtains that very

result, even if only through unconscious prejudices of the actors in the process,

neither can the Constitution tolerate that system. Research by state agencies and

legal academicians repeatedly shows that defendants charged with killing a White

person are more likely to face a sentence of death and to be sentenced to death than

those who kill members of minority groups.

      A race-of-victim effect has been repeatedly found to be present in capital

prosecutions, including the federal system.67 See Glossip, 135 S.Ct. at 2760 (Breyer,



67For a comprehensive discussion of the white-victim effect, see D. Baldus and G.
Woolworth, Race Discrimination and the Legitimacy of Capital Punishment:
Reflections on the Interaction of Fact and Perception, 53 DEPAUL L. REV. 1411,
1423-1428 (2004). Utilizing statistics current at the time of the study, the authors
noted that the nation-wide average for execution of those who killed whites was in
the 83% range, while whites were victims of murder in only approximately 45% of
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J., dissenting) (“Numerous studies have concluded that individuals accused of

murdering white victims, as opposed to other black or minority victims, are more

likely to receive a death penalty.”)68 Recent studies also have begun to demonstrate

that there is a gender-based capriciousness to death sentences as well, whereby

those who are guilty of murdering White females are substantially more likely to

face the death penalty and be sentenced to death than those who kill a woman of

color or a man. This is further evidence of the arbitrary, capricious and biased

nature of the death penalty.

      Research commissioned by the governments of California, Maryland,

Nebraska and Illinois has consistently found that defendants convicted of killing

white victims are more frequently sentenced to death than defendants convicted of

killing non-white victims. See Maryland Commission on Capital Punishment: Final




such cases. Id. at 1423. See also, K. McNally, Race and the Federal Death Penalty:
A Non-Existent Problem Gets Worse, 53 DEPAUL L. REV. 1615, 1623-24
(2004)(“Between January 27, 1995 and July 20, 2000, Attorney General Reno's
approval rate for capital prosecutions was .37 (61/167) in white-victim cases and .21
(81/383) in minority-victim cases-a 16 percentage point difference that is
statistically significant at the .001 level.”); Id. at 1626 (“Under Attorney General
Ashcroft, the probability of being targeted for a capital prosecution are: 34% (38 of
112) if the defendant is accused of killing a white victim . . . but only 24% (64 of 267)
if the defendant is charged with killing a nonwhite victim.”).
68Citing GAO, Report to the Senate and House Committees on the Judiciary: Death
Penalty Sentencing 5 (GAO/GGD–90–57, 1990) (82% of the 28 studies conducted
between 1972 and 1990 found that race of victim influences capital murder charge
or death sentence, a “finding. . . remarkably consistent across data sets, states, data
collection methods, and analytic techniques”); Shatz & Dalton, Challenging the
Death Penalty with Statistics: Furman, McCleskey, and a Single County Case
Study, 34 Cardozo L. Rev. 1227, 1245–1251 (2013) (same conclusion drawn from 20
plus studies conducted between 1990 and 2013).).

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Report To the General Assembly (2008), Ex. C at 10 (“The evidence shows that the

troublesome factor of race plays a dominant role in the administration of the death

penalty in Maryland. Research [] showed that cases in which an African-American

offender killed a Caucasian victim are almost two and a half times more likely to

have death imposed than in cases where a Caucasian offender killed a Caucasian

victim.”); State of Illinois, Report of the Governor’s Commission on Capital

Punishment (2002), Ex. D at 196 (“When certain facts in aggravation, such as

previous criminal history of the defendant, are controlled for, there is evidence that

the race of the victim influences who is sentenced to death. In other words,

defendants of any race who murder white victims are more likely to receive a death

sentence than those who murdered black victims.”) (emphasis in original); State

Bar of New Mexico, Task Force on the Administration of the Death Penalty in New

Mexico: Final Report (2004), Ex. E at 13 (studies in other states “have found that

the race of the defendant and the race of the victim affect to a significant degree

whether a particular defendant convicted of first-degree murder will be sentenced to

die.”)

         Private studies of state capital schemes also have uniformly reported a

significant race-of-victim effect. See, e.g., Marcia Wilson, The Application of the

Death Penalty in New Mexico, July 1979 Through December 2007: an Empirical

Analysis, 38 N.M. L. REV. 255, 260 (2009) (“The data strongly suggest that the race

and ethnicity of the victims and the defendants affected the determination of who

would live and who would die.”); Pierce and Radelet, Death Sentencing in East



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Baton Rouge Parish, 1990-2008, 71 LOUISIANA LAW REV. 671 (2011) (In

Louisiana, the odds of a death sentence were 97 % higher for those whose victim

was white than for those whose victim was black.); G. Ben Cohen. & Robert J.

Smith, The Racial Geography of the Federal Death Penalty, 85 WASHINGTON

LAW REV. 425, 428 (2010) (“Statistics suggest that defendants are more likely to be

sentenced to death for killing a white victim than a black victim.”); R. Paternoster,

G. Pierce, & M. Radelet, Race and Death Sentencing in Georgia, 1989-1998, in

American Bar Association, Evaluating Fairness And Accuracy In State Death

Penalty Systems: The Georgia Death Penalty Assessment Report,” (with respect to

capital prosecutions in Georgia, “[t]he data show that among all homicides with

known suspects, those suspected of killing whites are 4.56 times as likely to be

sentenced to death as those who are suspected of killing blacks”); Andrew Welsh-

Huggins, Death Penalty Unequal - Study: Race, Geography Can Make a Difference,

The Cincinnati Enquirer (May 7, 2005) (analysis of death penalty verdicts in the

state of Ohio from 1981 to 2002 reveals that “[o]ffenders facing a death penalty

charge for killing a white person were twice as likely to go to death row [compared

to those charged with having] killed a black victim. Death sentences were handed

down in 18 percent of cases in which the victims were white, compared with 8.5

percent of cases when victims were black”); G.L. Pierce & M. Radelet, The Impact of

Legally Inappropriate Factors on Death Sentencing in California Homicides, 46

SANTA CLARA L. REV. 1 (2005), noting that the killers of whites were over three




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times more likely to be sentenced to death than those who killed blacks and 4 times

as likely than those who killed Latinos.

      Not surprisingly, the studies of the operation of the federal death penalty

system replicate the race of victim findings of the state court studies. 69 As

discussed, the report by Federal Death Penalty Resource Counsel Kevin McNally,

Race and the Federal Death Penalty: A Non-Existent Problem Gets Worse, was one

of the first studies to report a significant race of victim effect in federal death

penalty cases. McNally noted that in 2004 “The persistent presence of statistical

disparity not only continues, it is getting worse.” Id. at 1616. The current situation

is documented in Mr. McNally’s Declaration:

      Since 2000, in a grossly disproportionate number of cases, juries have
      imposed the death penalty when the victim was a white female. As of
      December 17, 2019, white female victim cases constituted 38% (24 of
      63) of federal death row but only 5% (182 of 3354) of the available pool
      of potential defendants since the year 2000. Moreover, 42% (27 of 64) of

69 Contrary to all of the studies discussed in this section, one study purported to find
no race of victim effect in the federal death penalty system. See Rand Corporation,
Race and the Decision to Seek the Death Penalty in Federal Cases (2006), available
at
http://www.rand.org/content/dam/rand/pubs/technical_reports/2006/RAND_TR389
.pdf . The study itself, based on data from 1995-2000, notes that the authors “agreed
that their analytic methods cannot provide definitiveanswers about race effects in
death-penalty cases”, that “[r]esults could be different with other variables,
methods, and cases”, and that “[e]xtrapolating beyond the data we analyzed here to
other years, other defendants, other points in the decisionmaking process, or other
jurisdictions would be even more problematic.” Id. Commenting on this study in
2009, Senator Feingold, in support of his bill to abolish the Federal Death Penalty
Act, pointed out that “the long anticipated study did not address the root question
about the application of the Federal Death Penalty: it did not study the decison-
making process for bringing defendants into the Federal system in the first place.
Of course this study only covers 1995-2000. So we still have very little information
about racial disparities from 2001 forward.” 115 Congressional Record-Senate 8071-
72 (May 19, 2009).

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        all death sentences between 2000 and 2019 have involved white female
        victims. This is many times greater than one would expect given the
        pool of white female victim cases.

Ex. H at 6.

        As of October 2019, 38 of the 62 people currently on federal death row – 60%

– were convicted of killing a white person. Twenty-four of them, 38%, killed a white

female.70

        In combination, these studies all demonstrate that “[d]eath row’s racial

disparity [] is not the result of race-neutral application of the death penalty or a

perverse form of affirmative action to favor black defendants. Rather, a racial

hierarchy clearly exists among cases based upon who the victim is.” See J. Blume,

T. Eisenberg, and M. T. Wells, Explaining Death Row’s Population and Racial

Composition, 1 JOURNAL OF EMPIRICAL LEGAL STUDIES 1, 167 (March 2004).

        The evidence of a victim-gender bias in imposition of death sentences should

not be mistook for a recent development or a matter of the “modern” death penalty.

Almost 60 years ago, Justice Marshall addressed this very matter in Furman.

“There is . . . overwhelming evidence that the death penalty is employed against

men and not women . . . . It is difficult to understand why women have received

such favored treatment since the purposes allegedly served by capital punishment

seemingly are equally applicable to both sexes.” Furman, 408 U.S. at 365


70   Federal Death Penalty Capital Resource Counsel website, available at
https://fdprc.capdefnet.org/doj-activity/statistics/current-statistics-re-use-of-federal-
death-penalty-february-2017 (last visited Dec. 14, 2019).



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(Marshall, J., concurring). Forty-five years after that, the dissenting justices in

Glossip noted, “many . . . studies have found that the gender of the defendant or the

gender of the victim makes a not-otherwise-warranted difference.” 71 Glossip, 135

S.Ct. at 2761. Thus, in continuing to permit the death penalty as a punishment, the

United States, individually in those jurisdictions with capital punishment and

collectively through the federal government, has perpetuated a known bias in the

sentencing process – and by corollary, executing people – even where that bias

offends the Constitution.

      Since the federal death penalty was reinstated in 1988, of the 530 cases

authorized for federal capital prosecution, only nine were women: Kristen Gilbert

(D. MA), No. CR No. 98-30044-MAP; Angela Johnson (N.D. Iowa), No. 3:01-CR-

03046-MWB; Donna Moonda (N.D. OH), No. 1:06-CR-00395-DDD; Valerie Friend

(S.D. WV), No. CR-2:05-00107; Tamara Llamas (E.D.N.C.), No. CR No. 7:97-CR-63-

1-H; Lorie Ann Taylor-Keller; Barbara Brown (N.D.WVa), No. CR No. 1:98CR34;

Janette A. Able (N.D.W.V), No. CR No. 1:98CR34; and Lisa Montgomery (W.D.



71 Citing the “many studies” discussed in the Shatz & Dalton article at page 1251-
53. One of the studies on this issue referenced in the Shatz & Dalton article cited in
Glossip is Victor L. Streib, Rare and Inconsistent: The Death Penalty for Women, 33
FORDHAM URB. L.J. 609, 621–22 (2006). Streib, who has tracked the issue for
many years, reports that, in terms of raw numbers, women homicide defendants
receive more favorable treatment at each stage of the criminal process, so that,
although women constitute 10% of those arrested for murder, they constitute only
2% of those sentenced to death at trial, and only 1% of those actually executed. See
also, Steven F. Shatz & Naomi R. Shatz, Chivalry Is Not Dead: Murder, Gender,
and the Death Penalty, 27 BERKELEY J. GENDER L. & JUST. 64 (2012) (while
women constituted 5.3% of defendants convicted of first-degree murder and death-
eligible, they constituted only 1.2% of those sentenced to death.)

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MO), No. 5:05-CR-06002-GAF. All but Montgomery achieved a life sentence,

making her the one woman out of 63 people on federal death row.

      Although the victim’s race as a determinant – albeit social, not statutory – in

death sentencing outcomes has been discussed least since Furman, the question of

whether and if so how the combined effects of victim race and victim gender

improperly skew sentencing outcomes in capital cases has only recently gained the

attention of researchers. Accord Glossip, 1356 S.Ct. at 2761. Within the last

decade, three empirical studies drawing on state court data from Colorado, Georgia,

and Ohio, examined the joint effects of victim race and gender in capital

prosecutions. Each found that defendants were treated most harshly when a white

female victim was present.

      The Colorado study examined prosecutors’ decisions to seek the death

penalty after conviction, while Georgia and Ohio studies looked at capital

sentencing outcomes. In their analysis of Colorado death penalty cases spanning

the two decades from 1980 to 1999, researchers found that prosecutors were more

likely to seek the death penalty in cases involving white, female victims than they

were in cases involving victims of any other race/gender combination. See Hindson,

Potter and Radelet, Race, Gender, Region and Death Sentencing in Colorado, 1980-

1999, 77 COL. L. REV. 549 (2006). The authors determined that in Colorado the

death penalty was sought for defendants who kill white females “at a rate much

higher than it is sought for any other victims. White females, who account for only

17.9 percent of all homicide victims, make up 34.5 percent of victims in death



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penalty cases. Thus, death sentences are pursued against those who kill white

women at almost twice the rate as their rate of homicide victimization.” Id. at 577.

       In 2004 a research group published findings that death sentences in Ohio

were a product of a strong association between one victim race-gender group –

white female victims – and the imposition of a death sentence. Holcomb, Williams,

DeMuth, White Female Victims and Death Penalty Research, 21 Justice Quarterly

877-902 (2004). Three years earlier, the same group published its analysis of state

court data from Georgia cases in the 1970’s. Williams, DeMuth and Holcomb,

Understanding the Influence of Victim Gender in Death Penalty Cases: The

Importance of Victim Race, Sex-Related Victimization and Jury Decision Making,

45 CRIMINOLOGY 4, 865 (2007). The data indicated that defendants convicted of

murdering females are more likely to receive a death sentence than defendants who

murder males, and, more narrowly “that large differences exist in the likelihood of

receiving a death sentence when the variables ‘victim race’ and ‘victim gender’ are

considered jointly. Cases that involve white female victims are treated the most

harshly . . . .” Id. at 885.

       The defendants inUnited States v. Valerie Friend and George Lecco , 05-cr-

00107 (S.D.WVa.), faced capital prosecution for the murder of a white woman. They

moved the court to bar the death penalty on the basis of an asserted arbitrary and

discriminatory victim-related race and gender effect. Their motion relied on an

expert statistician’s analysis of 400 authorized federal capital cases that determined

that defendants in federal capital cases whose victims were white females were



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more than three times as likely to be sentenced to death than other federal capital

defendants. See Ex. F. The statistician concluded that the finding was “highly

statistically significant, systemic, and not the result of chance.” From 2000 to

December 2007, when the motion was filed,

       the Attorney General authorized capital prosecution in 56% of the cases that

        involved a White female victim and 22% of the cases that involved a White

        male victim, but only 18% of the cases that involved a victim of color;

       and 59% of death sentences from federal juries involved a White female,

        versus 29% for White men, and 11% for people of color.

Thus, the evidence in 2007 showed that it was effectively a greater offense under

the federal death penalty process to have killed a White female than it was to have

killed a person of color. That is arbitrariness, simple and plain.

        Accordingly, this Court should find that the existence of gender of defendant

discrimination, in combination with a “white female victim” effect renders the

federal death penalty unconstitutional. In the alternative, this Court should set

this motion for an evidentiary hearing and grant discovery, so that Mr. Bowers may

fully develop and present his claim.

        C.    Federal prosecutors’ discretion to charge a capital offense, seek death,
              accept or reject a plea, and charge aggravators is the source from
              which the endemic arbitrariness in the federal death penalty flows.

        The process of sentencing a person to death begins in the prosecutor’s office.

See William Schabas, The Death Penalty as Cruel Treatment and Torture: Capital

Punishment, 74 (1996) (discussing the effect of plea bargaining on arbitrariness in



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capital cases). The most determinative event in the process occurs when a

prosecutor decides what to charge and, if capital charges are brought, whether to

seek a death sentence or accept a plea in exchange for a lesser sentence. See

Elisabeth Semel, Reflections on Justice John Paul Stevens’s Concurring Opinion in

Baze v. Rees: A Fifth Gregg Justice Renounces Capital Punishment, 43 U.C. Davis

L. Rev. 783, 788 (2009).

        The problem of arbitrariness that prosecutorial discretion creates has been

examined by reform commissions. See Report and Recommendation on the

Administration of the Death Penalty in California, California Commission on the

Fair Administration of Justice, 102-04, JUNE 30, 2008 (finding “great variation in

the practices for charging special circumstances, a lack of racial diversity among the

individuals who made the decision, great variation in when the decision was made,

and significant variation in the involvement of the defense in the process.”)72;

Report of the Governor’s Comm. on Capital Punishment (April 15, 2002), supra; Ex.

D at 82 (noting criticisms that Illinois’ procedure “contains no standards elucidating

the criteria to be considered in determining whether or not to seek the death

penalty in a particular case.”).

        Although our legal system vests broad in prosecutors to selecting whom to

prosecute and what crimes to charge, “there are undoubtedly constitutional limits

upon its exercise.” Bordenkircher v. Hayes, 434 U.S. 357, 365 (1978). See Id. (such


72   Available at
https://digitalcommons.law.scu.edu/cgi/viewcontent.cgi?article=1000&context=ncipp
ubs (last visited Dec. 14, 2019).

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broad discretion “carries with it the potential for both individual and institutional

abuse.”). A person may not be prosecuted “based upon an unjustifiable standard

such as race, religion, or other arbitrary classification.” Id. at 364 (emphasis

added). Where there is a claim of selective prosecution, it will be judged according

to ordinary equal protection standards. Wayte v. United States, 470 U.S. 598, 608

(1985). This problem has not gone unnoticed in the courts in the years since Gregg.

      Justice Brennan articulated exactly the problem that prosecutorial discretion

creates in the capital punishment context. In DeGarmo v. Texas, 474 U.S. 973

(1985) (Brennan and Marshall, JJ., dissenting from denial of certiorari), the

petitioner, with a female co-defendant, had kidnapped and murdered a young

woman. The prosecutor sought and obtained a death sentence for DeGarmo, while

his co-defendant, who was equally culpable, was sentenced to only 10 years’

deferred probation. The Court denied DeGarmo’s petition, but Justice Brennan,

joined by Justice Marshall, dissented. “This case,” wrote Justice Brennan,

“demonstrates just one way in which capital sentencing schemes have failed to

eliminate arbitrariness in the choice of who is put to death. . . . This gross disparity

in treatment [between DeGarmo and his co-defendant] is solely a product of the

prosecutor’s unfettered discretion to choose who will be put in jeopardy of life and

who will not.” DeGarmo, 474 U.S. 973, 974.

      [T]his disparity in treatment highlights the utter failure of the
      elaborate sentencing schemes approved by the Court in Gregg and its
      companion cases to meaningfully limit the arbitrary infliction of death
      []. When Gregg was decided several Members of the Court expressed
      the belief that channeling juror discretion would minimize the risk
      that the death penalty would be imposed on a capriciously selected

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       group of offenders, thereby making it unnecessary to channel
       discretion at earlier stages in the criminal justice system. But
       discrimination and arbitrariness at an earlier point in the selection
       process nullify the value of later controls on the jury. The selection
       process for the imposition of the death penalty does not begin at trial;
       it begins in the prosecutor’s office. His decision whether or not to seek
       capital punishment is no less important than the jury’s. Just like the
       jury, then, where death is the consequence, the prosecutor’s discretion
       must be suitably directed and limited so as to minimize the risk of
       wholly arbitrary and capricious action.

              Instead, the decisions whether to prosecute, what offense to
       prosecute, whether to plea bargain or not to negotiate at all are made
       at the unbridled discretion of individual prosecutors. . . . [I]f the price
       of prosecutorial independence is the freedom to impose death in an
       arbitrary, freakish, or discriminatory manner, it is a price the Eighth
       Amendment will not tolerate.

Id. at 475-476 (citations and quotations omitted) (emphasis added).

       Twenty years later, a judge of the Ninth Circuit Court of Appeals resurrected

Justice Brennan’s concern and concluded that “[a]s long as a prosecutor’s discretion

in seeking the ultimate penalty-death-remains thus unbridled, the administration

of the death penalty in the United States will violate the guarantees of due process

and freedom from cruel and unusual punishment enshrined in the Constitution.”

Morris v. Ylst, 447 F.3d 735, 746 (9th Cir. 2006) (Ferguson J., concurring). He went

on,

       In the years since Furman, legislatures and courts have struggled to
       meet this daunting challenge, yet “the death penalty remains fraught
       with arbitrariness, discrimination, caprice, and mistake.”. The
       problems today are not identical to those of thirty years ago. Rather,
       those problems that were originally pursued down one hole with
       procedural rules and verbal formulas have come to the surface
       somewhere else, just as virulent and pernicious as they were in their
       original form. Even as the courts have tried to limit the jury’s
       discretion to impose the death penalty, discrimination and



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      arbitrariness at an earlier point in the selection process nullify the
      value of later controls on the jury.”

             Here, the prosecutor’s unbridled discretion to single out Morris
      for prosecution under the death penalty, when the guilt is equally
      spread among his co-defendants, is a rank example of arbitrariness at
      an earlier point in the selection process. . . . Such arbitrariness in the
      administration of the death penalty violates the Eighth Amendment
      and the Due Process Clause.

Id. at 747 (quotations and citations omitted). Thus, the caprice laid out above of

who is authorized, who is permitted to plead guilty for a life-without-parole

sentence, and who is ultimately sent to death row stems exclusively from the office

of the prosecutor.

      Nevertheless, notwithstanding these judicial acknowledgments of the

connection between prosecutorial discretion and the arbitrariness of death

sentences and executions, this Court’s power to encroach on that discretion is

limited, at best. In United States v. Redondo-Lemos, 955 F.2d 1296 (9th Cir.1992),

overruled en banc on other grounds by United States v. Armstrong, 48 F.3d 1508

(9th Cir.1995), rev’d, 517 U.S. 456 (1996), the Ninth Circuit distinguished between

the general right “not to have charging or plea bargaining decisions made in an

arbitrary or capricious manner” and a specific claim that prosecutorial decisions

were made on the basis of sex, race, religion, or similar characteristics. The latter

case would raise both Due Process and Equal Protection problems and so would

permit a judicial inquiry into whether protected classes of people were being treated

differently. Id. at 1301 (citing Wayte v. United States, 470 U.S. 595, 608 (1985);

Bordenkircher, 434 U.S. at 364; Oyler v. Boles, 368 U.S. 448, 456 (1962)).


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However, where an exercise of prosecutorial discretion is arbitrary but there is no

hint of class-based discrimination, the Redondo-Lemos majority ruled that there

was no judicial remedy available to a defendant-even while acknowledging that

such an arbitrary exercise of power would be a Due Process violation. Id. at 1300.

This result was justified on separation-of-powers grounds: for a court to inquire

into a prosecutor’s decision-making processes would entangle them “in the core

decisions of another branch of government.” Id.

      At least one court has over-ridden a prosecutor’s decision, striking a notice of

intent to seek the death penalty. United States v. Littrell, 478 F. Supp. 2d 1179

(C.D. Cal. 2007). The court found that in light of the government’s actions with

respect to other co-defendants “it is clear that no rational decision-maker would

continue to seek to execute Gary Joe Littrell. Accordingly, the Government’s

continued intention to seek the death penalty is arbitrary and capricious, and must

be stricken.” Littrell, 478 F. Supp. 2d at 1192. See also id. 1179 (“It is vital to the

constitutional protections of due process and to the moral authority of the

Government . . . that the decision to seek death is neither arbitrary and capricious

nor wholly divorced from reason.”). The court found its authority for to intervene in

the government’s decision to seek death in Furman’s prohibition on arbitrary and

capricious jury decision-making.

      Furman mandates that where discretion is afforded a sentencing body
      on a matter so grave as the determination of whether a human life
      should be taken or spared, that discretion must be suitably directed
      and limited so as to minimize the risk of wholly arbitrary and
      capricious action. Furman and its progeny are concerned solely with
      the imposition of the death penalty by the judge or jury. The cases

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       make no comment on the breadth of the discretion afforded to the
       Government to seek the death penalty against a particular defendant.
       However, it would be fundamentally inconsistent with the
       constitutional prohibition on the arbitrary imposition of the death
       penalty to say that an arbitrary decision to seek the death penalty is
       constitutionally permissible. The Fifth Amendment requires that every
       aspect of the process by which the Government seeks to put a
       defendant to death is consistent with due process of law. At a bare
       minimum, the protections of the Fifth Amendment must guarantee
       that the Government’s decision to seek the death penalty is rational.
       When the Government’s decision to seek death is wholly divorced from
       reason and arbitrarily disregards the totality of the relevant evidence,
       a capital prosecution based on that decision would be repugnant to the
       Constitution.

Id. at 1186-1187 (emphasis in original). Few courts, however, have been willing to

follow suit. See, e.g., United States v. Cooya, No. 4:08-CR-70, 2011 WL 3608611, at

*3 (M.D. Pa., Aug. 16, 2011) (Littrell “appears to be in direct contrast to every other

decision, including United States Supreme Court decisions” on the issue.”)

(collecting cases).

       Thus, prosecutorial discretion in the charging of federal capital cases that is

the seed of arbitrariness in the federal death penalty remains unchecked. See

Santiago, 318 Conn. at 25 (“As currently construed, then, the federal constitution

simultaneously requires that states narrowly limit and carefully define which

offenders are eligible for capital punishment, while, paradoxically, also giving

prosecutors [] virtually unfettered discretion in whether actually to charge

defendants with capital crimes [].”). This rest of the arbitrariness that arises all

stems from this point – whether to accept a guilty plea for a lesser sentence, what

aggravators to charge, teeing up the sentencing decision to go to a jury, all of which,

in turn, produces the inconsistent, unpredictable, and inexplicable variation among

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federal capital cases in the examples given above. See id. at 114 (“these critiques

are well founded and [] the opportunity for the exercise of unfettered discretion at

key decision points in the process has meant that the ultimate punishment has not

been reserved for the worst of the worst offenders.”).

      Where prosecutorial discretion has been identified as the genesis of the

arbitrariness in the federal death penalty by all levels of federal courts, but those

same courts have recognized an inability to impinge on that discretion, this Court

should therefore hold that the FDPA has failed to eliminate arbitrariness in the

choice of who is put to death; that Eighth Amendment does not tolerate capricious

or wanton imposition of death sentences and execution for the sake of prosecutorial

autonomy; and where the law prohibits encroaching on a prosecutor’s discretion to

seek to execute a defendant,-the arbitrariness is unbounded, and, therefore, the

administration of the death penalty by the United States government violates the

Constitutional guarantee of due process and prohibition of cruel and unusual

punishment.

      D.      The inherent and necessary delays in federal prosecutions create a
              secondary, preliminary punishment of prolonged isolated incarceration
              and remove any execution so far in time from the offense to be
              punished that there is no deterrent effect to justify the execution.

      The Supreme Court has recognized that death as a punishment is

quintessentially different from any other by virtue of its finality. Woodson, 428

U.S. at 303. In view of this, the Court has required, and states and the federal

government have established, protective proceedings to assure a conviction and

sentence are constitutionally sound before a person is executed. While these

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protections are appropriate and should not be diminished, they have an unintended

and unavoidable effect that compounds the arbitrariness discussed above. Persons

convicted and sentenced to death are made to wait for years – often decades – in

solitary confinement conditions, which is a punishment unto itself, for an execution

that, if it does happen, has no deterrent value because of the time that has passed

since the offense.

             1.      Persons sentenced to death endure a separate punishment
                     before their execution by living in solitary confinement for years
                     awaiting an execution that may never come.

      The Eighth Amendment’s prohibition on cruel and unusual punishment

reaches beyond the arbitrary and capricious concerns of Furman and Gregg. Public

and institutional concerns over the accuracy and propriety of death sentences, and

the growing disfavor for capital punishment generally, have resulted in years of

delay between conviction to execution that was surely not foreseen or intended by

the majority in Gregg. This delay, in turn, imposes years of dehumanizing

incarceration on federal death row that compound the Eighth Amendment issues

created. See Glossip, 135 S. Ct. at 2764 (Breyer and Ginsburg, JJ., dissenting) (The

problems of reliability and unfairness almost inevitably lead to a third independent

constitutional problem: excessively long periods of time that individuals typically

spend on death row, alive but under sentence of death. That is to say, delay is in

part a problem that the Constitution’s own demands create . . . . [U]nless we

abandon the procedural requirements that assure fairness and reliability, we are

forced to confront the problem of increasingly lengthy delays in capital cases.”).



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        Two years ago, the average time between the imposition of a death sentence

and execution was almost 243 months, one short of twenty years. Ten years earlier,

the average was 153 months, and 20 years earlier the average was 86 months.73 It

is not unusual for a death sentence, if ever carried out, to be done so 25 years or

more years after the conviction. Glossip, 135 S. Ct. at 2764-65, (Breyer and

Ginsburg, JJ., dissenting)(citing sources).74 The five federal death row inmates had

been on death row for an average of almost 17 years.75

        These delays are unavoidable, “given the special need for reliability and

fairness in capital cases.” Id. at 2770-72 (citing examples where DNA evidence

exonerated defendants who otherwise would have been wrongly executed years

before but for the delays occasioned by necessary appellate and post-conviction

review). Accord Santiago, 318 Conn. at 93 n. 96 (“Delays, then, are indispensable if

the ultimate punishment is to be reliably applied, and, if the constitution did not

mandate such close scrutiny, the execution of innocent persons would inevitably

result.”). Justice Breyer described real-life cases in the Supreme Court where these




73   Available at https://deathpenaltyinfo.org/death-row/death-row-time-on-death-row
(last visited Dec. 14, 2019).
74See also Tr. Oral Argument, Hall v. Florida, Case # 12-10882, March 3, 2013, at
46 (Justice Kennedy pointing out that “the last ten people Florida has executed
have spent an average of 24.9 years on death row.”), available at
http://www.supremecourt.gov/oral_arguments/argument_transcripts/12-
10882_6kh7.pdf.
75Alfred Bourgeois and Dustin Honken were sentenced in 2004 (15 years); Daniel
Lee was sentenced in 2002 (17 years); Lezmond Mitchell was sentenced in 2003 (16
years); and Wes Purkey was sentenced in 1998 (21 years).

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lengthy delays have avoided unthinkable mistakes but the need to avoid sacrificing

reliability for swift execution was perhaps even more eloquently expressed by

Gordon (Randy) Steidl, who was exonerated after 17 years of incarceration, 12 of

which were on Illinois’ Death Row. See Hal Dardick, Inmates Free After 17 Years,

Chicago Tribune., May 29, 2004 (Metro), at 16. Testifying before Illinois legislators

some seven years after his release, Mr. Steidl pointed out: “If you want to kill John

Wayne Gacy, you have to kill me, as well.” See Rob Warden, How and Why Illinois

Abolished the Death Penalty, 30 L. & Inequality 245 (2012). Translation: the price

of a rush to execution increases the specter of irremediable miscarriage.

      Such prolonged delays create an Eighth Amendment whiplash effect.

Defendants sentenced to death are normally housed under severe, punitively

isolating conditions on death rows. Johnson v. Bredesen, 558 U.S. 1067, 1069

(2009) (statement of Stevens, J., respecting denial of certiorari) (after recounting

petitioner’s confinement in a solitary cell awaiting his execution for nearly 29 years:

“the delay itself subjects death row inmates to decades of especially severe,

dehumanizing conditions of confinement.”); accord Glossip, 135 S. Ct. at 2764-65

(Breyer and Ginsburg, JJ., dissenting). The result is that a person is effectively

being in solitary confinement for years and sometimes decades. See Davis v. Ayala,

135 S. Ct. 2187, 2208-2210 (2015) (“[I]f his confinement follows the usual pattern, it

is likely respondent has been held all or most of the past 20 years or more in a

windowless cell no larger than a typical parking spot for 23 hours a day; and in the




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one hour when he leaves he likely is allowed little or no opportunity for

conversation or interaction with anyone.”).

      The alarmingly deleterious consequences of prolonged solitary confinement

for mental health are clear. Justice Breyer observed that “[I]t is well documented

that such prolonged solitary confinement produces numerous deleterious harms.”

Glossip, 135 S. Ct. at 2765 (Breyer and Ginsburg, JJ., dissenting). 76 See also In re

Medley, 134 U.S. 160, 167-68 (1890) (describing psychiatric harm occasioned by

solitary confinement: “A considerable number of the prisoners fell, after even a

short confinement, into a semi-fatuous condition, from which it was next to

impossible to arouse them, and others became violently insane; others, still,

committed suicide . . .”). Kervin v. Barnes, 787 F.3d 833, 836 (7th Cir. 2015) (citing

studies documenting the “serious psychological consequences” of solitary

confinement).

      In the Fell hearing, Dr. Haney also testified to the issue of prolonged solitary

confinement on death row while awaiting execution or judicial relief. Ex. A at 23-

195. From his testimony and the evidence the court concluded that “the process of

holding prisoners for indefinite terms extending into decades in solitary



76Citing Haney, Mental Health Issues in Long–Term Solitary and “Supermax”
Confinement, 49 Crime & Delinquency 124, 130 (2003) (cataloguing studies finding
that solitary confinement can cause prisoners to experience “anxiety, panic, rage,
loss of control, paranoia, hallucinations, and self-mutilations,” among many other
symptoms); Grassian, Psychiatric Effects of Solitary Confinement, 22 Wash U. J. L.
& Policy 325, 331 (2006) (“[E]ven a few days of solitary confinement will predictably
shift the [brain’s] electroencephalogram (EEG) pattern toward an abnormal pattern
characteristic of stupor and delirium”).

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confinement is highly damaging. No persuasive evidence was offered that such

severe isolation was necessary for reasons of security or prison safety. It appears

instead that it is a long-standing practice – centuries old – to isolate condemned

criminals. . . . In the modern era, the practice of holding people in solitary

confinement under conditions of extreme solation has little apparent justification

[].” Fell, 224 F.Supp.3d. at 347.

      These persons are held under these conditions not because of any distinctive

feature of their crime or their character.77 It is simply because prisons have chosen

to house death row inmates in that manner. Thus, people sentenced to death will

serve a preliminary sentence of 15 years or more of the psychological duress of this

confinement in addition and as a condition precedent to their actual sentence.

Moreover, for those whose sentenced are converted to life, they have nonetheless

endure those conditions needlessly.

      Thus, the federal death penalty gives rise to a secondary Eighth Amendment

violation by the conditions in which those sentenced to die are held for years while

their sentence is litigated.




77All federal death row inmates are housed in solitary confinement – in a cell by
themselves unable to see anyone except persons who walk past their cell – for 23
hours a day, seven days a week. If a person does present a behavior problem or
danger, he is subjected to additional restrictions.

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             2.    The prolonged time that is necessary for review removes any
                   execution that does occur so far in time from the offense, that
                   there is no deterrent effect to killing the defendant, thus making
                   it gratuitous.

      The other consequence of the protracted time periods that are necessary for

capital cases to be processed and through appeal and §2255 post-conviction

proceedings is that, by the time a defendant is executed, so much time has passed

since the offense that the execution has no deterrent value at all. This means that

deterrence cannot be a justification for the federal death penalty. The two federal

cases that have gone to a death penalty in Pennsylvania are illustrative.

      David Hammer pleaded guilty in June 1998 to killing his cellmate in April

1996. His case may have actually been accelerated because he waived his appeal.

United States v. Hammer, 226 F.3d 229 (3d Cir. 2000).78 He then initiated post-

conviction pleadings wherein the district court determined that the government had

withheld exculpatory evidence from Hammer’s defense counsel in violation of

Brady v. Maryland, 373 U.S. 83 (1963), and ordered a re-sentencing. See United

States v. Hammer, 404 F.Supp.2d 676, 800–01 (M.D.Pa.2005). After further

litigation, Hammer was ultimately re-sentenced to life in prison without parole in

August 2014, 18 years after the offense (during which time he was held in the

solitary confinement of federal death row). Had the district court imposed a death

sentence again, further litigation would have been required, extending the delay to

any execution even more.


78The Third Circuit heard his case to determine whether Hammer could waive his
appeal.

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      In 2013, Kaboni Savage was sentenced to death in the Eastern District of

Pennsylvania for murders that took place in Philadelphia in October of 2004.79 The

Court of Appeals for the Third Circuit will hear oral argument in his direct appeal

on January 7, 2020 more. See United States v. Savage, No. 14-9003 (3d Cir.), Order

(Aug. 8, 2019). It is a reasonable estimate that the appellate court will not issue a

decision before June 2020, 16 years after the homicides of conviction. If the

conviction or sentence is reversed, the process will begin again. If it is affirmed, the

Hammer case demonstrates that post-conviction litigation could take 16 years, and

still not result in a final death sentence. That would mark 32 years since the

offense of conviction.80

      “The deterrent value of any punishment is, of course, related to the

promptness with which it is inflicted.” Coleman v. Balkcom, 451 U.S. 949, 952

(1981) (Stevens, J., concurring in the denial of certiorari); see also Gomez v. Fierro,

519 U.S. 918, 918 (1996) (Stevens, J., dissenting) (“[d]elay in the execution of

judgments imposing the death penalty frustrates the public interest in deterrence

and eviscerates the only rational justification for that type of punishment”);

Furman, 408 U.S. at 302 (Brennan, J., concurring) (“[a] rational person

contemplating a murder or rape is confronted, not with the certainty of a speedy



79  Savage was also convicted of murders as far back as 1998, 14 years before his
trial.
80It bears noting that resolution of post-conviction litigation does not yield an
immediate execution. For any number of reasons, that could be delayed for an
additional period of time.

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death, but with the slightest possibility that he will be executed in the distant

future”); Jones v. Chappell, 31 F.Supp.3d 1050, 1064 (C.D.Cal. 2014) (law and

common sense dictate that “long delays preceding execution frustrate whatever

deterrent effect the death penalty may have”); People v. Anderson, 6 Cal.3d 628,

652 (1972) (“capital punishment can have a significant deterrent effect only if the

punishment is swiftly and certainly exacted”); L. Powell, commentary, “Capital

Punishment,” 102 Harv. L.Rev. 1035, 1035 (1989) (“years of delay between

sentencing and execution . . . [undermine] the deterrent effect of capital punishment

and [reduce]public confidence in the criminal justice system”); Santiago, 218 Conn.

at 93 (“[T]he fact that one who commits the most heinous of crimes can expect to

spend decades in prison prior to any execution suggests that capital punishment

promises little if any deterrence over and above life imprisonment.”).

      Any notion that the unlikely prospect of being executed some 20 or more

years in the future provides more of a deterrent than the far more immediate

possibility of a definite sentence of life without parole is fanciful. As the Supreme

Court observed in Thompson v. Oklahoma, 487 U.S. 815, 837 (1988), the likelihood

that an offender engages in this kind of “cost-benefit analysis . . . is so remote as to

be virtually nonexistent.”81 See also Santiago, 318 Conn. at 99 (“[Another] reason

the death penalty has lost its retributive mooring in Connecticut is that the lengthy

if not interminable delays in carrying out capital sentences do not just undermine



81Thompson made that observation in the context of the deterrent effect of the
death penalty for juvenile offenders.

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the death penalty’s deterrent effect; they also spoil its capacity for satisfying

retribution.”); Jones v. Chappell, 31 F.Supp.3d at 1064. Conversely, the prospect of

an immediate and severe sentence of life-without-parole overwhelms any

conjectural notion that a possible death sentence 20 years after a crime will deter

could-be killers. See Roper, 543 U.S. at 572.

      Moreover, the Eighth Amendment restrains what can be done strictly in the

name of deterrence. A public flogging or drawing-and-quartering immediately upon

conviction broadcast on television and livestreamed on the internet could possibly

deter more homicides, but the nation’s evolved standards of decency would not

abide that. Accord Trop v. Dulles, 356 U.S. at 100.

      As the Connecticut Supreme Court observed in Santiago, 318 Conn. at 87-

103, decades-long delay also undermines the deterrence and retribution rationales

for capital punishment. “The penological justifications for the sentencing practice

are . . . relevant to the [Eighth Amendment] analysis. Graham v. Florida, 560 U.S.

at 71. Thompson v. McNeil, 556 U.S. 1114, 1115 (2009) (Statement of Stevens, J.,

respecting denial of certiorari) (“[D]elaying an execution does not further public

purposes of retribution and deterrence . . .”); Jones v. Chappell, 31 F.Supp.3d at

1053 (“[S]ystemic delay has made [most] execution[s] so unlikely that the death

sentence carefully and deliberately imposed by the jury has been quietly

transformed into one no rational jury or legislature could ever impose: life in prison,

with the remote possibility of death. As for the random few for whom execution does

become a reality, they will have languished for so long on Death Row that their



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execution will serve no retributive or deterrent purpose and will be arbitrary.”)

(emphasis in original).

      Moreover, to carry out an execution after decades have elapsed since the

offense also saps the retributive purpose from the punishment. With the passage of

so much time, the identity and feelings of both the community and offender may

change. The call for “swift justice” is more effectively fulfilled by a life-without-

parole sentence that is imposed immediately upon conviction far more than an

execution years after many family members may have passed or moved on. See,

e.g., Campbell Robertson, “She doesn’t want her daughter’s killer to be put to death.

Should the government listen?”, New York Times, Oct. 29, 201982 (mother of victim

disagrees with scheduled execution of federal death row inmate Daniel Lee); Adam

Tamburin, “Victim’s daughter seeks mercy from Gov. Bill Lee for death row inmate

Donnie Edward Johnson,” Nashville Tennessean, April 3, 201983 (daughter resists

execution of her father for killing her mother). Accord Valle v. Florida, 564 U.S.

1067 (2011) (Breyer, J., dissenting from the denial of stay of execution) (“I would

ask how often [the] community’s sense of retribution would forcefully insist [on] a

death that comes only several decades after the crime was committed”); Lackey v.

Texas, 514 U.S. 1045, 1045–46 (1995) (statement respecting the denial of certiorari)



82Available   at https://www.nytimes.com/2019/10/29/us/arkansas-federal-death-
penalty.html (last visited Dec. 15, 2019).
83 Available at https://www.tennessean.com/story/news/crime/2019/04/03/tennessee-
execution-victim-daughter-seeks-mercy-death-row-inmate-donnie-edward-
johnson/3345860002/ (last visited Dec. 15, 2019).

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(expressing doubt whether execution following extended imprisonment satisfies

state’s interest in retribution); Coleman v. Balkcom,, 451 U.S. at 960 (Rehnquist, J.,

dissenting from the denial of certiorari) (“[t]here can be little doubt that delay in the

enforcement of capital punishment frustrates the purpose of retribution”).

      The Eighth Amendment also touches on retribution. It forbids punishments

that are “cruel and unusual” regardless of proffered retribution justifications. The

Supreme Court is unanimous that punishments that intend to add “terror, pain, or

disgrace” are prohibited. Bucklew v. Precythe, 587 U.S. __, 139 S.Ct. 1112, 1124

(2019) (quoting Baze, 553 U.S. at 48 (2008)). See also Glossip, 135 S. Ct. 2726. The

retributive rational for punishment left unchecked by the Eighth Amendment

would permit public floggings or drawing and quartering. That is no longer who we

are as a nation. As Justice Kennedy observed in Kennedy v. Louisiana, which ruled

that the Constitution forbids execution for a non-homicide offense (rape of a child),

“It is [] retribution, that most often can contradict the law’s own ends. This is of

particular concern when the Court interprets the meaning of the Eighth

Amendment in capital cases. When the law punishes by death, it risks its own

sudden descent into brutality, transgressing the constitutional commitment to

decency and restraint.” 554 U.S. at 420.

      In sum, the lengthy delays that are inherent and even necessary to the death

penalty process pose two special constitutional conflicts. A lengthy delay “in and of

itself is especially cruel because it subjects death row inmates to decades of

especially severe, dehumanizing conditions of confinement.” Glossip, 135 S. Ct. at



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2765, (Breyer and Ginsburg, JJ., dissenting) (internal quotation omitted). And, too,

those delays undermine the death penalty’s penological rationale, perhaps

irreparably so.” Id. at 2767. “[L]lengthy delays both aggravate the cruelty of the

death penalty and undermine its jurisprudential rationale.” Id. at 2769. A death

penalty does not fulfill the goals of deterrence or retribution, “is nothing more than

the purposeless and needless imposition of pain and suffering, and hence an

unconstitutional punishment.” Atkins, 536 U.S. at 319.

      E.        Where the majority of States do not carry out executions, and a
                majority of Americans no longer support the death penalty, the
                evolving standards of decency that mark the progress of our nation’s
                maturation as a society have relegated capital punishment to history,
                and a few isolated jurisdictions that cannot be allowed to set the
                standard for the entire country.

      When Justice Breyer wrote his dissent in Glossip, he noted that the Eighth

Amendment “forbids punishments that are cruel and unusual,” and observed that

in the preceding year, only seven States had carried out an execution. Glossip, 135

S. Ct. at 2772 (Breyer and Ginsburg, JJ., dissenting)(emphasis in original) Though

the number of states carrying out executions is the same, the number of executions

this year was 22, versus 35 in the year that Justice Breyer observed. The

intervening years, 2015 to 2018, were marked by 28, 20, 23, and 25 executions,

respectively.

      The measure that informs the Eighth Amendment was not settled when it

was enacted. It has changed according to the “evolving standards of decency that




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mark the progress of a maturing society.”84 Thus, what was accepted forty-three

years ago is not foreclosed from re-examination today. Indeed, three of the justices

who joined the majority in Gregg publicly regretted their decision later in life. See

Callins v. Collins, 510 U.S. 1141, 1145 (1994) (Blackmun, J., dissenting from denial

of certiorari); John C. Jeffries, Jr., Justice Lewis F. Powell, Jr.: A Biography 451

(1994) (Quoting Justice Powell: “I have come to think that capital punishment

should be abolished.”); see generally John Paul Stevens, Six Amendments: How and

Why We Should Change the Constitution, 107-123 (2014); Semel, Reflections on

Justice John Paul Stevens’ Concurring Opinion in Baze v. Rees: A Fifth Gregg

Justice Renounces Capital Punishment, supra.

      The foregoing sections of this memorandum have laid out the arbitrary,

capricious, irrational, and invidious manner in which the federal death penalty

operates in practice. But not only is the death penalty cruel for its arbitrariness, it

is cruel for its rarity, i.e, its unusualness. Our nation has reached a point where the

federal death penalty does not comport with the trajectory of our societal values and

is therefore constitutionally “unusual” within the meaning of the Eighth

Amendment.

      Justice Breyer’s dissent in Glossip pointed to eleven specific developments to

support his conclusion that, in the two years leading up to the Glossip decision, the



84As pointed out above, the idea that the Eighth Amendment is not static has long
been a key element of Eighth Amendment analysis. See, e.g., Hall v. Florida, 134
S.Ct. 1986, 1992 (2014); Trop v. Dulles, 356 U.S. 86, 101 (1958) (plurality opinion);
Weems v. United States, 217 U.S. 349, 378 (1910).

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death penalty had become constitutionally “unusual.” What may have been

arguable then is clear now.

     1. The greatest indicia of society’s current rejection – or acceptance – of the

         death penalty may be its willingness to impose it where it is available.85 See

         Graham, 560 U.S. at 62 (“Actual sentencing practices are an important part

         of the [c]ourt’s inquiry into consensus.”). In 2015 Justice Breyer observed

         that the number of death sentences handed down each year had begun to

         decrease around 2000 and were continuing to do so as of the time he wrote

         his dissent. Id. at 2772-73; 2777 (Appendix A, graph showing number of

         death sentences from 1977-2014). In 1998, there were 295 death sentences;

         in the year before the Glossip decision, there were 74, a 75% decrease. This

         year there have been 33 death sentences imposed (1 was federal), an 89%

         decrease since 1998, and a 55% decrease since 2014. DPIC, “The Death

         Penalty in 2019: Year End Report.”86

     2. Justice Breyer also observed the downward trend in the number of

         executions per year. Id. at 2773, 2777 (Appendix B, graph showing



85As discussed, executions may occur decades after the death sentence is imposed.
Thus, a jurisdiction’s execution activity may more reflect its trial activity from years
before than the populace’s present perspective on capital punishment. The average
time between sentence and execution for people put to death this year was 21 years.
See Death Penalty Information Center, “Execution List 2019,” available at
https://deathpenaltyinfo.org/executions/2019 (last visited Dec. 17, 2019).
86Available at https://deathpenaltyinfo.org/facts-and-research/dpic-reports/dpic-
year-end-reports/the-death-penalty-in-2019-year-end-report (last visited Dec. 18,
2019).

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         executions from 1977–2014). In 1999 there were 98 executions; the next year

         that number fell by 13% to 85; and in 2014, there were 35 executions, a 64%

         drop from 1999. This year there were 22 executions, a 78% drop from 1999,

         and a 38% drop from 2014. See DPIC, “Fact Sheet.”87

      3. In 2015, when Justice Breyer issued his dissent in Glossip, 30 States had

         either formally abolished the death penalty or not conducted an execution in

         more than eight years. Glossip, 135 S.Ct. at 2773-74. There are now 32

         states plus the federal government, military, and District of Columbia that have not

         executed anyone in 10 years, and 38 states plus the three federal

         jurisdictions that have not had an execution since Glossip. DPIC, “States

         With No Recent Executions.”88 Five of the 20 States that have conducted an

         execution in the last 10 years have executed only one or two people (South

         Carolina, Louisiana, Delaware, Utah, Washington, Nebraska, Idaho). In the

         last eight years, no more than nine states have carried out an execution in

         any given year, only three states – Florida, Georgia, and Texas – have

         executed someone in each of the last 8 years, and since 2012 no more than 4




87   Available at
https://files.deathpenaltyinfo.org/documents/pdf/FactSheet.f1576162137.pdf (last
visited Dec. 17, 2019).
88Available at https://deathpenaltyinfo.org/executions/executions-overview/states-
with-no-recent-executions (last visited Dec. 18, 2019).

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         states each year have had three or more executions. DPIC, “Executions by

         State and Region Since 1976.”89

      4. Looking at the frequency, or rarity, of the death penalty at the granular level,

         Justice Breyer noted that the overwhelming majority of counties in the

         United States have not executed anyone. Between 1976 and 2007, there were

         no executions in 86% of America’s counties. Id. at 2774, 2779 (Appendix D).

         This year, only 19 counties, 1% of the all in the nation, had an execution.

         DPIC, “Executions by County (2019).”90

      5. Even more than the rates and percentages, it is “the consistency of the

         direction of change” that reflects that evolution of the standard of decency is

         on-going. Roper, 543 U.S. at 566. When Justice Breyer wrote his dissent,

         seven States had abolished the death penalty in the preceding decade.

         Glosssip, 135 S.Ct. at 2774-2775. In the past five years, three more have

         done so. There are now 21.91 DPIC, “State by State.”92 Eleven of the 29

         states that do have the death penalty have not executed anyone in ten years.



89   Available at https://deathpenaltyinfo.org/executions/executions-overview/number-
of-executions-by-state-and-region-since-1976 (last visited Dec. 17, 2019).
90Available at https://deathpenaltyinfo.org/executions/executions-
overview/executions-by-county (last visited Dec. 17, 2019).
91See also, Anna Staver, “Householder says legislature may dump Ohio’s death
penalty law,” The Columbus Dispatch, Dec. 19, 2019, available at
https://www.dispatch.com/news/20191219/householder-says-legislature-may-dump-
ohiorsquos-death-penalty-law (last visited Dec. 20, 2019).
92   Available at, https://deathpenaltyinfo.org/state-and-federal-info/state-by-state
(last visited Dec. 17, 2019).

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        DPIC, “Executions by State.” Perhaps most critically, in three of the four

        states where the governor has imposed a moratorium on executions, the

        people of those states have re-elected the governor one or more times since

        the Glossip decision.93 Thus, in 24 states, voters have expressed their consent

        to deactivating the death penalty.

     6. Today, as was the case five years ago when Justice Breyer called for the re-

        examination of capital punishment, the direction of the trend is almost

        singular. Glossip, 135 S.Ct. at 2775. Only one state in the last 25 years has

        enacted legislation to establish the death penalty; Nebraska voters did so by

        direct referendum after the legislature repealed it. DPIC, “State and Federal



93 In Oregon, Governor Kitzhaber, announced a moratorium in his first year in
office. See https://en.wikipedia.org/wiki/Capital_punishment_in_Oregon (last
visited Dec. 19, 2019). He was then re-elected in 2015, but resigned shortly
thereafter. See https://en.wikipedia.org/wiki/John_Kitzhaber (last visited Dec. 19,
2019). His successor Kate Brown announced she would keep the moratorium in
place, and she was then re-elected in a special election in 2016. See
https://en.wikipedia.org/wiki/Kate_Brown (Last visited Dec. 19, 2019). In May,
2013, then-Governor John Hickenlooper of Colorado imposed a moratorium. DPIC,
“Colorado Governor Indefinitely Stays Execution Over Concerns About Flawed
System.” Available at https://deathpenaltyinfo.org/news/colorado-governor-
indefinitely-stays-execution-over-concerns-about-flawed-system (last visited Dec.
19, 2019). He was re-elected in 2014.
https://en.wikipedia.org/wiki/John_Hickenlooper (last visited Dec. 19, 2019). Jared
Polis, who succeeded Hickenlooper in 2018, voiced his opposition to capital
punishment during his campaign and has committed to commuting the sentences of
the three men on Colorado’s death row if the legislature prospectively abolishes the
state’s death penalty. DPIC, “Colorado Governor Likely to Commute Death
Sentences if State Abolishes Death Penalty,” available at
https://deathpenaltyinfo.org/news/colorado-governor-likely-to-commute-death-
sentences-if-state-abolishes-death-penalty (last visited Dec. 19, 2019).
Pennsylvania Governor Tom Wolf declared a moratorium in 2015 and was re-
elected in 2018.

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         Info Nebraska.”94 Indeed, even in many States most associated with the

         death penalty, remarkable shifts have occurred. Texas, almost the sine qua

         non of the death penalty in the United States, has sentenced fewer than 10

         people to death in each of the last five years.95

         7.     Finally, when Justice Breyer wrote his dissent in Glossip in 2015, 60%

         of Americans favored the death penalty. Id. at 2775. This year, the Gallup

         poll that has tracked the preference for the death penalty versus life without

         parole since 1985 found that 60% of Americans preferred life without parole

         to a death sentence. DPIC, “Gallup Poll – For First Time, Majority of

         Americans Prefer Life Sentence to Capital Punishment.”96 See also Glossip,

         135 S.Ct. at at 2774, 2778 (Appendix C) (looking at percentage of U.S.

         population that lives in a State that had carried out an execution preceding

         three years and finding over 20 years it had fallen from 70% to 33%; this year

         it is 24%); at 2774 (looking at execution among the states in summary); at

         2776 (noting that the American Law Institute had withdrawn the capital

         punishment statute that was the basis for the statutes affirmed in Gregg

         from the Model Penal Code in part because of doubts that the American Law


94   Available at https://deathpenaltyinfo.org/state-and-federal-info/state-by-
state/nebraska (last visited Dec. 19, 2019).
95California has sentenced 10 or more people to death every year except 2018. But
California has had only 1 execution in the last 14 years and only 13 since Gregg.
See Jones v. Chappell, 31 F.Supp.3d 1050.
96   Available at https://deathpenaltyinfo.org/news/gallup-poll-for-first-time-majority-
of-americans-prefer-life-sentence-to-capital-punishment (last visited Dec. 19, 2019).

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      Institute could “recommend procedures that would” address concerns about

      the administration of the death penalty); at 2775-76 (noting that 95 of the

      193 members of the United Nations had formally abolished the death penalty

      only eight countries executed more than 10 individuals in 2013 – the United

      States, China, Iran, Iraq, Saudi Arabia, Somalia, Sudan, Yemen).

      Taken in summary, there have been fewer than 50 death sentences each year

for the last five years across 30 states and two federal jurisdictions that have the

death penalty; less than 1/10th of the states regularly conduct executions; voters in

24 states and the District of Columbia have consented to no executions; seven states

in the last 10 years have abolished the death penalty and none have enacted it. In

this country, the death penalty has become unusual. Furman, 408 U.S. at 311

(White, J., concurring) (executions could be so infrequently carried out that they

“would cease to be a credible deterrent or measurably to contribute to any other end

of punishment in the criminal justice system . . . when imposition of the penalty

reaches a certain degree of infrequency, it would be very doubtful that any existing

general need for retribution would be measurably satisfied”). See also Santiago, 318

Conn. at 78-86.

      While the fact that the death penalty has become unusual across the nation

informs whether the federal death penalty is unconstitutionally unusual, the

distinction that the federal death penalty has never been usual since its enactment

must be taken into account. As the court found in Fell “The federal experience is

not so much a decline in executions as it is a decision on the part of many decision-



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makers within the federal legal system never to begin.” Fell, 224 F.Supp.3d at 349.

The federal system has carried out three executions since 1988 from a pool of more

than 4,300 potential capital cases, a rate of .06%. There have been no executions in

the past 15 years. Over that same time span the average number of death sentences

per year has been 2.6. The federal government has authorized capital prosecutions

for only 13% of capital-eligible defendants to be prosecuted for a death sentence and

has prosecuted only 6% to a penalty phase (less than half of the number

authorized).

      To whatever extent such hyper-rarity may be regarded as a “norm,” given

that the federal death penalty is a national policy and therefore theoretically

standardized across the country, the geographic concentration of federal capital

prosecutions and sentences makes the reality that since 1988 effectively only three

states have had a federal death penalty.




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      Federal Death Sentences
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      The data in the preceding charts was compiled by the Federal Death Penalty

Resource Counsel Project. The trend of federal capital prosecutions and death

sentences plainly tracks the national trend. Between 2004 and 2005 53 defendants

were prosecuted and 15 death sentences were obtained (still less than 0.1% of

capital eligible). Between this year and last year there have been 4 trials and two

sentences.

      The Supreme Court’s consideration of state legislative trends in its decisions

that have restricted the imposition of the death penalty or other punishments under

the Eighth Amendment also instruct that death penalty, nationally, has become

cruel and unusual. See Roper, 543 U.S. at 565 (characterizing as “telling” that five

states had amended laws to prohibit execution of offenders younger than 18 since

decision in Stanford v. Kentucky, 492 U.S. 361 (1989) in ruling that executing

juvenile offenders violates the Eighth Amendment). See also Kennedy, 554 U.S. at

432 (considering state legislation in finding Eighth Amendment prohibits execution

for rape of a child). In Atkins v. Virginia, the Court noted that 16 states had

changed their position on executing intellectually disabled persons since the

decision in Penry v. Lynaugh, 492 U.S. 302 (1989) had found no bar. Accord Miller

132 S. Ct. at 2471 (holding that life without parole sentences for juveniles who

commit homicide violates the Eighth Amendment even where 28 states and the

Federal Government provided for life-without-parole sentences for some juveniles

convicted of murder); Obergefell v. Hodges, 135 S. Ct. 2584, 2615 (2015) (Roberts,

C.J., dissenting)(finding constitutional right of same-sex couples to marry even



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though the practice was sanctioned by the legislatures of only 11 states and the

District of Columbia). Moreover, the fact that “in the last two decades, no State

without a death penalty has passed legislation to reinstate the death penalty,”

Glossip at 2775 (Breyer, J., dissenting), “carries special force in light of the general

popularity of anticrime legislation.”

      And, while the Supreme Court looks to legislation or state government action

to discern the standard of decency for purposes of an Eighth Amendment inquiry,

where the legislative process is often influenced or controlled by issues that are

tangential or even entirely unrelated to a specific matter, public opinion polls offer

clear insight into what the current mindset of the nation is. As indicated above,

after more than 20 years of a majority of Americans preferring execution over life

without parole as a sentence for murder, and a brief period of equilibrium, that

percentage has now inverted. Two thirds of Americans favor life without possibility

of parole as a punishment for murder. There is additional evidence that public

support for the death penalty in this country is trending downwards. See DPIC,

“Gallup Poll – For First Time, Majority of Americans Prefer Life Sentence to

Capital Punishment,” supra.

      As noted above, while no Supreme Court justice has ever expressed regret or

second thoughts about having voted to strike down capital punishment, three have

publicly stated that they erred by not having done so when they had the chance. In

this vein, a marker of the condition of capital punishment of which this Court must

take heed is the number of former death penalty proponents who have changed



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their position either because of the financial costs of obtaining and enforcing death

sentences, the lack of any dispositive evidence that the death penalty deters

murder, the ever-increasing number of cases of people sentenced to death who are

subsequently proven innocent, or evolving moral standards on the value of life. See,

eg., DPIC, “New Position of National Association of Evangelicals Shows Cracks in

Death Penalty Support”97; “Retired Judges Support Death Row Inmate’s Appeal”98;

Former State and Federal Judges, Prosecutors, and Law Enforcement Officials and

Families of Murder Victims Urge Federal Government to Call Off Executions”99;

“More Than 250 Conservative Leaders Join Call to End Death Penalty”100 ;

“Prosecutors in Colorado and Nevada Call for Death-Penalty Repeal”101; “National

Think Tank Calls on Conservatives to Reject Death Penalty.”102 See also

“https://conservativesconcerned.org/ (last visited Dec. 19, 2019).



97   Available at https://deathpenaltyinfo.org/news/new-position-of-national-
association-of-evangelicals-shows-cracks-in-death-penalty-support (last visited Dec.
19, 2019).
98Available at https://deathpenaltyinfo.org/news/new-voices-retired-judges-support-
death-row-inmates-appeal (last visited Dec. 19, 2019).
99   Available at https://deathpenaltyinfo.org/news/former-state-and-federal-judges-
prosecutors-and-law-enforcement-officials-and-families-of-murder-victims-urge-
federal-government-to-call-off-executions (last visited Dec. 19, 2019).
100Available at https://deathpenaltyinfo.org/news/more-than-250-conservative-
leaders-join-call-to-end-death-penalty (last visited Dec. 19, 2019).
101   Available at https://deathpenaltyinfo.org/news/new-voices-prosecutors-in-
colorado-and-nevada-call-for-death-penalty-repeal (last visited Dec. 19, 2019).
102   Available at https://deathpenaltyinfo.org/news/national-think-tank-calls-on-
conservatives-to-reject-death-penalty (last visited Dec. 19, 2019).

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         The trend and the pattern is clear. The death penalty does not reflect a

national consensus. It is the choice of a steadily dwindling minority of jurisdictions,

prosecutors, and juries. Within the nation, it is patently unusual. This prompts

one to paraphrase former Secretary of State John Kerry: how do you tell a man he

will be the last person punished by a method known to be cruel and unusual?

         F.    The Doctrine of Stare Decisis

         The results of a half century’s experimentation demonstrate that the

hypothesis of Gregg has not proven to be true. Narrowing statutes and guided jury

discretion have not cured the arbitrariness that Furman found infected capital

punishment. It has simply hung that same arbitrariness – and now, in growing

response to that, a derivative unusualness – atop a structure of capital offenses and

aggravating and mitigating factors. Where this conclusion is supported by the

evidence, it is this Court’s role and authority to strike the death penalty in this

case.

         The doctrine of stare decisis does not limit this Court’s action. Indeed to

strike the death penalty would be legally sound where the principles articulated in

Gregg clearly have not been fulfilled. But more than that, where the interests of

justice implicate taking a person’s life, conflicts with the decisions of the Supreme

Court do not limit this Court’s powers.

         In his dissent in Glossip, Justice Breyer explained the role of the courts in

upholding the protections recognized in Furman and affirmed in Gregg to call for

judicial review of capital punishment.



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       The [] matters I have discussed, such as lack of reliability, the
       arbitrary application of a serious and irreversible punishment,
       individual suffering caused by long delays, and lack of penological
       purpose are quintessentially judicial matters. They concern the
       infliction – indeed the unfair, cruel, and unusual infliction—of a
       serious punishment upon an individual. I recognize that in 1972 this
       Court, in a sense, turned to Congress and the state legislatures in its
       search for standards that would increase the fairness and reliability of
       imposing a death penalty. The legislatures responded. But, in the last
       four decades, considerable evidence has accumulated that those
       responses have not worked.

       Thus we are left with a judicial responsibility. The Eighth
       Amendment sets forth the relevant law, and we must interpret that
       law. See Marbury v. Madison, 1 Cranch 137, 177, 2 L.Ed. 60 (1803);
       Hall, 572 U.S. at    , 134 S.Ct. at 2000 (“That exercise of independent
       judgment is the Court’s judicial duty”). We have made clear that “‘the
       Constitution contemplates that in the end our own judgment will be
       brought to bear on the question of the acceptability of the death
       penalty under the Eighth Amendment.’” Id. at , 134 S.Ct. at 1999
       (quoting Coker v. Georgia, 433 U.S. 584, 597, 97 S.Ct. 2861, 53 L.Ed.2d
       982 (1977) (plurality opinion)); [].

Glossip, 135 S.Ct. at 2776 (emphasis added).103 The federal court in Sampson

likewise recognized that it was the court’s role and duty to undertake a

constitutional review of the administration of the death penalty. There, the district

court judge explained that

       the Court has repeatedly held that courts must look to ‘evolving
       standards of decency that mark the progress of a maturing society’ in
       deciding whether the Eighth Amendment permits a particular
       punishment for a particular crime. Hall v. Florida, 134 S.Ct. 1986,

103A majority of the Court shares this view. See Obergefell v. Hodges, 135 S. Ct.
2584, 2605 (2015) (“[T]he freedom secured by the Constitution consists, in one of its
essential dimensions, of the right of the individual not to be injured by the unlawful
exercise of governmental power. Thus, when the rights of persons are violated, ‘the
Constitution requires redress by the courts,’ notwithstanding the more general
value of democratic decision-making. This holds true even when protecting
individual rights affects issues of the utmost importance and sensitivity.”) (internal
citations omitted).

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      1992 (2014) (quoting Trop v. Dulles, 356 U.S. 86, 101 (1958)); Roper v.
      Simmons, 543 U.S. 551, 560-61 (2005). The question of whether
      standards of decency have materially changed since the Supreme
      Court decided an issue is a factual question. See, e.g., Kansas v.
      Marsh, 548 U.S. 163, 207-11 (2006) (Souter, J., dissenting). Fact-
      finding is, in the first instance at least, typically done based on
      evidence presented in the district courts, where the adversary process
      operates to test that evidence and material disputes are decided by a
      trial judge or jury. See Sykes v. United States, 131 S.Ct. 2267, 2286
      (2011) (Scalia, J., dissenting); see also Allison Orr Larsen, The Trouble
      with Amicus Facts, 100 Va. L. Rev. 1757 (2014); Adam Liptak, Seeking
      Facts, Justices Settle for What Briefs Tell Them, N.Y. Times, Sept. 2,
      2014, at A10.

             Therefore, if there has been a material change in facts relevant
      to the evolving standards analysis – a question initially for the trial
      courts—an issue is not foreclosed by Supreme Court precedent because
      the Supreme Court has not decided the matter in dispute. Rather, the
      district court is deciding a distinguishable case and controversy. As
      this court wrote in 2003, when the Supreme Court held that the death
      penalty was not per se unconstitutional in Gregg v. Georgia, 428 U.S.
      153 (1976), “the Court also implicitly acknowledged that future
      developments might challenge the basis of its decision.” Sampson, 275
      F.Supp.2d at 72 (citing Gregg, 428 U.S. at 187). Accordingly, in
      evaluating Sampson’s 2014 challenges to the death penalty, the court
      has examined the alleged facts on which Sampson relies and decided
      whether they are significantly different than the facts in the cases in
      which the Supreme Court or the First Circuit decided the analogous
      issue. If there is no significant difference in the facts, this court must
      follow the higher court’s holdings. If there might be a significant
      difference in the proven facts, this court has both the authority and the
      obligation to decide whether new facts have been proven and, if so,
      whether they are material in the sense that they require a different
      conclusion.

United States v. Sampson, Cr. No. 01-10384-MLW, 2015 WL 6511247 at *4.

(emphasis added). See also id. at *8 (“The Supreme Court recently stated that it is

settled that capital punishment is constitutional. However, [] if there is proof that

the facts on which the Supreme Court decided an issue have materially changed,




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then the issue is not the same and prior decisions would not dictate the outcome.”).

Cf. Bucklew v. Precythe, __ U.S. __, 139 S. Ct. 1112, 1122 (2019)

(“The Constitution allows capital punishment. . . . [This] means that the judiciary

bears no license to end a debate reserved for the people and their representatives.”).

But see Furman (declaring capital punishment unconstitutional on Eighth

Amendment grounds).

      Indeed, noting that Gregg is “still the law of the land,” the court in Fell,

stopped “short [] of altering the holding in Gregg that the concerns expressed in

Furman that the penalty of death not be imposed in an arbitrary or capricious

manner can be met by a carefully drafted statute that ensures that he sentencing

authority is given adequate information and guidance.” Fell, 224 F.Supp.3d at 358.

But that ruling conflicts with the court’s characterization at the outset of its order

of the inquiry as “whether the constitutional requirements for a death penalty

statute set out in Gregg have been met in practice,” Id. at 329, and that in Gregg

the Supreme Court approved the statute reviewed “on grounds which one may fairly

call a priori rather than evidence based.” Id. at 357. Thus, the Court’s ruling in

Gregg was what results the statute was expected to produce, not what it had been

found to produce.

      Moreover, the doctrine of stare decisis is not an “inexorable command.”

Burnet v. Coronado Oil & Gas Co., 285 U.S. 393, 405 (1932) (Brandeis, J.,

dissenting), and a court may depart from the doctrine where there is “special

justification.” Arizona v. Rumsey, 467 U.S. 203, 212 (1984).



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      Such justifications include the advent of subsequent changes or
      development in the law that undermine a decision's rationale; the need
      to bring [a decision] into agreement with experience and with facts
      newly ascertained; and a showing that a particular precedent has
      become a detriment to coherence and consistency in the law.

Payne v. Tennessee, 501 U.S. 808, 849 (1991) (Marshall, J. dissenting) (citations

omitted). In The Supreme Court’s decision in Ramsey and Justice Marshall’s

dissent in Payne cited to other decisions wherein the Court had broken with its own

precedent. However, the opportunity to break with precedent if the conditions are

met are not limited to the Court.

      In the Third Circuit, however, those reasons apply to lower courts as well. In

United States v. Babich, 785 F.2d 415 (3d Cir. 1986), the defendant urged a claim

that had been decided to his detriment by the en banc court three years earlier.

The Court of Appeals concluded that there was “no argument, nor have we been

furnished empirical data or ‘facts newly ascertained’ that constitute a ‘special

justification to recommend that a court in banc be convened in this case to depart

from the doctrine of stare decisis.” Babich, 785 F.2d at 418. See also United States

v. Brace, No. 1:17-CV-00006 (BR), 2018 WL 9815249, at *2 (W.D. Pa. Aug. 10, 2018)

(acknowledging that district court could, but declining to, depart from the doctrine

of stare decisis). Accord Barnette v. West Virginia Board of Education, 47 F. Supp.

251 (S.D. W.Va. 1942) (refusing to follow Supreme Court decision in Minersville

School District v. Gobitis, 310 U.S. 586 (1940), holding that public schools could

require students to salute the flag and recite the Pledge of Allegiance over their

religious objections as Jehovah’s Witnesses), affirmed in West Virginia State Board



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of Education v. Barnette, 319 U.S. 643 (1943) (overruling Minersville School

District); Lewis v. Gaylor, 914 F.Supp.2d 925 (S.D. Ind. 2012) (adopting magistrate

judge’s report and recommendation finding limited circumstances to depart from

Seventh Circuit precedent where the district court was “powerfully convinced” that

the Court of Appeals would overrule its previous decision at the first opportunity).

      The promises of Gregg require reassessment of the administration of capital

punishment to ensure that the underlying values of the Eighth Amendment’s

prohibition against cruelly arbitrary and capricious and unusually infrequent

punishments have not become buried beneath the silt of routine and indifference.

Some jurists recognized the inherent human flaws in the capital punishment

experiment began. See Gregg, 428 U.S. at 427 (Brennan, J. dissenting); id. at 231

(Marshall, J., dissenting). Others came to recognize over time. See Baze, 553 U.S.

35 at 86 (Stevens, J., concurring in judgment) (concluding that the death penalty is

“patently excessive and cruel and unusual punishment violative of the Eighth

Amendment.”) (citation omitted); Callins v. Collins, supra.

      This Court can do the assessment in the first instance here. The empirical

data and newly ascertained facts presented herein constitute a “special

justification” to find that the death penalty, where it has failed to fulfill the

unfounded predictions and requirements set out in Gregg is unconstitutional, and

for that reason, the federal death penalty must be struck as a sentencing option in

this case.




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                                   CONCLUSION

      An experiment shown to have failed should not be continued. The intention

and promise of Gregg has been overborne by the idiosyncrasies, subjectivities,

frailties of the people who are necessary to deliver on that promise. The result is

not an indictment of any one actor. It is a realization about us all. We, as a human

society, are not able to administer capital punishment without arbitrariness and

caprice, and for that reason, the death penalty is unconstitutional.

      Mr. Bowers moves this Court to enter an order finding the federal death

penalty constitutes a cruel and unusual punishment prohibited by both the Fifth

and Eighth Amendments and striking the government’s Notice of Intent to Seek

Death.



                          Respectfully submitted,


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                          /s/ Michael J. Novara
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                          Supervisory Assistant Federal Public Defender




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